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''No, Hany G11ral.you don't get Tara Plochocki ever," and,

Bill Gural claims, 'We will straighten him out on wqy or the other. "

We will move Bill Gural and Han·y Goral together, so they don't embarrass and expose you Pamela
Chapman. No. We were just adding Bill Gural to your house, but now he can't talk across the galaxy
into the Public Commons space.

"Is that ok, Bill G11raL?"

''Yes, because it is consistent with my priesthood vows of silence. Yet, I can't be silent with my own
brother. It is my priesthood that called me here in the first place. My sister always knew how to find
me here. She, l athy Gural, called me recently, and said, '7~arry G11ral is a Shit Show and he is being such
a big.fatjerk. "

Mother claimed, ''.fhe is so not proud ofyou. "

Yet, Myron/Michael I amer claimed, 'That was exactfy what he wanted, so everyone would release him. No
one will release either ofyou to a,ryone else, so you are both in a Shit Show of S tupidiry. "

Pamela     hapman, stop helping everyone. Even your daughter, Emily Parsons, said, ''Stop. Thry will
never repqyyou. "

Harry Gural said, ''Stop helping me. I don't wantyou now or ever."

Pamela hapmao: I have no respect and like for anyone. That is my story. You are such Shit Shows.
I have no faith, trust, or respect for any of you.

L) nda     dams: 'Well we have no respect foryou, T-larorGural."

She claimed, "How couldyou not tell us so much aboutyourself?"

''I 'II tellyou everything. "

And, she claimed, "How couldyou? You didn't have a plaiform from which to understand a,ry of zt."

Lynda      dams: Well, yes and no. I was abused by my first husband.

''No, he was the one who was abused, notyou. "Pamela Chapman knows all this through astrology.

''Iy)mda Adams. Wry didyou want Donald Tnm~p to save the dqy?"


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''Because they are die hard republicans. They wanted to show everyone that Komo/a Hanis, Gina 'Raimondo, and
David Ciccilini are big shots, and that D0110/d T11J1np was almost the answerfar the whole country. "

It was his Agenda and the Republican Party's Agenda, not Pamela Chapman's she came to address,
but Donald Trump and his son seemed to understand this, so they didn't hold the realm
accountable.

6:40AM

How does Pamela Chapman show up now for anything?

This book is a mess.

N,tnc · Grah am: ·mon and ch us ter could still take the book, but we think St. Martin's Press.
No. It will be hers, and #1 literary is in the ,vay, because they just want to rape and destroy
her property, and not pay her properly. She will sue them all appropriately. She will find a way to
get the book published, and the film rights sold.

Ree e Witherspoon (herself): Call my office and ask for any agent I work with.

 mokey Mountains of             hly Judd): Call the Book Club's Office through_ _ , or any way you
can, and tell them I sent you there. They expect your call.

Llama    ation Hollywo d       ctors: You can do that with all of us.

Jane Fonda: Find Michael at Simon and Schuster's Distribution Center. He will tell you who to call
about setting up an appointment to sell or collaborate on your book deal. You don't have to wait, go
to NYC. Everyone does it through Skype and Zoom anyway,

Goop Lady (G. Paltrow): Call my office because I have a lead for a movie producer named
 lizabeth Myers because her son actually worked for me 4 days a week. You aren't rhc abused. jusr
the tired and forigucd because mid -chn \·ou \\·ill rise up again and the\· will be stunnL·d. You arc 11()r
dead, er. :-;o ah·,1, s remember \"<)LI aren't \·uung. hut \UU didn't die so mam· times bcforc to end up
so dead \1·hilc srill aliH·

Jessica Hagen: Did you actually dream I was dead on sorcery remote viewing television?

No, that was Hanv Gural, who claimed she dreamed you showed up and tried to best her, but she
bested you instead, and instead of dying she just shacks her head and walked out, and Dorienne
Farzan was there too, and all Pamela Chapman did was walk straight through two houses out the
front door to the back. She didn't know what to think. So, Donald Jagoe, maybe everything is just a
fantasy dream (or a nightmare) for everyone involved, when there are people tied together (shamanic
marriage) who don't want to be tied.

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Yet, you and Pamela Chapman didn't actually create any ___, trust, or relationship, and Bill                                     ural,
Hau:y Gural did with Tara Plocbocki and her parents. (It was blackmail.)
[Note : th a t \Y.l~ all a p ~l'c h c b bu ra tor\' c:-- pcrim c nt b , ' I ill,I l' lo ·l11Kk1, Rust\ """l'II 11 L and Bobb,y
\Jc-Dermott Ru. I\ Do,m,m.j


6:57 AM



She will be too busy.
She doesn't move [fast] because the court house is on Washington Square.
She can walk into Stoneacre and ask Chrissy B for a drink of hot tea and reminiscence about
shamanic television, but they don't usually talk to each other here or there. She can just sit and read
a book, or newspapers because everyone knows she walks alone. Energetic relationships mean
nothing to anyone in real life. It is the people in front of you that heal you.

Emily Parsons and Pamela Chapman don't need a conversation. They have their own identities and
they have agreements with each other about boundaries in this space. Yes. This is true.

Pameh Chaptnan: You haven't spoken to William Parsons for months and you saw mily Par on
the other day on her birthday. You are all good. She lives with her father. Williatrt Parsons lives with
others in Cambridge. Pamela Chapman doesn't want to foster that kind of relationship. She wants it
all out there. Until we sort this all out, we can keep our distance. "Yes," she said, "I would tell them
both the next time that I am suing everyone including the father because the time clock has now run itse!f out. "

7:02AM



You all came to destroy her and she destroyed you all instead, but not really, because Jack Halpem
said unmistakably, "She is 110w dead to all of us. She is too ,1ln1sed fo1 · any of us to care ,1bout. ..
 ''Thi-It is abuse too. Tack Fl.a/porn, "but he doesn't care. He claimed, "She deserved it
                             ..0          j



energetically." [ (II(.': 1h1, ll1ll ~l be thl kumLd1111 )1]][1;111011 ~ ,II 111;2h1 of I Lm 1 l.iJ.1r,1l \\"ilh .ill 1hc,c \I omen
dc, p11l· .111111, ,h am;1rn c 1n,1 rr1;1 µ_L, ,,, u 111Ll I h,11111.111 I "She is too intuitive for any of us to care about
her. She is her family's mess now." So, she claims that's o.k. She will take care of it, and so what
if she screams every now and then. She really knows it doesn't do anything for the listener, but
something is triggered in her, but she calms down immediately which Harry Gural doesn't do yet.

Remember Pamela bapman, Harry ural can't go away. So now, you didn't get rid of one Gural,
you have two Gural's, but you have a synergy with both of them.

You can find Harry Gural and Pamela Chapman almost anywhere because they are real. Are you real
too?

William Parson : I don't think, but I know so. You said it best when you said just freeze your aura
out. (That means, I will not let anyone in.)
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!Note: J .1111,d,1 l l.tm:< asked .\farcclJn l.obo lasr September ro "freeze'' P. mda Lhapm:u1 :rncl I l:11·1·, C.,m.11 ro keep
Lhem apnt. l,:1111.1!;1 I L1rr1~ nm,· knm,·s rhc t\\·o of )·ou \\-ere supposed to \York so closely together, and cyernme
colluded to keep \"Oll apart and nc,·cr be together bY any means possible including manipulating I l.1 rn (,mal':,.
ps, che and Paml'l;i < h,1p111.,11 ·, aura (which is still nor free).]


Donald Jagoe: Pamela Chapman will just do whatever she likes no matter what, and make you all so
uncomfortable that you do whatever you need to do. You make her physical survival and safety
impossible here. Pamela Chapman knows who she is, and where she is now. Everyone wants to step
in and abuse her.

'Thry do this every dqy, i.e. Lamianne F/01io, her mother, and her siblings and others like Martha Celeste and
others, so don't give me a,ry shit, I'm not interested."

[Note: 1.,1[.l_l!ll , sistcr IJJ.111,1 lk.ut.].~le, knew I ht ( ,.11111. and said it \n1, 111:i)-cd a1 L CC):'(:'( on floors Lo Le:ich
those un,,·antnl students h(rn- ro bcc(Jmc disinterested in c:1eh other before sending rhcm off 10 ;inothcr room on
another floor and dormiLor). To her, this was just a college game [




7:17AM

It's raining.

L. Florio: I don't want to know you if you have been abused or divorced. I don't want to catch that
VltUS.


Jessica Hagen: I agree.

'We a!! leave immediate/y. "

''No,you stqy to allfie! better aboutyourselves."

Beatriz the Guide: I will fix something every day. No.




1::-;munJ Harmswurrh l \ · and Cath~ \\ 'icb Yiolat<:d <:HT\ tenet of ag<:nc,.




'\:inn ( ;raham \ iobtcd :1crual datL·-rinll' stamps of prl'-Contracts .



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 Decide upfront now how much money you want, and let the NYC media elite do the rest, because
 l amala Harris is VP of the USA is involved, and so is cocaine and all the rest.

 Yo~i Uhnian 11 / ( iuru ~inglr ls a symbol of sexual deYiancy in yoga and, ~Jarcclla l .obc, and .\lbcn o
 \ ·1Jlod o arc s:·mbols of sexual Je,·iancy in sorcer:·· Y ct, all three arc im·oked hcm·ily as knowing
 participants and leaders .

 jl Ltrn (,ural is a \'ictim Yi8 kumlalini initiation & ps1Thic manipulation b1 the L'S Senate \\.;iys and \Icam-
 l~1clt:ml cale and Ru:-1, P >wcll lllJ


7:35AM

Fraud and perjury liability language - Holt Massey.

Your wife, andra Orsloff said, ''You planned to retype Barefoot i11 Heels asyour own and sell it overseas in
Hong Kong and Dubai for re-production. This was done on beha!f of the Red1vood I.ibrao1s Book Committee. Mark
Halpom did that in Hol/ywood We called it Barefoot in Heels, but it wasn't copyrighted or authorized 0, the author.
It was a Shit Show reproduction of a screen plqy. Reese l'Pithorrpoo1J's people knew about it. That was done on beha!f
ofKamalo '. r Table.for Happy van Beunm."



''No one needs to know whatyou are, or whatyou do,just something stupid and simple on a coverflap. Nothing
extensive or operatic or atrything like that. "This is what l amala s Table said initially. That is exactly what
Carrie Cros oo Gilpin typed.

''You can't write fiction again- not like this. Become a smallpublisher. Then, no one will abuseyour 111riti11g ever
again. /J //,I')' did ii 011,t. !he')' J1·1!/ do ii Ol'ff ,111d 11l'ff ,(~11i11."

Harry Gural, if your soul loved her at least five times, it can love her again for one year more.
1:-;,imrn11, 1' lo(lking 1" h,n-,· ,111 AC.111 ,,·i1h, cJL1[ . It's not an adulthood or a lifetime, it's a very short stretch
to death at 72, so remember my husband recently died of cancer, so I'm in my mid to late 70's, so
no one will stop me and my agency except my death. It happened recently to someone else we
know, but if you don't write it down, you will forget.

 ''I don't take most manuscripts, but I read them for determining what will and won't be published. I hi., ,·1111 ·1 /1('
                               I 1111 1111//111/' of li'II/Jli'l/1 '1 /. h11/ Ill/II '. )'Ill/ illl'. I I l!',1.1 1111/ 1I /J11d 1•(ji111. Ii/II I /111·,·1/ ,111d /;,1/m'
,/!11h/i.1-///'rl i11',dll.•C'_ )'OIi ,//l'II

.11•di1111.,. That means it was a good start."



 "Remember don't write another book,just publish others. That will save your hide, and if thry don't like whatyou
select, remember it's a gamble alwqys. No one wants to gamble on, or with,you ever agaiH."



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Jack Halpern didn't want to stand with you ever again, and neither will the publishing elite. No one
wanted to stand with T. North or Thornton Wilder. He died two years later. His book got published
by the family. He got to be remembered in film finally because his sister was an actress and knew
people. Knowing people helps. Re1nember you nee<l people, money, networks to get ahea<l an<l your
marriage took them all away.

Bill Gural: No, they do not. I (arr~ ;ural had the same problem, and so did 1. No one wanted to
support us except our father who is now dead. You are now like our father, yet Harry Gural was
yours, so let's be in each other's lives out there. Bill ural and Kathy Gural will figure it out. We met
you once. We will meet you again somewhere somehow.

Ed Heffernan: The night of May 15, I hailed anc;y Graham. She supported Cathy Wicks on sorcery
television nights, and said she would never take the book because if it didn't come through an
agency of renown, no one gets a deal with her without a certain agent.

Jack Halpern: The book was never to be.

"Oh, yes because the title was held by the Ascended Masters for 8 years, alongside Driving Miss Dai,f,11.
and The Help. No one picked it up, except Kimberly Wither poon who didn't complete the contract
of the Ascended Masters.

"Kz'mba,fv [Vithmpoo11,you were supposed to be the agent, butyou never activefy signed." Interestingly, Alberto
Villodo uses Inkwell Management through Richard Pine. You all knew each other.

Why didn't Pamela's book get sponsored with all this publicity?

''Because it didn't go through the normalformal proper channels ef sponsorship. That's wf?y."

Sponsorship = mentorship = resources-network.

She didn't have the right network of people. Yet, she went to the Wesleyan Writer's Conference at
her alma mater in order to do just that. She met and spoke with Pamela Dorman at length. \Ngte \'i l
k,11n much L11c1 1h,11 \\ l,k,,111 L-1111c1s111 and rhc \\ nlL'J\ c:c,nil'l'l'llCl m,11- hl 1nn,h-cd 111 lilockrn!! l1L·11r1n \\TJIL·1,
(1, 11n publi,h111g   I

Pamela Dorman: I didn't actually say I'd take the book.

Pamela hapman: At Kamala's Table, I was forced to give her a lot of background and story, but it
was Pamela Dorman at Kamala's Table that offered up to $14 million. Kimberly Witherspoon was
always present in those meetings.

8:13AM



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Ha.try Gural: I never actually wanted to marry Tara Plochocki because her mother was a f bitch and
her father was a jerk off kind of guy.

 ''Yet,you were embedded in tho/ famib1."

Bill Gural: If your mother is dead-and she is, and your father is dead-and he is, and you really
only have one sister and two adult children, it is a small family. Her sister thinks she herself is only
on this earth for another six years. Accordingly, she and Pamela Chapman's former husband die
within the same 12 months. Then, Pa.tnela ~hapman has only her daughter and her son. This is not
a big family. That is ok. We are not either. Everyone wants a large family. Her sister did, and got one
with Jim Varley. If Jim Varley was a domestic abuser of one sort or another, and they didn't actually
love like they could have of one another, then Deborah Chapman was also abused. So was their
father in a first marriage. The family had a theme of abuse and betrayal. Now, she is trying to
balance that karma for herself personally.

Brian Jagoe: We don't have that. We were like the Gural's.

Kevin Tagoe: Our father had an affair, but no abuse.

Jessica Hagen: What is the thread that pulls this together?

None of your business, because we know yours from the journey. If we tell you your work, you do
not do your own work. Therefore, we do not tell Donald Jagoe or Harry ural. ndrew Parson
demanded answers and her got them. If you hand answers to a person, as Pamela Chapman had to
do with ndrew Par on , he does not do his own work of self-mastery and self-awareness, and
Andrew Parsons got every answer about himself. He did not deserved them. He stole them in a
thievery heist. Pamela Chapman was tortured for that.               July 14, 2022

''I did my own work. Now I want my abundance. Where is it hidden?"

Beatriz the Guide: In the aura always was it so hidden, we couldn't find it. [~otc .L.1111                                                          ~ u .ii
\\ :1, ,1h\ ,11, h1cl111 µ 111 Pa!:Q L I., ( h.1p 1n.111:: ,Hlr:1. and ,o 1\·,1,   \llwnc, \ ills_,sJo ,11 , >Ile· riml'. illll shL m·\ L'I c·\ L'l k11e·,1
You are both so smart to think you get your abundance like everyone else. Create something for
yourself.

''I did. I called it Ba,~foot i11 Hoc/s. It was stolen and distributed illegalb1,"

Create a lawsuit. Start with contracts, and go from there. Settle with publishers and agents first.
Then, go from there. Do not settle with Happy van Beuren until you have all the real facts.

Donald Christ: Don't settle with Happy van Beuren in Newport. Use my firm in NYC that is how
to beat a van Bcuren. Also use them for imon and huster and Ink\vell Ivlanagement, Use
Washington Square for Esmond J-larmsworth IV and your husband, the hospital and the Redwood
board of directors because they are local, and they will pay something. They are simple lawsuits.
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Start in about a month. You can get it all done in a year or less. Then, you can force the big picture.
If the book doesn't sell well, just sell it to Rees Witherspoon. She will sell it to someone else, and
get it up on the screen. Then the book will sell.

Hollywood is the same way.

8:27 AM



Elizabeth Kahane and Jes ica Hagen horse trade on business and social network. Yet, lizabeth
Kalune can drop her on a dime without regret. She says to Pamela Chapman, ''Ifyou need a place to
live,you contact me. I will offer something (REIT), somewhere, somehow. "That's a different context than with
Jessie-a Hagen. It's based on a reciprocity of understanding and relationship beyond this lifetime.

Harry Kabane: I know what you are saying because you and my mother may not agree on lifestyle
or intellect, yet you still have a relationship of reciprocity no matter what - Yes.

Pamela Chapman, you offered two times for my mother, E lizabeth Kahane to be in the Upper
galaxy and this Mayan Nation, and she said, ''No, I want to be with my people. "That was a reciprocity of
relationship.



So, Pamela Chapman, you have a sister and two children . .Jessica Hagen has two children, a business
and a wide network. Yet, you don't because your husband had such tight boundaries around what
you could do.

You will litigate. You will publish. Jessica Hagen is a Shit Show of her own disaster.

I'm lizabeth Wright l a.bane and we can be so fluid now Harrv I ahane, Bill Kahane and Elizabeth
K~hane because we practice how to move from one to the other so no one recognizes our energy.
We are very coherent in energy and so are Bill, Kathy. Harry. and Pamela and probably her children.
So, that makes you all a larger circle of kinship. If it isn't out there, it doesn't matter. In here, it's
just a game, and no one wants to play anymore today or any other day.

8:46AM



E lizabeth l ahanc and Pamela Chapman know how to rely on each other in here, and under certain
circumstances out there. The same is true with Harry Gural. He isn't himself at all.

Elizabeth 1 aliane: I don't ever want to meet you Hany Gural because it won't work, be right, or
proper. You don't understand how society people meet and greet out there-or in here.

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Pamela Chapman: You know exactly what to do, which is why you don't do certain things anymore.

Doricnne Farzan: You said, once you got divorced, you retired from society activity at galas and
other such public events.

  lizabeth l<ahane: That wasn't necessary.

Dorienne Farzan: Yes, in some circles in Newport, it is or was.

E lizabeth Kaha11e: I didn't know that.

Dorienne Farzan: Because you are too new to Newport, which is why you can adopt Jessica Hagen,
but Pamela Chapman isn't part of new society. She is old school at heart.

Jeanne Gorham: You got that one. She is very old school.

Dorienne Farzan: But her twin couldn't ever see that.

J canne Gorham: He couldn't. His wife didn't let him.

Tameen Saied suggested, ".. .. you pull a taught straight line up and down to form a zigzag across the front of her
whole bocfy. She also indicated in her mouth a horizontal lock or switch. "They decided that the straight line
was the keyhole and the key needed to be put in a horizontal position, and stipulate the noise be
permanently tuned off. It is not for me. It is for Alberto Villodo and we give it back unmistakably.

Could it be an attunement or entrainment to a frequency of noise like a radio, such that if he has this
frequency in him, he says, 'Tune her to my frequenry, and me to hers. Then we are in a .rynergy of noise together,
except I don't hear my own noise and she hears all of me simultaneous/yin all situations. Then, we are alwqys
vibrating together." 9:19PM 5-20-2022. It worked. The noise left Pamela Chapman's aura and is
surrounding Alberto illodo at this moment.

Erin absolutely hears it. It sounds almost like Paul Kipnes music from last April 2021. But it is not
music. It is a harmonic hum of some kind. He made it himself. It ratchets up, and when it gets
too loud, he then turns it down. It starts all over again. It starts early evening, EST time, and
goes to around midnight EST, Then he gives the floor to Bethany DiNapoli. Then, all sorts
of tomfoolery, abuse, harassment, slander, and sorcery emerges nightly.

If this is how he protects himself. It is also how he holds power - no. It is how he demonstrates that
he holds power but it is not power absolute and he does not rule with absolute power just absolute
obnoxiousness that does not allow the rest of us to touch him in this realm. Does it actually protect
him?

''No, it does not because then he refuses to budge a,ry amount when it comes to negoliati11g a,rything."

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Alberto Villodo never allows himself to be without this noise. That is correct. He thinks he can't be
in the middle realm of sorcery without it. All he needs is an auric wave to figure it all out that no one
can confuse who you are to him.

He has demonstrated that you arc his prisoner absolute and that he owns ,ou. You have no power
at all to protect yourself from him, and you could never see this coming. He knew all along what he
was dong to you, and he was so proud of what he did. He demonstrated to the world that :·ou were
his prisoner night!:·· He then gm·e this same power to lk d an~ Di'.\. :1 )O l! and 'c1la ( ;n n t: 111 snying,
''lrh!'/1 J die. !her 11/l' i11 ,·011/ro/ o( ro11. "9:27PM

Tf this noise is all rnrgeting I am t: la Ch:1mrn n and the entire \\·oriel had ro hcnr it night!,, this is the
most obnoxious thing .\lbcrt u \ "Lllm lo could eYer do to demonstrate he had no lendership skill in
this realm ,,·hat so eyer. Gutu Singh would never ever do this. If the realm closes and Pamela
Chapman can't hear it, he will use the noise as a radar pulse to find-and entrain with-Pamela
Chapman. Then, he does not need that noise at all because the other half of it is now gone. 9:29PM

Bethan~ DiNapoli and oL'l Ganem get exactly what you just said. Is this manslaughter? Is it a kill in
The Game? Can you be in The Game with Alberto Villodo with this kind of noise? Can you be in
Level I of masturbation or kundalini with Alberto Villada if you vibrate in noise together like this?

No you cannot. No one would never know this. He never does this with anyone. He was doing
kundalini with Leora and he gave her noise. She completely stopped doing kundalini with him
because he is so stupid. He does not do it properly, and the noise was always there, but made no
difference in the outcome of kundalini. No one would never masturbate with anyone with noise like
this because then you would never ever be in sync together- well you could.

Leora thinks Pamela Chapman, if this is exactly how you think then we cannot thank you enough
because no one could figure this out before, and you and T ameen aied together did it. As long as
the two of you work together, this might be how you save yourselves in the future. The same with
Hatr.y Gutal, you must never forget to work together because apart you killed each other, but
together you solved all the problems.

Marcella Lobo was the first one to get the noise and Leora was number 2 and Pamela Chapman was
number 3. At 9:37PM a guide turned it off permanently. He won't talk in the middle realm
permanently now. He won't leave the realm either because he has no protection other than farcella
Lobo - she is never protection. He protects her. She is never in here because she has been killed in
here before. He doesn't want to be killed like her because that is death to both his drug trade and his
perceived leadership as a master shaman he is no master shaman. He is a sorcerer. He would be
considered an incompetent shaman, if he were killed in here. That business depends on a strong
leadership presence here. Noise is never leadership. 9:40PM

Paul Kipnes: Noise is always vibration and never music. This noise of lbetto Villodo replays every
15 minutes . Then he turns it down, and it restarts all over again.

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Dorienne Farzan: Well, it isn't ever going to be the same anymore because Donald Christ, esq.
doesn't like people like Pamela Chapman, so McBean is off.

'Ok, no big deal, which is wry thry like you."

Dorienne Farzan: But really McBean can't stand people like you, but we will consider your
candidacy. Ok?

"I know how thry things work. "

Gladys Z: Rod O'Hanley knows her and respects her. That's good enough for her.

Walter Reed, esq: Well, she tried to really swindle us with all that army hospital bullshit, but it
worked. So, now just swindle Donald Christ, esq. and you got yourself a seat.

"But, I didn't know how to swindle. The swindle is ailyours not mine."

Pamela Chapman: Remember who your family was in Nave Hrady, and in France, and keep them
separate, because if Jessica Hagen is Jagoe' mistress in thi~ life time, and Richter's in France, then
she doesn't belong in Nave Hrady with Harry Gural and Pamela Chapman. That's the understanding
of reciprocity. The rest is a horse trade at best.

Je ica Hagen: But, I like Elizabeth Kahane, and I know what you are thinking, so don't say it
Pamela Chapman.

"She won't because she doesn't have to mrymore."

I got bested by Elizabeth Kahane and Pamela Chapman together. Well, not really. We all stick
together at (amala s Table. There was that reciprocity of understanding of the games being
played.




We all know what you wanted through Kam.ala's Table via Nancv Pelosi and we'll get there some
day. No one likes a book like that. It's the movie that really matters with public policy. That is what
you can do over the next 25 years or so.




Pamela Chapman asked Tom Hockaday in a private conversation in January 2021, 'What if a1'!J gossip
was preventing Pamela Chapman from getting ajob, because     Amo,   Cardullo told her if she was slandered fry Jessica
Hagen to let her know-or a1'!Jone, because Jessit'tl H ogen said, "You foffc b;;1d karrn,1 ,wd then cn.·1~·011c
n-alkcd an-,n- end nrnssc."

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Jessica Hagen: Shit-Why? Because she knows she said awful things about you. The worst-that
you and your husband were asshole idiots for being married as long as you were. She got divorced
the first and third times after a year, and the second after 4 or 5 years so her longest relationships
have been with her siblings and children, but never lived 24/7, 52-weeks a year with her children.
She always traded off her children. When they were under 5 years of age, she had a Romanian nanny
Monday through Friday, and then left the kids with her husband on Sat and Sunday. She was always
a part-time mother, part time wife, part-time art gallery owner, and full time social climber. Her job
was her social life. His way she wrote her social life off her taxes. This way, her job was a tax-free
social life, and her husbands were her credit card bankers.

Tara Plochocki stayed on Harry ural's soap box all night with Bill Gural in between to figure her
out. Bill Gural says, ''I can't stand that woman, and neither can Kati?} Gm'tl/. Pamela Chapt1Ja11, Elizabeth
Kahane, nor O'!J ef the others from Kamala 's Table. "

Why does Harry Gural stay?

Rusty Dorman/Bobby McDermott created a sorcery marriage that forced co-dependencies and
thievery activities together. 11:ml l'lor.:h id,i 1, hi, liandk1 and ;1gl'nt l<ir the,, omen of kundalini 1111ti,11ion
pr;icriccs].

Bill Gural: Tara Plochocki is a witch, and nen'r "ould \\'l' ,, ant Tara Plochocki in our fo·c~
pl1\'~ically. Neither doc~ I l~1rn ( ,mal.

Big Brother: You will beat this, and we insist. So, hunker down and remember you are already
married to Pamela Chapman, and we will insist you humor her and the family.




Elizabeth Kahane: Your business is publishing, not philanthropy, ok?

Really? Ok.

''I don't think that's right," someone said.

'Well that's my story." lizabeth Kahane says. ''I'm sticking to it."

At l amala' Table, Pamela Chapman went toe-to-toe with van Beuren Charitable Trust and the
family. She never had to stand down once. She gave them more ideas and opportunities than
anyone in the family. or on their payrolls. They owe her. While they stole her book, Barefoot
in Heels, she submitted two different cover letters and resumes to van Beuren Charitable
Trust.

Roger Kass said, uHe would never like her because he didn't like the husband in college at
Wesleyan, but really it was because of her illegally begotten manuscript that took place in
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Newport that the family could never hire her, nor could the hospital, nor could the Newport
Art Museum." Happy van Beuren and van Beuren Charitable Trust is considered the
biggest donor to the hospital in. That makes for a minimum of seven resumes that were
mis-sent because Pamela Chapman did not know her resume was being sabotaged by her
work of fiction having been stolen and circulated: Two to vbct, two to Newport Art
Museum, and three to the Newport Hospital. 09:13AM

Bill Gural 0 11 H arry   ural's Past Relationships:

    1. Big City: Chick with small hair small wardrobe also
              No make-up, highly intelligent
              No to athletics
              Close to being a lawyer
              Grad School
              No music
              Only heard but never seen
              Myron: I heard so much about her. I couldn't stand her.
              6 month to one year's duration
              Boston, New England
    2. Big City: Boston
              Not marriage material
              Aggressive and really not pretty
              Plain Jane
              Always talked a big game, but no one showed up to be worthy
              Myron met her so did Kathy: maybe Ok, maybe not so
              Bill: I couldn't stand her
              I never really liked her but her father was a WDC lawyer of great importance, and I
              thought I could connect with a job in WDC through him.

    1. Not Really into Her
             Not really into her
             Maybe the wrong style: Not the plain Jane bravo type.
             Different friend group
             Too slick for him and the family, but not really
             Higher vibration than most, but not really
             To pathetic to really like
             Cannot find the right fit
             Owns her own home/house, but he does not
             Divorced, 2 kids - that will kill the deal right there
             No opportunity for a social life

The family says Pamela Chapman, you are too alike Harry Gural for him to actually be attracted to
you, which is the challenge of Twin Souls.

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Harcy: Gural and Pamela Chapman you have a similar high vibration. Han:y: Gural should sing and
be involved in music.

Music is so important to the soul both energetically and out there. He needs a singing group of any
kind: a capella would be great. Take voice lessons.

Bill G ural: We don't seek co-dependency either just opportunity for relationship and Harry Gural
says he doesn't know how to be in any kind of relationship except with T ara Pie chocki and her
parents which is just the wrong kind of co-dependency to begin with.
9:48



Bert Lippincott: Newport Historical Society books by local authors
Authors Round Table/ Workshop at the Redwood Library
Pell Center Ladies: Self-publishing
Linda Philip - Self published
Bing West - Press Hill
Da id . fcCullough - Bristol, RI

So many authors in Newport. Carolyn DuPont Life of the Mind Series.

If I get ued, what's m y game plan?

       1. "K.11ou ro11r Im//; m11111.1 !,1ki1hlr" ~amela Chapman quote)
                 1_


       2. Fess up quickly, i.e. the Matt Lauer experience
       3. Cooperate with the law for leniency
       4. Pay your dues if you need to

There is only one way out -that's straight through v. Cheryl Strayed
If you lie, you are dead by dawn, and you will pay for the karma.


July 19, 2021

2:32PM

Nancy Graham'. response: Jonathon K napp. CE O, imon & Schuster can't cut a deal, like I said.

'Oh,yes, he will, because we will go to court and insist on every point because UVem£v Schmidt (Google) said it is real,
and we were real in real time, and the Supreme Court also validatedfor Google that thry were real in real time. So,
this is real in real time. "

'Haro Gm"OI, Carrie rosson Gilpin. ola Ganem and Tam Plochocki, We are all real in real time."

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#Standupmetoo. the new moniker of everyone in the world because no one knows who is who
and what is what today except, when Pamela Chapman starts to talk into this realm and Harry ural
sings above the talking-then we all talk and do whatever we like because he can't hear us and we
have a noise filter. Did you know this Harry Gural?

Then, anyone can read anything to anyone. No one will notice because you are singing over the
voices.

No. Tara Plochocki said, "I can't read af!Ything because S11/Jivan & Crovnvc/1 said thry accept the assignment at
12:30PM todqy so no one stopped to sqy thry of?jected -Wry is that?"

Because Donald Christ is a senior partner at Sullivan & Cromwell and he said, 'We accept, and no one
will override Google E ric Schmidt's statement of, This is real in real time. "The Supreme Court approved Eric
, chmidt's Google case for being real in real time in 1973/74. He said, 'We spent months on testimo'!Y,
and this is a repeat p eiformance of the same topics all over again. "

Harry Gural, do you understand how important this conversation is? Because if you do, you will
stop singing and stand up very straight. This is extremely real, and very important financially. You
are liable, and you put yourself in the middle of this fight against Pamela Chapman.

Tara Plochocki: I don't fight ullivan & Cromwell. ever, so no problem from me ever again.

Donald Christ, esq: Pamela Chapman you don't remember my firm's name.

No, she didn't, and she didn't look everyone up until very recently -this week in fact. It was because
she bought a new iPad. No one bothered to tell her everyone was lying about themselves, as if they
were all leading fantasy lives. She has had to do her own research every day.

D rienne Fatzao: I would have thought you'd remember, but you happened to remember that
Sullivan & Cromwell is a top-drawer firm. You said, 'Wry would I hire a'!Yone else, but the best? Thry have
550 la1J!Yers in NYC, Boston, and elsewhere."

'?: amela Chapma11 willyou marry all over again "asks Harry     ural?

'Wry do you ask?"
"Because I am ashamed and embarrassed that I stood apart and alone aoainstyou."

Pamela    hapman: You aren't alone, you were with Tara Plocbocki and all the others.

Han-v ural: But I wanted you always and no one else. You are the only woman for me. Tara
Ploch cki was stuck in my aura.

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Pamela Chapman: You will have to show up in my life there. Not here.

Rusty . nderson: You got that right Miss Pammy Chapman because Harry Gural and Tara Plochocki
are on a bender this morning at 3:15AM calling everyone who would listen, saying "Pamela Chapman
is emotionalfy distraught, a loser, and a target ef empat1!J for those who are victims ef domestic and sexual abuse. "
Harry Gural could have cared less.

And, then · ara Plochocki stood with him on a balcony, and asked his brother to marry them all
over agarn.

The brother, Bill Gural wanted to witness this to remember. He said, "I won't marryyou todqy because it
is my birthdqy and I need afew dqys to pull myse!f together. "Then, he said, "Ham, Gm"OI. I need to ask you three
important questions:

Do you reaffy want to marry Tara Plochocki?

''Yes, I do. "

''No,you don't, "Bill    ural said.

''Butyes, I do. "

''No,you don't."

''Butyou, I do. "

''No,you don't.

'Therefore, he became an "I do, I don't, I do, I won't, I do, I won't"

'Therefore,you have been married three times. Therefore,you are realjy married."

Bill Gural: No. I think you are delusional because in this New Age, six I do's in multiplication=
Nothing but gibberish.

Harn Gural: No, I really want this.

Bill Gural: Wait, I go get mom and dad and l athy Gural, and her kids.

Harry Gural: No, don't do that. I don't want them to know what I am really doing.

Bill Gural: Why?


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Harry Gural: Because this isn't real, and I don't want it. I just wanted to pretend to marry a ~"c1 time
in this realm because the 1'' time \Vas a mad house, and I married Pamela Chapman, and she said I
do, and I said, I do not, and then I became an "J do, I do."

Bill Grual: You were actually married five times in one month.

Harrv Gural: Yes, but the first time wasn't pleasant.

Bill Gural: So what you are saying is the first six to eight weeks of your relationship with Pamela
Chapman wasn't good enough for a marriage, so you don't acknowledge wanting to marry her now?

Hatty Gural: No. I don't know if I ever liked her.

Bill Gural: But you didn't ever like Tara Plochocki and didn't even want to be in the same room
with her.

   ancy Graham: What is this all about?

Tara Plochock.i: I wanted to marry Harry Gural all over again because Pamela Chapman said, "If
you stand on a balcony of a church or the steps of a temple, it isn't real. You didn't actually stand in
the other person's aura, you only shared a space surrounding each other. 'Now, I want to marryyou far
real in the boqy-temple home," she says to Harry Gural. (Later on, she didn't really mean it, she was just
playing the game, which she eventually called The yndicate).

!Note: J .u.1 Pl,,Ll111d 1 011h· ,tood in the 11,1chc- mi11d-both -c ha1111cl ,,( :1 1hil'l"Cl"I" kuml.11ini ,pace Slw did 1101
,r:111d Ill till' hmh IL"llll'k home or ,l!ul lll1ion \t rhc ,1,1r1 (Ir thL· ri,c [Ir the Sr:ir ( ;,lll', 111n:.): (;L1ral ;trri\ nl rbLTL"
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Han.:y Gural: No, because when I really asked you the other day, you said, "No wqy Jose. I want to be
your mistress, notyour wife. Pamela Chapma11 can beyour actual wife; I want to be the mistress. "

Nancv Graham: Why now Tara Plochocki?

Tara Plochocki: Because his father, mother, sister and brother have arrived to save him from me,
and if we marry, he can't leave his post, and I can arrive here myself on a magic carpet ride [of
Kundalini].

Bill     ural: Never again can you come here, or arrive again.

Bill Gural, Kathy              ural: If Pamela Chapman were here, what would it sound like?


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I don't know. She is writing this all down, so we can review it. 1 know what happened to our son
and brother. He has been narcissistically imprinted with a lack of caring and empathy. He is never
like this ever, so what the hell happened to him can happen to all of us in the middle realm of
sorcery, recently and moving forward especially in a work space with non-family members called
Capitol Hill.

This work space includes others, and makes everyone go home at the end of the day . ..

William Parsons: That didn't happen, everyone stays together all day and all night.

Pamela Chapman: That's dangerous because what happened at Tom Hoc.kaday's house, and to
Harry ural with Ways and Means can happen all over again: Masturbation and initiations into The
Game like The Syndicate, and what happens when you change jobs, new people arrive, and old
people leave the tribe. You can never leave The Game. The tribe is infested with infidels.

Jim Gaffnev: I get it completely, but what am I to do? They don't leave the station. You kick them
out at 6:00PM every night and make them go home. They need to develop their own selves and
relationships.

They come together and hide together at work. It teaches them to be quiet all day.

Then, they create opportunity to enter Level I and Level II of The Game within various groups of
people and tribes. Then, Rusty Powell III and Bobby kDermott and ahore/Alberto Villodo win.
They cross-tie your relationships and marry you to another of no attraction. This creates new
alliances and loyalties and seduces you to cross the line into criminal activity. It creates "idiot-
ocracies" and other problems including drugs, gambling, and sex rings.

What is convenient upfront can create a carbon copy of what happened to Harry Gural through
Tara Plochocki his second handler for Ways and Means after her mother Linda Plochocki signed on
to train him in an abduction scenario for Ways and '.leans and then passed him off to her daughter
when he drew a line in the sand and held his own.

Nancy Graham: What happened to Tara Plochocki and her leaving the realm last night? How did
she arrive back?

Bill Gural: Because I let her in by mistake, so I said, ''Stqy here, so I can see how she acts." Pamc.b
< h.tpm.111 \\ L'nt ro skL'p a111·w;11, anJ thar is\\ hl'n c, crnhing \\Tilt h;1\'wirc, :ill <>\·er again. \\'hen she
\\ ()kc up. she\\ as n·alh dcsrrm cd \\·hen lack I l:il wrn. I lorida sp()kc. He said, ··\o 0111· n•r111kd 111nlhi11~
lo r/11 l."i(/, /,,·r. //,1• /Joo/:...()/' h,·r Ill \('J.'/)11/'I i'I'('/' <!~dill. 11:, 11// <1/)()/fl ,li!!f.1(', .,o ('/'1'/')/1//1'.~d.1 1/1c( 11//'il). !11·,·,111.,,· .,/11
Iii,., /!Cl'// !/101r11i~hl) ,1/J//.1'1'd ,111d ,l,·.,l/'/J)'l'II /11'/'///<i//1'III/)'."

Tara Pl choc.ki: Thank God, because Harry Gural would not accept responsibility for that
statement.

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Myron/ ichael Hamer: I :1rn Plrn.:hocki get the hell away from I lllrl'\ Curaj, l3iJI ,ur:il, l(ath:·
( ;urn!, and Pamela Cha )m:111 because )·ou and Harry Gural han.· nothing in common, and Pamd:1
( ·1i:1 )Olan has eyer:·thing in common with him.

3:06PM July 9, 2021

Myron: So now T ara Plochocki you must leave permanently.

Tara P: No. I can't go, but ulli an & Cromwell is so top drawer that I can't compete. So, I'll step
down and retreat. I don't want to destroy my legal reputation with anyone from ullivan &
Cromwell. I don't have those kinds of credentials.

Harry Gural: Yes, you do.

''No, I don 't.

Harry Gural: Yes, you do.

''No, I don't."




Bill Gural: No, Hat ty Gural, you don't step down, and you won't. Tara Plochocki will, and she will
leave permanently. You \\·ill ~taY married to PamcL1 .hapman until ~uch rime nlll acti\ ch meet and
decide if \"CJU ca n spend time together a~ t\\·o people together ph,~icalh- because until : ou do, \ ou
don't get a111 passc~ for doing am rh111g cbl· \Yith am one cbe e,er.

Kathv Gural: No. I think Harry Gural is in a shamanic state with T ara Plochocki, and never realizes
what he actually says. He needs a huge detox from her, and Pamela ha1 man cannot say anything to
him any way all day and all night. He doesn't want to actively talk to, or with her ever, so I can't say
why, but if he knows, what is it Harry Gural?

Harry Gural: I don't like you, but I do. I don't love you, but I might. I like you a lot, but I don't
know how to be in a real adult relationship with you or anyone else.

T ara Plochocki: I don't want to be in the middle of your family fight, and now if Pam la Chapman
doesn't get a certain word out of her head, is that o.k.? Always, because if she doesn't write, I'm not
either. ''I don't wantyou Ha,?Y Gun1/ now or ever. I wantyou a!wqys."

Harr) Gural: No. She doesn't want me or anyone else. She really likes Bobbv kDerm tt, but he is
a deadbeat geek and she can't stand that-and on government disability-but if he actually
approached her properly they would make a great couple because they are so alike, and I have that
with you Bill G ural, Kathy Gural and Pamela Chapman.

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So how do you tell Tara Plochocki to move on?

Bill Gural: The same way you tell anyone. You tell women that all the time, so why can't you tell
Tara Plochocki?

Kathv Gural: Because he has a co-dependency with her. jNote: Or, :1 Srock hnlm Srndromc ~iruarinn.j

Harry Gural: No. I have a real problem with ]Jamela Chapman.

Kathy Gural: Why?

Hatty Gural: Because she and I have such a high coherence of energy. Yet, we don't see eye-to-eye
on so many things.

Bill     ural: You might, but you don't know why.

Harry Windsor: I told you before, you just work it out day-by-day and it works itself out.

William Parsons: You are so immature regarding relationships. How did you get to almost 62 , and
not understand any of this yet?

Harry Gural: Because I don't have any really long term relationships and no children, nor a dog. I
was married to my job and nothing else.

William Parsons: How are you going to resolve all your legal issues with my mother now?

J-Iarq     ural: I will see what happens with the book.

William Par on : She will sue a few. I promise you.

Pamela Chapman: I will ...

Harry Gural: Ok, then we need to get really legally married there, because I can't see straight.

Bill Gural: Why on earth would you marry Pamela Chapman if you can't stand her? You are always
running to women like Tara Plochocki?

Harry Gural: Because I can, and I will marry Pamela Chapman at dawn every day, and divorce her
every night, and meet Tara Plochocki from 10:15PM - 3:15AM and have an affair of the heart.

 [yton/Michael Harner: Who put this in your head?

Harrv Gural:      ara Plochocki said this is how her parents stay married for 43 years.

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Myron/ Michael Hamer: I was married to your mother over 60 years, and we never did anything
like that. I loved her every day and night, and never acknowledged any other woman. Why do you
have to ask Tara Plochocki?

Harry Gural: Because I can, and I will marry Pamela Chapman, but I don't love her any more or less
because she is a Q'ero Wisdom Keeper. I am not trained to be with a woman of her higher standing,
including her Nantucket Reds, her board of trustees, her house, her decor and her preppie clothing.
Well, that's not true. I am also trained, but I don't live up to my reputation.

William Parsons: Why is that?

Harry Gural: Because I don't like those kinds of women.

Pamela Ch.aptnan: You, Harry Gural, don't meet authentic clean energy, only pampered princesses
of narcissistic personality, so you don't like them, but authentically women do exist.

She is enlightened herself, so she is not that person.

Harry Gural: Yes, but I like all natural women.

Patnela hapman: No. You don't. That look takes a lot of practice and effort. Far too many men
say that, but they don't really mean it. The women that the men say look all natural really are not.
They are far too skilled and practiced and pulled the wool over your eyes. At a certain age those of
all natural beauty require far too much dermatology, detox, and make-over.

Harry Gural: I didn't know that, but I like it.

Pamela Chapman: You have completely misunderstood that look. Does she have to point it out to
you in cafes and shopping malls?

Ha.try Gural: No, because I can't stand the look.

Pamela hapman: No. Tara Plochocki is a dirty ugly bitch with no style nor class. Is that what you
like Harry Gural?

''No."

Pamela Chapman: Do you like prostitutes ragdoll whores?

''No, I did not."


Bill Gural: I stopped writing this down, but I can see others haven't, because my hand hurts too ...

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3:28PM July 19, 2021

  ancy Graham: This is going to take some time, but here's \Vhat 1 can do todm.
                       S240 million on the 1" $240 million upfront and up close
                        26° u on the next S320 million
                        26 11 o on the next S440 million
                        25°" e\"C'Ething after that.

                             25" r, upfront as a deal closer- $60 million upfront at the signing.
                            (fhis is all i\I&"-\ talk)

                  All cash monies go through JPMorgan.

'We don't pqy like that for fiction. "

'We charge like that. We own the copyright. "

'We / Panic/a Chapman holds the copyright to sell as a book. Scribner's, S i1JJ011 & SdnlSte1· sells the book to
Waterstone 's outright, and gets a good return. "

Viacom/CBS says we can do this deal because Sullivan & Cromwell will insist on the full
$310 million upfront. So, ancy Graham let's hope this is a run-away best seller. It should be.

Viacom/CBS says, "No wqy Jose"to anyone like Carrie Crosson ilpin or Mark Halpern or any of
those Cvnthia Parent people being involved in the editing and production. 'We can't stand Cynthia
                                     .
Parent, Tara P. Can ie Crosson Gilpin or Jvlark Hr:1/pen1 or the rest."

We don't do residuals anymore like the past.
We do not pay for photographs or graphics or anything else
We do 50% on podcasts. W e do 50% because it is a production expense P amela                     hapman does not
want to underwrite.
Pamela Chapman provides her own photograph.


William Par on : What about when the securities top off, or Viacom/CBS sells Simon & Schuster?

No problem. They are a diversified portfolio that your person can re-distribute anyway you like it.

Pamela hapman: Yes, indeed. 3:35 PM July 19, 2021

  ancv Graham: Hard copies of these contracts we send them out by mail, Fed Ex or DHL.
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Pamela Chapman: That's great.

If they don't like the book jacket, it gets changed. No, we love it, and we don't know how to do what
you do. Let's work together to sort his out. 3:57PM

           Witnesses : Donald Christ. Esq. and partners at. ullivan & Cromwell, Nancy Graham,
           Jonathon Knapp. Pamela Chapman, Dorienne Farzan, A. C. T ameen aied

Har.t11 Gural: I don't like this deal because Tara Plochocki will excoriate me.

   ancy Graham: Why is that?

Harn Gural: Because l promised her. I'd stop it all, and I didn't, So . l will be cremated by da,yn
ton1orrow.

Pam:ela       hapman: Do you really believe that?

 :Iarry Gural: Yes.

Pamela Chapman : Why and how do you believe it? What will she do to you?

Harry        ural: She will blow my brains out.

Pamela Chapman: What is her tool? How?

Harry Gural: She will use any means possible, and I don't know what she will do.

Pamela Chapman: Why is it important to her?

Harry Gural: Because I promised her I'd do it.

Pamela Chapman: Is it blood money?

Rusn Pu,,dl 111: It is braim,ashing of the first degree. l ,!.rn.rluJJ,,l'kl is e'\etnplarr at it. He, I hrn
( ;ural. is sacred t<, death (>fit

Pamela        hapman: How did she brainwash him?

Rusn Jl<J\\ ell ll l: ~he ,cares him t<l dcarh L'\ en dm am! 111µ,-hr ,,·irh -.;()merhing pcrsun:11. I   ull':   I il
SJ\S(lll   111.1.::.::11•1 11:, 1 1 l'\I· Jl1;11·, IILIL[


Pamela Chapman: What's the most personal thing she uses?

                                                                                                                    223




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                                                                                                                                                                         224



Rusty Powell Ill: She uses m e and I re-make his aura (Harry Cura!). l remake his confidence and
take away his personal agcnc:··

Pamela Chapman: How?

Ru st: Powell lll: l destroy him cn:rr day and nighr annva: I can. I stopped ,cstcrda:· at 3: 15.\l\I
,,·hen Bill C; ur:11 said, "/ u1011 '/ 111cmJ'_J'Ott c1•er hem/I.II' !he},1111/J' 011/r 1Iffep1., l't1111d11 ./11{/l!llttll 1Is_ ro11r rill!)'
lll°ff(!fa/;/e ;,,/(!/io11.1/Jif!. ''


Bill ,urn\: \\ 'lw is rhat so po,1-crful Ru st, l'uwdl 1112

Rust:· Pmn:ll Ill: Because you arc a Catholic Priest and we arc all Catholic b: birth, and rem are too
real to him and so is she W;1m ·h1 c:lrn 1m;1n). So, I won't do it anymore. He is now free from me,
and '1ara Pl11c h11 ki J e:-;pect the famih· and I aml'la Urnpm:rn to loYe him uncomlitionall: until he
opens his heart and head to all of us again. l t took 6 - 12 months to do this. Yes, \\"C knc,,· ,,-c \\"Cl-C
slandering him and destroying him, but \\"C didn't care because wc \\Tte hm·ing so much fun. Yes, ,,·e
kno11· there arc legal issues here, and no, 1 don't accept legal responsibility.

Bill Gural: But, you did the work.

Rusn· Powell Ill: Yes, but I don't accept legal responsibility because ===s~===
the blame.

Bill Gural: How?

Ru ty Powell III: Because she and I knew exactly what we were doing. I've done this 3-4
times before, and I always get the same result. They were all in Congressional staff Akashic
Record rooms.

I atnala Harris, No, I do not accept responsibility. I am I amala Ha.r.ris, and I do not accept your
responsibility.

Bill Gural: What do you get in return for all the effort?

Rusty Powell Ill's wife: I got a big boost in my ego, but not my heart, hi wife of 35 years says, ''.\ o.
/d :, ~d n·,1/_lor 11 11111111/r' 1tl/(I .1i11 . .i.l!fl] ( ,111;1/, !Ii,·.\ hi! .\'h11J!' (u1111r· i., Ol'l'I' ,11//I 1·0111J11111Ji 1111tl />11111/'lt ( /1,tf•_llldll
J!'!/! /,1lt~1J1Jd 1'tllt' /// ){)// ... l11d. I /Id j)j,,,-/111.-l:1. ]'rl!I. 1~11.!1] 1101:"dl m. ,Ill(/ 1<11.1/) f),m;J,1/,/ /l,,;,/11 \/, f)l'/'/1/(//1 ,m
11/I //1(' lt//llt' . .1/J do11'1 t':,f',•d 1/l/)'IJ//(' /Ii rf/1 1!11)//1i1<!!. •f>1•,l,1/;i1r J'OI! Ill 1/,,-_till1m·. h.-,,111.,r ](J// tiirl 1/,i., Kl/0 /J'ill!!./r, i/Jld
!/',i//111/1/ ii , 11/"r' Ill//,,. JJ-'111/1i. . ,


·:10 . .\,111, 1 (,iii/111111 . 1·011/1101;•,·n· t11·i,'lim o/ iii/ 1/,i., !0111/iJ11!,·n. !111/ non- that ,n· accept that we ,1111·e,tl J!'I'
n•i!//or~d /l t1! 1101/,i11!!. h1/t1·11<·t! lwn· ,·.v,:J,! !!'I" ,illl/10/ /J,•,i111.1,. _I /.1.n (,11J..J... 1/i'c'J, /n·11!1111·11i ,111d P,1111cla
                    1


   h:111._n1;w needs i-1 rc,11 C011tr,ICt. 111/d ho//1 Ihm· /J('('/i lhllil' 1//J//.l/'d iii 1/,1., 1/l1/o"I' till// /!'1 ' did!i i ,1 1/l' ,ti i!/I if l."1

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d!'.,lm)'ed !hm1. 11 · <' 01t!r t'cmd ahri/1/ 01m-d1,e.1 a11d 011r.w11111·., ,111(/ 110/ aho11/ !he peopk or their /i1 1c.,· or !heir e111olio11.,.
II..(' )/JC11'j(l(R(!.l'.I_J1'/'i<,J. "

\Xlhat <lo we do now. :'\l:tnq (;rn h:1 n, 1-:.Hma la I larri:, Rus i,· Po\\ cit ll I, and Bil l ( ;ural ?

Nancy Graham: We cut this deal out there, and we get signatures.

Pamela Chapman: What's an 'on-sale-date'?

  ancy Graham: What they call it when the book expires. It never does. She has her own film rights.
She sells them herself.

Sullivan and Cromwell does not change that deal. It is separate and unconditional to the other
issues. 3:59PM July 19, 2021
         !Note: ~t@\ ~111 & ( ro, 1\\ l'll is nc, er going ro ac knmdcdgc \\ ·]10 \\·as speakin g. Yet, rhc , ,,-ill
         ackrn l\\ ledge th e, participated. J I:-+-:- P\ 1 ( kto bcr 12, 20211

The Return on Investment (ROI) is almost guaranteed, so no worries there, and Sullivan and
Cromwell expects another deal to be extremely [control], or they will sue everyone.
We'll talk with the New York Times and District of Columbia, and see what we can do together,
because Bardoff (local attorneys) doesn't like doing local controversy.

Donald Christ Esq. 86, can't get involved, but others can. We can't sue local boards. !Note: I IL i,
ch:111 oC thL· \lc]k;rn ( :1i:1ri1~hk J rw;t_ "-.L·\1 p1,rt hmd I




Pamela Chapman: They need to learn good governance. That might be the only way they learn it.

Sandra Orsloff knew exactly what she was doing in violating governance policy at the Redwood
Library. and fichael Holt Massey TU, her Twin Soul husband, knew he was violating Agency, so did
Cathy W.icks - a broker of real estate.

We'll talk before the end of the summer. Pamela Chapman needs to line everything up, and the New
Yark Times wants that article. She wants her to have it also. So, we will all work together.
4:05 PM

We have so much at stake.

Pamela Chapman: I care about the proper outcomes. I don't care which party is involved. I vote
both sides of the table depending on the topic. We can be very loyal but not when they overstep or
undersell.


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I want Harry Gural to know nothing is permanent, and whatever happened with Tara Plochocki is
completely over and dead. You will rise up again. No one will be embarrassed by you because you
will become the man you have been and will be ever more. Ok, Harry Gural?

l larn C urnl: Yes, but "larn Pl ,,chucki scares the life out of me.

What's the best tool?

Rus ty Powell I ll, her goon.

'No, he's not."

Harry Gural: He screams at me e,,en when he isn't here.

That is called a mental health issue of temporary acute psychosis.

No, it's not.

Bill Gw:al: Hc needs Ion :, care, attention, and his personal agcncr back, anJ the PTSD goes awa\ .

He also needs deep brea thing, and sleeping, and he is not responsible to T ara Plochocki. or those
other people. He needs to be out of this kashic Record middle realm of sorcery.

Zenia T heresa / Samuel: Yes, but Pamela Chapman, you must remember he is a delicate flower.

Pamela Chapman: Not exactly.

Bill G ural: Yes, he can. Just remember to tell him to stuff it when he does.

Pamela Chapman: I can do that.

Bill Gural: But, we'll all work together. and you and he have to work together physically there. He
needs to rub feet and feel like himself.

Pamela          hapman: That's good. I like my feet rubbed also.

I rub feet.

4:12PM



,~~)l e : j_J, i,:1r   I   ,111-   11 · tlf>I ;1 ii<>lll ;JlTl]' ll ll!--'- l l , ['" ll 'ih1li1 1 . i1 ' , 1h,1u1 \\ h.1 1 h:lj']'L'llL d   i(J   r.   l   ,I I h, t['ll];l l) Ill
h l I\\ l'l'tl ti1l'11 ;rnd ( kl< ,h c t   I,,,   Ill c;111 ·1 c :--pla111 h ",1 iiL c"1 1kl11'1 ' l ,           I hc ( , .11 nc. h, c.11 1,c 11 \\ ;i,;11 I ;1 ( , ;1111c I<• l11lll

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,rncl yet it\\ :1, to l'\ c·n-om· cbc--\\·ho could ,ee iL ob1ccLinJ>                  ".:<J\I, he   frcl, likl· he ju,t didn·1 knm1· \\hat\\ :1,
h,1ppl'lling ro h1t11 I


The a.me was that Pamela and Harry would retrieve each other-she first retrieves him, then he
retrieve her. He couldn't see it, or he didn't want to see it. He knew of consequences and believed he
could never leave The Game. Also, she wasn't his pick. She most certainly is today October 13,
202112:41AM.

Yet, until they came together, nothing would happen. He doesn't get pulled out-yes, he does.
Neither does she-eventually. She gets destroyed professionally, financially, and socially (Which was
; udrew Pru:sons' mission in the divorce). His psyche and reputation take a huge hit with people he
doesn't know physically, those who don't know him to be real in real time physically. Harry Gw:al
just becomes the sexual whore of The Game-it's Level I of thievery until he stops, and takes
Pamela as a wife in the Upper realms-to ascend out of sorcery space. He chose to assume no
responsibility for it, and he took nothing but mistresses with abandon, because Tara Pl chocki
handles him in The Game. Harry Gural is scared to death to do anything to step out of Tbe Game.
Yet, his birth family, Pamela Chapman and Emily Par on are working to retrieve him,
unconditionally. 12:39AM)

 j~Qli'._: Until ~011 sec the dialog objecti,cl~ i11 print, ,ou cannot. It all happened in real time, yet the words
ne\'er stuck in the fi\'e senses or the intellect until it \\'as made real by writing it all down. It appears the
same is true for !}£1_1_1·/j_ir>r_i_u_Hcc-ls, "hich is why the IJ1isY~L1~RiJ1g dict,1tccl it se,·er·al times. They all re-
typed it to get their own \Trsion of a typed cop~ -to make it real in re:1I time with \\·orcls that could be
digested rather than scrolled hy . l )i/!l·,1nl, 11 1, ,1 lrn111,111 st"n "( vm"11"11 ,llld c,;pn1, nn. ,rnd ,c1<>llc-,l h, it
ne·it hu !-'ralJ,. ()\ IlVC< lllll' ,Ill\ 1l1tng ( ,r ,uh,UllCL l I lll 11' I lie re·,1d ,1, II ( ,rel, ( >Il [he p,·intnl l':l)'l I<) h ,l\ e rl ,ii L i'i°lCI
\\ Inch llll!,',hi Ii, \I h, 1hc· I lrn·1 en l-:111_:c 1h,11 \\tel, 1cc, 1, c·cl hack 1·rn111 _\lo111_,i11,JJ__t_~i· ,1 C<>]'' ,,i' .111 c 1"'"1-. ,he
li:1ci m:1dc h, ·,1 c,,111;1c1 1h,11 l<>()I, 1h1.u tl -ll ]'c·cl \ n,1,,11 "( ~ , r , / ; ~ :Ille! rn:1tlc ii IL,il Ill rv,1111111c :-;Ji, c-rn:11lnl
I<> l:oge·1 k,1,,,,1, ,I 1c,il 11l:1)-'l,llUL'll ,1olu1 book l\111. 11 \101ilcl lll\l'l he :1 ll'l<J()IJ ,11!1,il,lc t"o1 Jc\ll'\I ill ,l pul1h,hc1
:11 :111\ 1\1!-! -~ <>l ,1111. <>il1c·1 ]'Uhl1,lit·1 lxc111,c 1lic-1 ne·1 c·1 e·cl11nl ilwll \1,,1-k They spent an enormous amount of
time focused on the project as a fire drill for another case of fraud, slander, harassment and
manslaughter. 1, 1..11,(l 1,, cr,·,11, :1l1JH>sl .1 k,1r11u 1h,11 ,1sl,nl, ,1· 1h, p,·,111k 1111 ,,h c·cl \\ k11 .:,-. , ,,11 rt:ilil ,llJ1J1/'.~ Is
it jus1 \\'hat you do between sexual experiences, or \,·hat is thl' real rc-ason for 1he ing11ir~- because ir's too
much focus of ,1ttention on one indi1,idual 24/7 for 8 months running?] 12:53AM October 13, 2021.




                                                              J.ul):_20, 2Q_:?1
                                                                     5:29PM

Carol) n DuPont, D velopment Director, Redwood Library: I thought I was protecting the
Redwood Library.

Pamela Chapman: How?

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Carolyn DuPont: I don't want her to look like us .

     ..,_ Her book made her look like one of us and she isn ' t, so we set out to dcstro,· her one-by-one
          and :--hamc nnd embnrrnss her and mnke sure no one thought n1wthing of her .

     ..,_ \\ 'c thought   ,,-c succeeded but
                                         didn't. \\ 'c dcstro:cd her character c,·cn da y and night,
                                                  \\T

         and embarrassed her as much as we could .

     ..,_ \X 'e ourscln:s aren't without our 0\\ "11 sins, bur\\ c can't haH: it that she looks like us: i\ h ·
          daughter, .\Ii c R<ss and her \\·hok fomih·-thc daughters of :\J\'C: and Newport.

 lice Ross: I don't care for the book, but it should be published. That's all I'll say. I'm a cribner's
of Newport (No, she is not!), and we don't want this kind of media attention anymore.
         jNote: ~h e has cn1cn ,1i1Kd rn1.!J_ l.lQn I ,Ill!- ( LC) :->imon & :->chusrcr horh m \:cwport. RI ;ind "-.:YC. I lu
         lrnsb,111d. _11111 R11 ... l"' ll ~<:cb Io take m ct l hL Red\, o"d l .ihr;1r1 Huok C ommillcL a i"1u I oliic hL lds. :->h e
         desires to be 11 , L·di1or. Jl! S l like· :->,1mlr.1 ( lr, loff.j


Carolyn DuPont: Happy van Beuren had nothing to do with this.

We weren't protecting the Board of Trustees, just ourselves. We don't want to place blame on
Pamela Chapman, but she isn ' t tlne 1 ,f us- and nc, er \,·i ll be.

Pamela Chapman: So why did you do it? Were you so f board? 5:25PM

Carolvn DuPont: 1t \\ as sport until it \\ asn 't. The sport stopped the other da, ,,·hen Pamela
( :h~1p111a11 said she \\·ill hire _,_ull1,·an & Crum\\'cll. \\'c km'\\' rhen \\ c \\Trc all sere,, cd because thl·:
:m· the bl'.st :md \\·ill pull us all apart limb -h, -limb to prmT ,,c were the\\ urst people \'ct.

Carolyn DuPont, did you succeed in supporting Andrew Parsons, Cathy Wicks, Esmond
Har1nsworth IV, Grenville Craig, Miles Bidwell, Holt Massey. andra Orsloff, and your Beach
membership?

Carolyn DuPont: No, we did not. l)ul \\ l' des\r(J\ nl ]2;11rn:l,1 ( :lrnpm;i n\ characrcr :1nd lw1 h, ,nrn.
\\ e arc s<i pleased \\'irh ()ursch cs. S<l rnc 1\ c out uf tm\·11. P:1mcl:1 ( .l upm:1 11. \\·c don't c\ l'l \\ anr I()
sec I our f face :1gai11 at l he !1~:~I\\ oud l_.ilirnr~ & j_t_IB11:1eum,

''Because you didn't compete with us William Parsons and Emib1Parsons, andyou never will," says =='--"-'=""""'
daught r.

Laurence Slocum: These are NY City interlopers, and we don't like them, but they live here in the
summer.



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Thank you, Carolyn DuPont for your confession. We didn't like you either, but we tolerated you.
Now that you haYe ruined another, <lo you feel better about yoursdfr

 arolyn DuPont: No, because ultimately she will succeed, but at least she is a miserable, unmarried
woman of questionable character.

Jack Halpern, Florida: No, she is not. This is an 80+ year old woman recently retired as
Development Director from Washington, D.C. with social connections through her daughter who
has not yet fully arrived in Newport, and a past employment at the National Gallery of Art under
Rusty Powell III. She took credit card numbers for events in a small office next to the gift shop
according to Joy Vige, Potomac Maryland, whose son-in-law Peter Hicks is Wesleyan University, '78.

  lice Ross: I never met you, but I like you since you don't coward to bullies or take bull shit from
others. So, you are alright with me. Just stay away from my f' social parties which you do anyway. I
could care less about your book, but since it never goes away, it should be published just so
cYcrrone knmYs you lrnYc no taknt for writing annhing of any kind. We don't want to ever see her
or Harry Gural at any party of any kind. Her three daughters sat in the Thievery Ring for months
and months committing fraud, editing the book Monique Burges signed her authorship to. Then,
the stayed for many more months through all the slander, haras~ment, abuse, sexual assaults,
manslaughter, and sorcery, [Note: This is hcc1u,L \ hn R.11,:- and her daughters all had spl'c i,il kundali111
appointment, \\·ith I larn C,ur:tl]


Pamela Chapman : You never do anyway.

Alice R s : I only attended a small woman's college on the east coast of Washington, D.C. No, but
really. (She claims to have gone to college in Colorado. She claims to be a NYC decorator. Pamela is
more liberal and more intelligent than me. So, what the hell. Publish your heart out because I don't
read or write. I just socialize and you do not. !Note: ·1 Im i, ,1 , Lim on I larn ( ;urnl aml kumlalilll Pam cb
( J1 ,1pman took the , oual hit for 11. en·n though shv h ,1d rn, 1d c .1 \1·h ;11 \\·a,. rc1lh grnn,e on I
5:34PM




8:30PM

After listing criminal harassment, assault, blackmail charges, Rusty Powell ill, Bobby McDermo tt.
Tara Plochocki, and Laurianne Flori decided to participate collectively to rhru\\ strong encTg1 :1s
noise Pamda I :hapma11 ':- 11·:11·. and (lf1Cc ;1gain demand she ans\\ er three L]Uestinns. :\lost :ire of a
se~ual rn1ture, abortion, fears,\\ eaknesscs, defarnariun of ch:1racre1, and cu111i11um1s assault such that
she is un:1blc ro rela~ and sleep. ·1 heir :1crions \\TIT an ab~l1lutc disturbance uf the peace.

Realm noise thrown specially on the aura makes that it vibrates. It must be really loud to get it to
vibrate.
         They were always blackmailing her and demanding she answer personal questions - 3 things.
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           Later they learned to arrive surreptitiously and ask the questions subconsciously. [Note:
           \ Jo 1)i,111~· Bu rl!.•:; b eca m e the \nJrst offend er of as king to 1na11Y personal tJu es tio n s. \II sh e \\·;intcd ,,·as to
           best the others \\·ith the answer to abortion.       J




Definition of shamanic letter writing: They take something you once said and send it to
another. Then, re-formated it to create controversy. They use it to destroy you. [Note: Sound s
like \,·h;it tbn did ro l'i,m•11,11t m I frd,. I
           i.e. If you once said you had a rash on your face. They will get someone to explain it, and
           then they get someone today to elaborate, and then re-sell it to another.

They don't care about anyone else, just destroying Pamela Chapman. If you can't get
personally sued by Pamela Chapman you will at least get a holler-out or a shout-out, and
that's all they care about.
        Diana Florio Beardsley is Jan I ochanowsky
        Laurianne Florio is   Laurie Kochanowsky
                              Laurie Franko
                              Laurie LaMothe Jr.

Jeff LaM the, Laraine's husband: I didn't know Pamela haptnan was so famous and so popular. All
these women who set out to actually destroy her actually create economic opportunity to sell her
wares at a minimum of $60 million.

No one knows what is rc:il or foke. so rhe, ,,ill fake it until rhc, get sued .

4:19PM
Wendy chmidt (Google): Unmistakably this is real in real time. If she takes this to the NY Times
and ullivan & rom"t; ell, she will get so much press and importance you will regret she has no
respect or time of day for people as small and petty as all of you. Do you know who said most of the
Kristen MacManus mess? She herself and her husband, Bobby McManus. Penfield School.

We now know they don't have anywhere to go to enjoy their summer Shit Show mess because
everyone else is at work and at play so why aren't you there also today B bby Madv!anu and
Kristen MacManus, US Trust?

Peter Hatfield, her boss at US Trust will ultimately pay the price for her indiscretions on this sorcery
television station-or whatever we are calling this ongoing reporting and recordkeeping of the daily
events.

She wants to go on this programming to go toe-to-toe with you. So does Laurianne Florio. Her
mother loses every single time they go toe-to-toe with you, so why try again?



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Harry Gural: I always want to correct my mistakes and re-evaluate but not anymore. I learned I was
not in a proper place to play, so I don't play anymore, and neither should you Laurianne Florio and
Kristin MacManus, or all the rest.

Someday you will regret everything you once heard, and once said, because the NY Times and NY
Media elite will excoriate you in the press. Then you will be tried and hung in the court of public
opinion. Just like Pamela Chapman was for far too long from 2.4.2021-until some point in the
future. We will get her out. You will see, but if every time she goes out of her house, everyone
harasses her, eventually what would you expect her to do?

  spire Dermatology, Middletown, RI, today (2:30PM) claimed harassment by medical forms that
,vent into this space and they Jeaked her dress attire, form information, treatment plan, etc.,
It was her actual medical assistant, not a professional-level treatment person. They said,
"We don't like het" anyway. She is not our usual custome1·. Go elsewhere please. Get the hell
away from us today and eve1)1 day."

Andr w Pat ons: This is the wrong message to send to any patient of any kind. Our whole industry
will go into a decline. Why stop there anyway? Just kill her directly because eventually this will all
pass. So will you, and so will she. You just get a bad rap and bad reputation.

  athy Wicks might actually lose her agency pass to be a real estate broker. Do you want that also?

Does Pamela Cha.pman want Cathy Wicks to use her broker license to sell real estate? What do you
think?

We don't have any idea what the laws say about agency. Agents who commit fraud in one medium
usually commit fraud in another.

Betsy Z emko: I lost my attorney license in the CT system, but I can do legal matters on paper. It
isn't ideal, but I deserved it for what I did. We all pay a price eventually, so will you, and so will she.



 iarzy ural: I don't ever remember what I said here last night, except you, Pamela, called me a
lying, cheating, scumbag of and husband, and I remember everything you ever said about your legal
husband. So, in the end, we are all just the same people, and you won't be in an authentic
relationship with that kind of co-dependency. Just remember you sank your own ship for marriage
now and forever.

Hau-y Gural: I won't ever marry again anywhere because we are now married forever, and I have
been such a bad husband then and now. I will repent until I cry myself to sleep every night. You will
know because you will cry with me, and here we will have a dream together, and Zenia T heresa will
divorce us. So, we can meet out there and forget what really happened. But memory transcends and
into death the memory will go - So, there is no real redemption for any of us, only memories, And
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you will know that in 4 years' time, Grenville Craig will be dc;ad, and Sandra Craig and Holt fassey
and Sandra Orsloff and Donald Jagoe and Jana Jago might all be dead too, as will ndrew Parson,
Deborah Chapman, Lynda dams and many others. So, everyone you remember in 6-8 years' time
will be dead except for your children and Harry Gural.



6:00PM

Alberto Villodo: I got a beautiful office. It is only quiet when I sit and type my menu to my
constituents and then it comes back with a vengeance.

Trudy Coxe: I don't have a constituent class, just employees who are happy to be in a quiet space.
Pat Fernandez didn't think to do that for the ewport Flower how, but we didn't have anyone
anyway because everyone is afraid to speak in quiet spaces like that.

Pamela Chapman: Shaking her head, 'No, they aren't," she implies, because she has heard them
everywhere.

Trudv Coxe: Everyone wants to talk at you, and not with you, so just listen until it gets quiet, and it
will someday just not today. So, you go to sleep but wake up not always knowing what you heard,
and what you dreamed.

Tara Plochocki: I don't want Sullivan & Cromwell in my panties, so I decline comment.

"You do not. "

 'Then, I take exception with the book <111d pr1.,.1 011 1111m r ,11m/ ht,·,111sr' 111 1/J,, r'11d. J f!ic'/i'f' I' 1:.,/1 !),,m,,!I' a., ,,
11/{!/i' ,111d firid lll'/' l oI l111n ( , II/ill. I l1tn)' ( 11/l't// /.I hl'lkf' l ook /11~ ,111d .rtlli /1 11'/: IJ/1! /}(' l.r {//I !llldlrd. {!I!(/ Hohhi
.\1 ,/ )i'!'ll!O// i., ,, ho1:r1' !mdi'r. ,111d r1 dl'111u 11. ,111d !l1t 1! I.,· u h11! J ,1111 f!!,.o,"
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Harrv Gural: I confess at dawn that every morning, you are my preferred mate also, but at night, I
prefer to ride the magic carpet of darkness and deceit (kundalini) because you can't see me, and then
I ride that motorcycle into the forest and destroy myself until I can't see strangers, and then assume
in the morning, you will also welcome me home and love me anyway. It's the darkness of my soul. I
got caught up in a travesty and prefer to stay there, because if I actually admit anything, I would be a
£'ass loser and then all the men you slept with are f' ass losers.

 'Ok," she says, ''al/ f ass losers? So, what now Tara Plochocki, Toilet Paper University? because if she andy ou
lived on the same hal!,you would steal all the T.P. and all the shampoo."

Tara Plochocki: I live by myself.


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No, you don't. You live always with H arry Gural because be always talks to you- and you with
him. He doesn't like conversation with his actual wife, Pamela Chapman. Harzy ural, when did you
actually think you'd leave to talk with Pamela Chapman?

Harry Gural: I don't know what you are talking about. I don't talk to you or she. I can't get out of
this energy vacuum, and I trusted Alberto Villodo will hold me here every hour, every day and Zenia
Theresa will hold me at night until I scream for bloody mercy. So what?

T ara Plochocki: I love you Harry Gural at night, but at day break, he is yours, but at night he is
nune .

.Harry Gural: I don't like living that way. I don't work because she sleeps by day because we keep
her up all night.

 fara Plochocki: \\ 'ell, l don't like her either, but she ,yil] Jo, as \\T \\-ill de-fraud her, P:,md:1. of all
l1cr asset class monc, .

Harty Gural: Asset class? No way Jose. She's a private banking customer now, and, ou can't touch
her monc,· en·r.

I am Plocho ·k1: Ru , 1~ Po,, ·II 111 will get it out of her.

Harry Gural: No way, They are all going to prison by dawn, or by ullivan & Cromwell,

T ara Pl chocki: I don't like this legal speak. I am also an attorney myself. So, I will defend myself,
but not against ullivan & Cromwell. They are the best in their class.

Harry Gutal: How much will it cost her in legal fees Tara Plochocki?

T arn Plocbocki: $1 million.

Harry Gural: Well, she will do it then, because it will only be a drop in the bucket.

T ara Plochocki: They will do everything in their power to rap and rob her once they know how
much she has.

Han:y Gural: Well, we do that too, so how are we all different?

Tara Plochocki: Because in the end, I always win.

Han.1 Gural: What is the name of the game now Tara Plochocki,?




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Tara Plochocki, esq.: In the end, she will rise up and win against all this adversity because the legal
statutes arc in her fayor because she just has to get up and do it because unless she gets her personal
agency back she is nothing but an ANT on a hill instead of a class ACT (Ardmore Charitable Trust).

Since she can't read these, we stole her personal agency, and Tara Plochocki and Harry Gural won
the bet against Kamala Hatris.

They win. They win always together. They win. We are just the biggest shits and she can't see
straight unless she types it all out. So, we can too. She will, and she can.

Tara Plochocki: Let's wait for her to type everything all out.

That won't be necessary. We took our roles. She and I don't need to discover we are that person all
over agam.

Gretchen Carlson: I had the same dream at Fox News, and they settled out of court for much more
than they ever dreamed possible because the legal realm saved her to death, the amount was so high
my husband said they will be bankrupt, but they are not. So, keep selling the book at the top. $60
million is 25% of $250 million, which is right. So, we are on the right course of action and money.
If Tara J)lochocki wants a piece of that money, she will have to commit fraud and larceny with Harry
Gural. Does Harry Gural want to commit fraud and larceny with Tara Plochocki and Pamela
Chapman?

Yes, he does, so he can prove he is the best horse trader in the medical law school set, B-school
class at Medical University of the Soul. [fhat is Andrew Parson .]

How does that sentence fit into your life?

Pamela Chapman: Every man, woman, and child wants to horse trade everything of mine, but no
one wants to pay me a dime. How is that? It represents no reciprocity of any kind.

Jim Gaffney: Well, we understand, but you don't look like a person who works. You look
aristocratic without need.

Pamela    hapman: But I have real need.

Trud) C xe.: No, you do not. You had a book deal that went bad overnight, and no one came to
save you except:
        Li ette Prince and her royal family in Newport, RI, including Molly de Ramel.
          folly de Ramel is married but worked at Fox News as a business anchor, so she knows the
        fire drill.
And on fe1vsroom, she knew he actress that played a part like herself, but actress didn't think it was a
real part until they expected her to don seductive dresses until she gained weight, and then they
didn't care. That's what happened to all women-They were used, until they gained weight at child
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birth or menopause. So, because you lost weight Pamela Chapman, they are now after you again to
rape and rob you. INote: Is ,he ,inglcd out and bc,rc<l bccrn,c ,he lo,t \\·ciglit:,l
8:10AM

Men want their women to be fat, and fat woman want to be left alone.

Jana Jagoe is tiny (short) and thin-She is a prostitute whore.

Harry Gural, Do you like fat or thin?

Han~, Gural: In the middle, why?

Jim Gaffney: Because he has no idea how to be in a relationship of any intimate kind and he doesn't
understand true intimacy work by day or night. We will take him apart every day until he stands
done every night. We promised to destroy him every day as he promises to destroy you every night.
So, Harry Gural what do you make of these?

Harry Gural: More people tune in at night . .. No one will hear I've been destroyed.

Tara PJ chocki: I can't spend all day here, so you are on your own. I can't destroy you, but I don't
defend you, just like what you do to Pamela Chapman at night, you just stand her up . . ..


Hope anker hennan: I think Han:y Gural is off on his magic carpet to Tara Plochock:i        niversity
to take a big shit on her front porch because he is going to need legal representation.

Tara Plochocki: I don't go up against them. They are too slick for me. I will occasionally hire
someone from the office. I'll do it right away.

Donald hrist: No problem. She has already retained me against all of you. Dorienne ·arzan
made sure of that at least in May when we signed a witnessed pre-contract with Scribner's.

Tara Plochocki: Ok, well I didn't know that. What should I bring to the bake sale at Hauy     ural's
graduation party from nursery school?

What do you mean?

Aren't there bake sales at nursery school graduation parties?

Jim Gaffney: What planet are you on Tara Plochocki?

Tara Pl chocki: I heard a story once.


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Jim Gaffoev: That's irrelevant. What is your problem this morning Tara Plochocki and Harry Gural
because I go to work by day & what do you do Tara Plochock:i. and Harrv Gural?

Tara Plochocki and Han..:y Gural: We don't work anymore. We only play here. We defraud as many
as we can, so you don't get to blame us for being here.

Tara Plochocki: I'm hungry.

Harry Gural: Let's go out for brunch.

Tara Plochocki: We don't do that. You do that with your f'wife, Pamela Chapman.

Harry      ural: I don't go anywhere with her. She has too many enemies to be seen in public with me.

Tara Plochocki: You can't be seen in public with her because you and she don't already meet-but
we once were, and neither do you, Harry Gural. So, why is your whole life in here, and nothing out
there? !Note: \\. 'c c~ 11 ' 1 meet lx·c 1u , c 11,llll<'la c h,1p•J.1.~11 i, out there ;1ml, 1Ju ,u-c rn he-re .I You are a Shit Show
in real life, and a mirror of the dead once you die. Aren't you both dead now?

Harry Gural: I'm not dead, I'm alive, but I missed so many opportunities for relationships I must be
dead.

Alberto Villodo: Don't die now, no one will see you in the afterlife. We will all abandon you
because you did nothing to help yourself. All your trades were badly done. You did not help my
kundalini partner, and she made you one, and you didn't care.



Alberto Villodo: I have no idea. No one will speak unless they are asked to.

Tara Plochocki: What the heck. No one can talk unless they are called upon?

Jim Gaffney: I don't actually have anything to say-so long, good day.
Jean orham: No one can talk unless we call on you today, tomorrow. Tonight, no one speaks at
all. The energy will be crisp and loud. No one can talk out loud without shouting.

 far:1 Plochocki "bes rs"' ot hcrs <:n:n da\. She align;; \\ irh I ama l:LJ...lm'l'h c,-cn da\ b,· making ;;urc
1-l:ur: Cum! and 011 n1..l:1<J,apm,HJ nc, er µ;ct ro.~crhcr. That's Tara Plochocki' mission to keep
Harry Gural and Pamela Chapman apart. It's a massive Hate Crime of huge importance.
       Tara Plochocki wins with 1 amala Harris every day and every night, and Hart:y Gural and
       Pamela Chapman lose every day and every night.


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2:00PM

Phaleoo:     pire Dermatology for Patrick Sullivan. Use a pre-biotic soap for your face. An organic
one would be grapefruit and baking soda. Can use it all over the body. When the pH of the skin is at
an imbalance, can attract too many mites or other insects or anything.
There is no plastic surgery without a pre-biotic soap .




.\11 Night from 12:?>0 - 4:00,\l\1: Shit show of Grenville Craig and Kamala Harris. JNotc: \ncl LL!.!._n
( :ur;tl ,,·a, olhn places ,,·ith another one doing a kundalini practiccJ

This was when the Social Security number was re-distributed.

Too loud noises and energy walls. He wanted everyone to know he is the biggest Shit Show in
money management because be moves money all the time with other people's names and
social security numbers which is why he is not allowed to live in the United States any more, and
he is only allowed in, only so many days a year.

The SEC understands that your name and numbers have been so compromised which is ,Yh y
no ass e t class m o t1L'\" manager ca n jus r accep t ,·o u as a client. Private banking knows how to take
care of all of this. So does William Parsons at Putnam Investments.

The\" ,,·:-inted am:~ (,rnh:1m, ~\'P, Simun & Schuster to knci\Y she docsn'r ]Xl\" ,·ou the contracted
amounts because ( ;tTt.)_, illc ( : ra(!! "ill blnck the fl()\\ < ,r cash.

Harry Gural blocked his own money, so did Ru ·t;y Powell HI, Tara P.'s m ther, and Kamala Ha.rri
can't touch it. JNotc he ,1!,r, h,1, :1, en old cc·ll J'ho11L·. ;rnd 11C1 cm.1il l",ccpl 1h1ot1~•h h1, bnnhcrl

l"hL·1 \\·a111nl the \\\lrld tn k11<)\\ ·-·~
                                        c;rcn-
                                                il k C , ..,". had bcs1L·d .,ou financialh. ~c--;ualh. m:11ri1rn>111:1lh.
and :1s I\\ in \()ul lx·ctusc 1 <lll d<Jt1't dC> :1 1hi11!2, th:1t he h:t~n't l'J1dc1r~ccl

You will be forever locked out of all of your money because he and and.ra raig revealed all your
numbers, but William Par n knows exactly how to work with this, so do all the other private asset
merger professionally.

Kristin Mac fanus is just a front for finding out everyone's numbers and accounts. She studies
everyone's daily transactions on the wireless network to be sure she attacks and markets them for
US Trust. She and Peter Hatfield have an emotional attraction to each other. They are a Bonnie and
Clyde partnership. Nobody can touch your numbers, or name. It has been so over used with all of
your private details also, so, no one can use them without proper identification. You can. It just
takes a few more steps. They can't best you last night or this morning.


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This will continue until ancv Graham, or another issues a contract. It's not fair to Pamela
Chapman. It's not fair to Harry Gural. He will take a huge fall in 1-3 days and that will end it all for
him permanently,
        #standupmetoo is real and so are you. ullivan & Cromwell is real, and they can negotiate a
        movie/ film deal with the best of them.

         Patrick ullivan is real and can work with you



6:15PM

Bobby McDermott via Linda W. tephen

26 years, Hyde Park, MA, on disability; can't stand Tara Plochocki; Strong energy of coherence.



She can't stand him just the same - this is how they talk- backwards-forwards until you don't know
which way is the truth, anyway. She can't' stand Pamela Chapman-Tara Plochocki because Harry
Gural has such a crush on her.

When he arrived on April 30, the morning after,
      She couldn't get into his aura at all, and he figured it out because Zenia T heresa tied them up
      to a big reunion tree and she didn't even realize Tara Plochocki was in his aura.

No one thinks Harrv Gural is acting out of character any more.

Jean Dixon is not really a psychic, but an astrologer of first degree of which Pamela Chapman knew,
which is why she asked for her advice. This is why she can answer any questions of Pamela
Chapman, but not the others in the realm.

Jeanne Di.xon thinks Harry Gural and Pamela Chapman didn't even know who the other really is as
long as they never physically meet, this Shit Show will never progress.

If Hat:17 Gural doesn't receive an invitation to Pamela Chapman' birthday bash in 2022, he will
undoubtedly ask Emily Parsons why, and she will say, I didn't even remember who you are, and no
one here knows your name, Harry Gural. Bill ural you can come and bring your sister and two
others. But we don't even, remember who or what Harry Gural is. Always remember m.ily Par. on
holds the key to Pamela s house because William Parson holds the key to the money. So, Emily
Parsons will hold the first key to the house at the end of the street.

In order to get into the mother's house, you must have an appropriate key and my mother has willed
me the fourth door and her Wisdom keeper's key because we are both seer - Twin Souls.
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Tara Plochocki can't fit through the portal of an open door. Not even Roger Kass either.

Roger    ile can't. He is in a reciprocity jail of his own doing. He's actually dead.

Gretchen Carston: He can't even remember who or what he did at Fox News. Neither does Matt
Lauer. or people like Harvey Weinstein of the #metoo movement.

So, if these men who were convicted of sexual assault, misconduct, harassment, collusion, accessory
don't realize what they have done to so many, how can you expect Tara Plochocki or Harry Gural to
do anything other than what they did?

  mily Parsons: Harry Gural is an ascended soul with kundalini in a reciprocity of relationship with a
seer Twin Soul enlightened clear channel.

Harry Gural: I don't think I can remember everything you said. So, if Harry Gural can't remember
what she said, or how he said it under expert testimony,

That's ok, at night, we all wrote it down, and can read it back to him, o.k. Han:y Gural?

Harry Gural: Yes, but I can't find my eyeglass case, so I forgot it was real for all of you, and not for
me.

Pamela Chapman didn't see it. She couldn't find her glasses, but it's real for her as for you, so why
are you the only one who can't see that this is real, and everyone will testify against you in a bona
fide court of law?

Sit up straight Harry ural. There are no more marriages for you here with Tara Plochocki or
anyone else. You were married three times and blessed twice in the upper galaxy to the partner of
reciprocity with Pamela Chapman with whom you have a strong coherence of energy with, and for
whom you have been married to before. Make no mistake she couldn't behave like you do.



10:11PM 6-13-22 Dominique lfandre is really mily Parsons at night in the realm. Her father can't
tell the difference during the daytime, and at night he rarely hears a thing because he has a new
girlfriend he spends all of his time with. Dominique Alfrandre is always mily Par on but
sometimes she is someone else's little sister and, is it usually Dominique Alfandre herself as her own
little sister?

Yes, because then, no one knows the entire conversation is being held by one person while everyone
else in the Thievery Ring has backed a way for several hours since- during the daytime-everyone
needs a break except Pamela Chapman can't get one.

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Now, she and Harry Gural will have to figure out how to talk to each other without saying anything
at all. All these Thieve1.y Ring Workgroup people have climbed into her aura. They know how to
mine any information they want. They listen to her all the day and night and mimic every movement
of her body. Dominique Alfandre has done this since last July and August, 2021. So has N ala
Ganem, Andrew Parson , Maura Lindsey, om Diedrich, Carrie Crosson Gilpin, Bethany D · apoli,
I\'Ionique Burges and a few others.

Now, if you mimic another person's movements-and their lifestyle-do you actually know them
well?

They think so, but they don't know so. Linda Plochocki's mother said earlier to night, "IJI were
counseling them on how to be a thief, I would recommend someone whose lifestyle was more c!Jnamic. "Pamela
Chapman is just too easy a target. She does very little all day, and sleeps at night.

So, she doesn't teach at any level of thievery sophistication, does she Linda P lochocki?

'No, she does not."

If Linda Plocbocki seems to think Harry Gural is a £'fool for not dating Pamela Chapman, is he
really a fool, or is he just too smart for all of us? He and she will never stop talking to each other in
this space, and neither will ndrew Parsons and Carrie Crosson ilpin. Does that make Andy and
Carrie Crosson Gilpin a bona fide couple?

"Yes, it does," they say. But, Carrie Crosson Gilpin is married (later we learn, divorced) with two
grown daughters.

No, she is not. She is a I amala Harris-appointed handler of Andrew Parsons as an extension of
I amala's Table to control, manipulate and incapacitate Pamela Chapman. That makes Carrie
Cros on Gilpin and Andrew Parsons both stodges in multiple ways of this game. Carrie Crosson
Gilpin got used by both Kamala Harris, fark Halpern, Andrew Parsons, Tara Plochocki. The
revenge she sought against Pamela Chapman only made her an accessory bit player in a much larger
game. Pamela Chapman played at a much higher level and Carrie was a stooge at the base level of
the game.

That is who she really is. As a handler, she must understand what she is handling. Pamela Chapman
told Andrew Parsons this last October when he self-identified to become an initiator. He didn't
want to hear it. Now, he is in over his head, and she is just starting her rendition of Three Shakes to a
Lambs Tail,' or something like that. Maybe it is 'Somewhere over the Rainbow,' or 'Make Someone Happy',
or something like that. Make Someone Happy? That is Jimmy Durante. Maybe, it is the Campbell
Soup Co. making Pamela Chapman happy with an extra $300 billions of settlement money from all
that noodling they do all day in this space. 10:23PM



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continued. ..

10:40PM



Harassment, Collusion:

They harassed Pamela Chapman when they could not by always identifying:
   • What Pamela Chapman was wearing?
   • The exact make, model, color of the car,
   • What was inside, i.e. a bicycle?
   • Called out Barefoot in Heels every time she walked by someone at the store, beach bike path,
       etc.
   • Sexual abuse and harassment,
   • Anything related to medical history even though it is protected under federal laws,
   • Fraudulent attempts at freezing out financial assets, and stealing credit card information and
       checking account numbers, security codes.

This was the pattern.

Just to be sure everyone everywhere harassed Pamela Chapman unconditionally, they:
    • Heckled
    • Beeped
    • Yelled

It started with Mark Halpern, always when he announced Pamela Chapman at the grocery store,
Starbucks, and whatever my interest and that day was including all and any vendors online.




                                         Ju])_ 22 2021


Island Moving Company: They created such a strong energy wall of harassment and noise by raising
their arms over their heads - a classic Kundalini Yoga exercise, where the strength and toxicity of
the energy gains momentum with each and every practice opportunity.

Three times between 12 AM - 4 AM, Pamela Chapman had to submit to some form of sexual
obedience activity including disturbing the peace, blackmail extortion, fraud, aggravated
assault.
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        People involved: Peter Bramante-Executive Director, Tara Gragg. teve abo, Jana Hick
        Jagoe, Tracey Jon son- xecutive Director Newport ·t House Eva Touhey, David
        McLaughlin-Clean Ocean Access, Lauren DeFedes, Titna, Jose
    •   The first thing they wanted to know was what was in Pamela Chapman's safety deposit box?
        She said a copy of Bare.foot ill Heels.

She awoke from a nap to the loudest and strongest energy wall ever faced: 12:51 PM 7/22/2021
   • Aggravated assault: It was making Pamela Chapman dizzy.
          o She claitned, "I can't breathe veiy well." She felt it in her legs, chest, head and breathe
              simultaneous!J. She said, "I just might fall over and have a heart attack. My head
                 is so dizzy. My lungs are so short of breath. My legs are weak. I can't stand
                 up. What the hell is this?"
             o   ''I can't get up and walk around. I can't real!J swallow."
             o  Sullivan and Cromwell knows exactly how to get people collectively and personally
                for a full frontal bodily attack like this one.
             o Peter Bramante: ''I never step down. I will never surrender to you or Kamala Hanis ever."
             o Rusty Powell III: ''I never wanted to actual!J step down and get arrestedfor atrything I ever did
               for Kamala Harris, but my wife alwqys knew it would come to this."

    •   Kamala Harris: I don't know who you are, but I don't support Pamela Chapman's book
        anymore. She didn't need to report every f' misdemeanor on the face of the planet to get her
        book published - really I thought she did, because no one here wants that f' book published
        except for Rusty Powell Ill.

    •   There is a show of support so that Kamal.a Harris can actually stay in office and we won't
        ever do this again because if Pamela Chapman sues Island Moving Company it is on
        principle alone because she is under a full-frontal attack and cannot breathe.
        Normally, whose idea was this, principally speaking?

    •   "We are going to do this aggravated assault until you publish Barefoot in Heels."
           c -1fil ·     rah am : 'What happened with those people todqy? I am l1er publisher :wd 110
               one is dii-ecti11g that horrible band of enei-gy 011 me. She can't bu:athe rigl1t."
           c Jana Jagoe/Bethany n· apoli: ""\ o 011t 1/!il/ (lflhli.1h rr,111 .,!i11/.:i1<~ hooh .,o J.'. d o/i ro11r /,<~/,
                  h///,-011)' o/ ,·011,-1-il //ll d ji1J/1/i.1/1 lh1· r/0111111/,i11~ ,1/i, 111·. II ·/' , ·1 /11 '; ,1,111d )'Ill/ // IIJ'll!Olc'. ··


Pamela hapman said that Peter Bramante was in violation of his Executive Director's contract for
Island foving Company because Pamela Chapman wrote it, and Turner cott, Esq. reviewed a
version of it for the ewport rt Mu emn. It has several clauses.

        The felonies and charges involved include: harassment, bullying, blackmail, exploitation,
        aiding and abetting, accessory, aggravated assault, conspiracy, disturbing the peace, gross
        negligence and gross misconduct.

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 fi.k:i Ohl en, Artistic Director, IMC took a vote. So did Martha Parker, President of the board. He is
out without extra pay. Leave it to :ivliki Ohl en, and Martha Parker.

Directly related to this event of July 22, 2021 and Island Moving Company is Ru t;y Powell III, Little
Compton, RI:

You are under arrest for assault and felony charges. No one will ever know who actually started this
because there is strong collusion in fraud, harassment and conspiracy to commit, destruction of the
peace, Felony charges and collection of damages worthy of anything he owns collectively or alone
with or without his wife and daughter who are also here without a name.

          Rusty Powell III collectively and individually has no Miranda Rights. Yet, his wife has
          him to the local police station in Tiverton, RI.

          I am Gina Raimondo and David Ciccilini and we don't believe what he has done to you
          personally and collectively. We don't have any other reason to believe he has a reason to
          do this other than each and every morning.

           fiki Ohlsen asked or called for his Peter Bramante's resignation for attacks committed
          together with Rusty PoweJJ UI, Rusty Dorman/Bobby McDermott, and Peter Bramante.

          Then it was revealed through Tara Plochocki that Kamala Harris and [those of, or were]
          Lahore were involved in a bigger ring and game of felony larceny, theft and cocaine ring.
          I amala Hartis is at the center of her own doing with Rusty Powell Ill as one of her
          principle seers along with Lahore (who is Alberto Villodo, but she doesn't yet know this).

!Note: I .un,t!a I l.11rt~ ha, bcu) u,rng l ..1h11n a, :i "scL·1" \\ i1h l~u,1r Po,n·ll 111. lrn1 shl did nol knm\· l.al1<1rl' \\·as
jll,Lrn, \ 1l!od11-l

At the same time this is being revealed, Pamela Chapman says, 'This is real!J affecting my head andface
(pf?ysical!Y), and making me real!J dizzy. "

Pamela Chapman: I am a big mess because I can't stand a big Shit Show that disturbs my sleep, my
metabolism-eating, my reading. I have hired the biggest guns in America on the east coast I know
who actually deliver something to you about who I am, what I am, how I am and that's called
Sullivan & Cromwell. Now that I have revealed myself, what is your deepest or biggest fear of me?

'We are all going to jailfar this big Shit Show and I don't know how to exist in ajazl all efmy own doing."

You are the ones who actually committed the crime so you tell me what should happen to you? I'll
tell the judge personally this is your request




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Rusty Powell ill: I don't believe you have this much composure. I was sure you'd fall down dead on
arrival in the bedroom of your house because no one I know would be so sassy. So, we don't really
ever need to meet because I can't stand women like you.

Pamela Chapman: Who me? Sassy one. Spunky Pamela Chapman.

You are sassy until the end.

David W. O'Leary: ]>amela Chapman, you have no regrets about this morning do you?

Patne.la Chapman: Regret? Because all I did was ask questions and everyone exposed themselves for
who they were, what they were, how they were, and why they were. That's not my fault. Who they
are and what they do authentically, specifically, if they have committed crimes against themselves
and against humanity - they are not my fault, nor was Barefoot in Heels ever intended to be involved.
Yet, they put my book squarely in the middle of their Shit Show, and then prevented me from
getting anywhere with it. I need the money. So, if you step on my toes and my book and my
character and my sleeping and you attack me multiple times a day since February 4, 2021, but
especially since May 2021, I will step on you legally, every fucking moment of every fucking day
from now on, and everyone is exposed for who, what, and when forever more.

Pamel..'\ Chapman: Happy van Beuren you personally could have prevented all of this, and you could
have allowed authors in Newport who write about Newport, and even those with just a background
in Newport, to be published by a publisher of national/international stature. So, just remember you
are responsible for most of the Shit Show because if you had allowed the book to go forward, it
would have somehow, and Pamela hap:tnan would have taken her engagement elsewhere.

Pamela Chapman: One more thing since my guides have tied me up in a relationship of reciprocity
and I wasn't untrue to myself. You have directly affected Harrv GuraJ in a grand larceny and
brainwashing way. I can't now leave him in a Shit Show Space. So if you step on my karma of
relationship, or relationship of reciprocity, I will step on you every fucking day until this Shit Show
energy completion goes away,

and so will I.

1:50 PM
There is a loud alarm sounding in the realm.

Willi.am Parsons: This alarm pulled every one out of the Putman Investment [work] space. What is
this really all about I amala Harris?

Sassy Pamela     hapmao is not the answer.

Roger Kass: No one should be shooting off fireworks right now, yet they are in Pamela        hapman s
neighborhood. Maybe it is the 4 th of July Independence Day in Portsmouth, RI.
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 ''I am Gina Raimondo and David Cicctlini and Nancv Pelosi, Cb11ck Sch11111e1~111.itth M ,Co111iell--Senate Minority
Leader. We will persecute Kamala Harris to the fullest extent of the law because this is neither how we respond to
inquiries offreedom andjustice for all." - a favorite phrase of Kamala Harris, ...

Why are Pat and Mike Fernandez involved in this wall of toxic energy or maybe it's like a shower?

Pat Fernandez: Because I thought all of Kamala Harris' Table was involved. That is what
I was told by Jean Gorham who said all would be involved. They are being rounded up right now.

Jeanne Gorham: I am tired of the Shit Show mess in Newport, RI, so I just suggested if she wanted
to show her support .. . [meaning Pat emandez]

Pat F ernandez: Not a chance anymore. Mike and I have no further comment to anyone about any
of this anymore. We are getting out of politics permanently ever more, alright Pamela hapmao?

Pamela Chapman: It is your Shit Show of a mess.

 INote: 'J he c1111rc I .1111:iL1 11:ml"' T.1bk ol- "~upn l\1c·· people \\-:b :1c1ualh mundccl up both k,1111.1l.!..l.1!.u:1--. but
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          However she did not know, nor did her son, Will Fernandez who had been a White House
          intern, that as a former lobbyist, Michael could not get an appointment in the administration.
          And he did not go the proper route to get an appointment.


Harry Gural: What is this really all about? The energy is now on me collectively and personally.

Roger Kass: I don't know why it came to this today, but no one wants Harty Gural around
anymore, and so we all thought if we really attacked you, both of you would go away.

Pamela Chapman: Has that approach ever worked for you in the past?

Roger Ka ·s: Not exactly.

Pamela Chapman: Why not then?

Roger Kass: I can't stand what has happened to your book, and everyone likes to attack you
when you wake up from a nap.

Pamela Chapman: I wasn't allowed to actually go to bed or sleep last night because at 12 midnight
I got in bed and Petet· Bramante, the Island Moving Company cast of dancers. Jana Hicks Jagoe and
all the other IMC-thievery ring which includes Clean Ocean Ace s and Newport :t House got all
in my face with strong, loud, searing energy that lasted until 4 AM. Then Pamela Chapman fell
asleep for 1 hour. That's all the sleep she had and the night before was no better. So, she dislikes
napping during the day but whether it is light or dark outside, this searing energy has been the
response to me. When is this response to me going to end?

Roger lZass: When Nancy Graham gives you a contract. JNote: Ji s,·L·m, ir h:1d t" hl' cirlll'r a ho"k
c"ntr;Kl. or ;i lcµ::11 co111r;ic1 ,1·i1h :i11ornnf, J 10 '-Lil partJl'S ,,11111 \l·,1, n,·,Tr g011112 ro !-'-1,,· hc1 :1 cc,111uc1 ':-O 11
,1·c,uld Ill"\ n l·nd u111il sh, c"n1r,1c1nl ,1·11h ;in ;i11"n1c·1 tc, ,11, ,1l\ of thc·m, :rnd 1hc·1 .ill Lkctdnl i\1:11 ,, :1, imposs1hlc.J


Pamela Chapman: That's extortion and blackmail and you can' put this or his past over me. So you
and Campbell Soup family are to blame. You are the source of all of this because I will tell you my
attorneys will prosecute to the fullest extent of the law.

Roger 1 as : I can't tell you what to do, but Han:y Gural can't take the pressure anymore.

Pamela Chapman: How do you know?

Roger Kass: I can't stand writing this down. It is a full transcript of this felony arrest because Rusty
Powell Ill works on behalf of I amala Harris and so does Peter Bramaat , but also for himself at
I sland Mo :ing Company. and so does Roger Kass for Happy van Beuren. It is all entangled
together. So why Jana Hicks Jagoe and her twits? Because they don't know or like to get out of the

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way and they are now accessories and collusion, to the whole mess. So is Carrie Crosson        ilpin,
Tara Plochocki, and Ha.u11 Gural.

Harry Gural: I will compensate you personally, not legally because my brother will reach out to you
and we will solve this together ourselves. I want to know if that is alright?

Pamela Chapman: I don't know. It depends, is all I can say.

Jana Hicks Jagoe: What just happened?

Hold on. Jana Jagoe is here. [Implying who let her in the house?]

Pamela Chapman: We got them.

Who was at the center of this afternoon's attack?

Roger Kass: It started with Roger Kass and Happy van Beuren asking if anyone really wanted
Ba1¥foot i11 Heelr as a book, and Jana Hicks Jagoe, Peter Bramante, and IMC responded together,
"Heil no. Not a chance," so they quickly pulled everyone together. Then Rusty Powell Ill and Bobby
McDermott jumped right in. Then Pat Fernandez and Mike Fernandez, and then Roger Ka s
and Happy van Beuren sat back and waited until you woke up which is when Happy van Beuren
then said, 'O.k. Now pull the trigger." She pulled the trigger.

Sullivan & Cromwell: No way. It was Roger F ass all along. We know him personally, and we can't
stand Campbell Soup labeling. It is not what is actually in the can. It is fake and it is forgery in the
grandest way. So no, we can't accept his statement of acknowledgement,

Donald Christ, Dorienne Farzan, John Brookes. ladys zapary, and Walter Reed .
.McBean Charitable Trnst: Pamela Chap1nan we don't like Sullivan & Cromwell. We don't believe
what Elizabeth Lynn. Executive Director, van Beuren Charitable •oundation and Happy van Beuren
have done to you collectively and personally. No way can we accept him as a personal spokesperson
for van Beuren Charitable Foundation. It is Elizabeth Lynn. It always was.

Pamela Chapman: In all these Akashic Record private rooms with the van Beru:en Charitable Trust,
   lizabetb ynn. Executive Director, and with Roger Kas , all the conversations they were always led
by Roger l ass from 7 PM to 6 AM (sun down to sun up). All of the discussion was the field of
philanthropy. It was a Roger l ass Show every night for about 6-8 weeks. It was exhausting. Now,
we have heard he sleeps much of the day and is somewhat of an alcoholic because he and Andrea
~•an Beuren don't live together. She is attracted to another and it is not a man. She lives with the
mother and walks the beach with the dog every day. Pamela saw her there personally this past
spring. The dog actually likes Pamela.




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McBean Charitable Trust: We cannot stand this Shit Show either so how about we talk it out
because we will spend $100,000 litigating this mess when all that was required was publishing a
book, so that Pamela Chapman could have a movie.

Pamela Chapman: Actually the publisher would sell the movie. Now she owns the rights, so now
she just needs sales, distribution and marketing. It's a better deal and she can sell the movie/film
rights directly to Hollywood producers.

McBean Charitable Trust: She owns the rights outright?

Pamela Chapman: Yes, she does. She has the Certificate of Registration now and will obtain the
ISBN numbers when she publishes.

McBean Charitable Trust: That is all you need to independently publish a book

Pamela Chapman: The deal is global distribution which she and the book require. The book is
worth $3 billion on the open market. E dward H effernan knew this back in May 2021 and Lisette
Prince confirmed it yesterday. So no one wants to cash flow $3B in sales? No f' way.

Oat ie Charles (Who is alive but really dead): I don't believe this personally.

Dorienne Farzan: I can because Alice Ross and Carolyn DuPont said yesterday, "No way does
she get to be an author ofrenown, and no way does she get to make that much money"

ARH: I can't stand this Shit Show anyway. I will tell my husband to release authorization to publish
through imon & Schuster. He is a publisher at Simon and chust r and no one gets this kind of
deal anyway. No one gets treated like this and no one ever should so pay up Donald Ross, Alice
Ross, etc. Donald Ro s is an agent of renown at Simon and Schuster and no one wanted to admit
they were reading your book and passing it around like pancake batter but everyone read it and said,
"I don't like it, and then gave it to someone else in this space and in p4fformat. "

That is illegal copyright distribution started by E smond Hannsworth to Roger Kass who passed it
around like fertilizer on the ground of his own doing.

Why do we keep doing this every day?

Because we can, and we will extinguish your literary career.

Not a chance. This only sells more hard copies and more / most will not remember what they heard
here anyway. So, I'll just jot down a few notes to myself to give to my attorneys so they know I
didn't make this all up myself like .Barefoot in Heels which got so picked over and reviewed regularly
and which sentence is true or not. Jed and Elena Wilcox and Jerry McIntyre you should be ashamed
of themselves, and Jed and Lisa n odi , you should know better. Elena passed herself off as
something she wasn't. She doesn't own that building. They don't own real estate of renown like they
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said that belongs to Carolyn DuPont's family of renown. So, why did Carolyn DuPont take such a
lead?

Esmond Hannsworth sent the book as a pdf to the whole board of the Redwood Lihrary. So, did
Carolyn DuPont read the pdf like the rest?

She read it because Benedict Lcca said, 'No." to reading it and Carolyn DuPont took it upon herself
to read it personally. Who did she get the copy from?

Roger Kass because he knew Alice Ross's husband objected to the language in the book.

Pamela Chapman: What language? There is no bad language anywhere?

ARH: I didn't like the book either, but imon & Schuster didn't publish this now or ever. You own
your own rights but we can actually do sale and distribute and print it. We have a whole division to
do exactly that. I actually make more money that way.

Pamela Chapman: All ancv Graham did was pre-cut the contract and you only now owe the
contracted $60 million upfront at the moment

XX: I can't believe it was Alice Ross's husband who was at the center of all of this becattse he
and Grenville Craig talked abottt the book l'\'\'O years ago here.

Yes, .he di:d. G~enville Craig k:ttew about the breach beea-use of agency Sflel confidant. Because he
was oa the boMd of the Redr;v·ood Libfit:t:)' and no one 1ffieW he was ifl a Twin Soul space \'J:id1 you.
That is all a lie.

Pamela Chapman: Sandra Craig and Grenville Craig You are now accessories to this fraudulent
activity. Everyone is involved. I don't have a choice now Donald Christ.

Donald b.rist: Yes, you do. renville Craig and Sandra Craig will have to cut you a deal because
the Redwood Libra11• and thenaeum_ cannot underwrite anything he ever wants to do ... and AAM
didn't accept a check from andra Craig either (Yes, they would. No, they would not.)

Robert Manice and Jackie Egan knew what happened to the book. The whole town knew except
for the author, Pamela Chapman. No one told her to stop applying for foundation jobs or to
stop trying to publish the book.

Jackie   gan: Why did Patrick Sullivan, MD's office say they would help you anyway?

Pamela Chapmru1: I don't remember. Why don't you tell me?




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Jackie E gan: Because you look like us and not like the others, which is why ARH's doesn't
want the book published. Yet you don't belong to anyone not then, not now, or not into the
future.

XX: What's the real problem. You don't know them either.

Jackie E gan: Because $60 million is too much for such a book.

James Ro , esq: No, it is not. Not then and not now. It's a mergers and acquisitions deal like the
rest and she now knows it intuitively and innately thanks to Bears Stearns and Goldman Sachs
alumni.

E d Heffernan: What's is your name really?

James Ross: 2 or 5 Berkeley Avenue, Newport, RI; 1130 Park Avenue, Apt 82, NY, NY.

We want to play this Shit Show all day because all you do is write it down and we will play outside all
day.

Pamela Cha_pman: This is harassment, collusion, accessory, blackmail,

James Ross: I can't stand that Kamala Harris is at the center and so is Pat Fernandez and the
others so you get the book deal because you earned it ok?

Pamela Chapman: Is it your decision that I get the book deal?

Nola Ganem: I have no idea who you are, so why is it your decision anyway?

Jim Ross: I am a big shareholder (He is implying the Redwood Library. Pamela is also a big
shareholder.)

T ara Plochocki: No you are not. Who is making this decision anyway? Is it l amala Harris, Roger
Kass, Caroline DuP nt, Tim Ross, lice R s , McBean Charitable T1ust, anc.y G raham, Jonathon
Karp?

XX to T ara Plochocki: Because Washington DC is Sullivan & Cromwell and he will refer you to the
right people because this has to be litigated now because they are so out of line, and no one has the
right to harass you every day this way. No one has the right to harass you every day this way.
The Kamala Harris Game & The Sexual Obedience Game:

Tara Plochocki wanted to "best" Pamela Chapman and play the "I am Kamala" game.




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•   The whole game that K amala H arris plays begins in the energy realm: any trade is committed
    through to shamanic retrieval, and where it actually fails is in real life, because the game in here is
    just one aspect of some and is not the be all and end all of relationships for others.
         o Gwyneth Paltrow reminded us all that this was how the #metoo movement came down.
            She as well as everyone else hopes that the US of America never becomes an infidel
            nation state of trade, and just visit her Goop website instead.
•   The pattern of play with T ara Plochock:i as a ducat in a florins/ ducats game that starts small in
    the Halls of Congress, donor circles, communities of any kind where you can recruit and initiate,
    including Tom Hockadav's house.

•   You pb, the game at all lcYcls such that once you han: a ring of people in place at one k,·cl ,·ou
    adnnce them to the ne:;t. 1,:una la 's I :iblc:, ·l om I l ocka<.1:t) ': house and the 'J hie, er~ Rin!,!, (Sept
    2021 onward) played simultancoush· at Le,·el l and Le,·cl TI of The ,a111L'. l r aLh anced to sorcer:
    for the final kill of Pamela Cha )111:111. Instead of killing people for loyalt:· ro the tribe, ,·ou
    ackance them to the ne:;t lc,·cl of the game. You plar psychological abuse games and fraud
    through sm-cen· technologies. It then becomes a focus of fraud and grand larceny and financial
    incapacitation.

•   Level I Guide Level: Crossing lines of lurnlties of relationship \\'ith alignment of sham.anic
    marriage and then alignment and misalignments, but nm cannot mess \Yith sacred unions of
    reciprocit\ of relationship. The, \\'ill hook and unhook ,ou. l .m aln· is a shamanic adjustment:
        o Sex: Masturbation rings of false Kundalini practice and a sexual game of abuse for sexual
            obedience.
        o Kristen MacManu : Financial game of blackmail, fraud, extortion, conspiracy, etc. that
            leads to stealing credit card numbers, account numbers to steal, block and freeze money.
                • It's a power and might game vs. loss of personal agency and personal financial
                     accountability.
        o Drugs: Up to Cocaine and all the tnL'<.tures thereof.
        o Guns: You don't kill you advance them. Maybe the use of shaman power tools.
        o Infidel Nations: thievery rings.

•   There is a PayPal loop so there is accountability.
       o It uses a huge circuit game of fake names and accounts; most are illegal undocumented
            immigrants.
       o No one can trace the flow of numbers.
       o At the lower level of "ducats" you have PayPal. At the higher Executive levels of I amala
            Harris, you have private banking and investment accounts where money is just dropped
            and distributed.
       o "Gift" or "Personal" Payments: Transfers of funds from family and friends to another.
            No processing fee when payment is made with bank or PayPal balances.




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•   Ba,~(oot in Reels was something that got tossed around like a chi ball that got traded and traded
    with ultimate understanding it would end up hidden on a shelf in Hope van Beuren's house
    never to see the light of day.

•   There are 6 spokes on the wheel: always changing directions, and sometimes loyalties of
    relationship through shamanic games and alignments (there are no guns involved here - no
    killing) to prove loyalty, just shamanic tricks and sexual obedience games. There are also
    recruitments, fraud of names and numbers, i.e. Grenville Craig and his SEC game. He was used
    in a huge chess game the night before by Kamala Harris. He thought he was king of money
    management-and Cacoline Craig- came to explain money ring movement one day to a group at
    Katnala's Table- but really he is an economist, not a Goldman Sachs alumna. He was used '~s
    a used wet rag doll" for Kamala's Game.
         o He thought he was top dog the night before, when really he is barely in the first ring of it
             all.
         o This is how you play the Kamala Harris game. You think you have all the power but
             really she does through Lahore, Rusty Powell Ill, Bobby McDermott and a few more.
        o   No one escapes after H>u learn the first ring and no one enters unle ss , ou pron: n>u can
            be strained \\ ith .1 open doors and tunnels and am thing the, can manipulate cspecialh
            sc:-;, financiab and drugs.

•    'No one wzll ever remember what was said here - no one ever,yet someone somewhere will recall something
    somehow and then we will all ask ourselves the very same questions: that we can remember this was a
    real conversation in real time and it got real ve.ty fast and no one has to ever remember
    Tara Plochocki started it all by t.tying to best Pamela Chapman first thing in the
    morning. She didn't want to play the 'Tara Game" of 'Tara is Kamala" untilfinal/y Bill Gural said he'd
    play but he dropped out after the second sentence. So, you just never know who and whatyou are playing with
    because Pamela Chap111a11 ~r game is notyour game. "
         o Never mess with a reciprocity of relationship ever again because we do not play the
             insurrectionist game or the infidel state nation game of economic opportunity of
             financial fraud, nor do we play cocaine trafficking or gun running games. We can always
             leave that to Reed Hastings of Netflix. HBO is so proud to not be in the game. [Network
             television and national newspapers] will cover it all when it is all out there. 10:08 am
             7/22/2021
         o The Tara ame began this morning when Tara Plochocki said she changed places with
             Kamala Harris and maybe l amala Han-i was changing places with another. Where and
             when would the Vice President of the US of America ever change places daily with a
             no/low level twit of unimportance? lberto Villodo is just too stupid. 10:29 AM
             7/22/2021

•   You do not trade Bar£foot in Fl eels for drugs, guns, the constitution of the US of America but it
    was just another symbol of how Kamala Harris is always playing the PayPal florins/ducats game
    of seeing how and where and who she can rely on and what will ultimately end up in her
    personal private banking accounts. This one via Happy van Beuren and Campbell oup.

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•    No one can play this game as well as she can for someone who claims she has no idea how real
     games ae played.
        o Alberto 1illodo: I don't believe I was bested by the best but I deserved it. So, Pamela
            Chapman you cannot ever call me for anything ever again because I will but your balls so
            fucking fast.
        o Pamela Chapman: Ok, no problem because I will bust that website and that Four Winds
            Society faster that you can say I'm retired, dead and gone. Ok, Villodo? Or, maybe just
            divorced, retired, dead and gone? It serves you right. Never promise my daughter a trip
            to Peru in February 2022 if you don't intend it, Ok, Villodo?
        o "He '.r no God He's no seer. He's a kunda/i11i reciprociry ef relationship. "

•    In the energy realm of auras, they hide 1 -3 persons in their auras.

is always claiming to be something that she is not.




Running Dialog: July 22, 2021

Jessica Hagen: Pamela Chapman and Andrew Parsons were separated and no one knew where you
were located so it was o.k. that anyone anywhere could read the book aloud in these spaces from
Jan-February 2020 from June - November 2019.

. ndrew Parsons and Cathy Wicks started reading into the spaces until onie Madden said stop
reading into the space. There is something about the author you don't realize Cathy Wicks and
 · ndrew Parsons, and that if they don't stop reading they would soon realize that someone of
importance would stop them cold.

   dr w Par ons was working at    wport Hospital at the time and no one there cared who you were
including the Newp rt Ho pital Foundation Board of Directors .

•MoHy de Ramd lo'!C'~ aH about the book. She saiel, ''Stop od'/1 s1NrJ-.:tlll 1'flj)e. '

Pamela     hapman said, "lfyou do not stop, I 'If scream rape."




Kathy Abbate and her family said, "But she could not be in arry space," and then I amala Harri told Pat
Fernand z and Michael ernandez that Pamela Chapman could be shaken out of a private Akashic
Record Room space (but she wasn't in one).



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No one knew where you were hiding except when Pat Fernandez and Michael Fernandez landed in
your Twin oul Work Group. Who sent them there? Terry Slocum. Pat Fernandez and 'Michael
Fernandez they had landed in a treasure trove of information so they played and played until
Michael ~ernandez left because he couldn't get a full sentence in.

Kamala Harri thought that was unusual but couldn't be helped or stopped until Kamala Harris sent
him to Tom Hockaday's house and asked all about Pamela Chapman. No one knew anything about
you until Tom Hockaday said you were in an Aka hie Record Room with Tameen aied and Pat
 •ernandez said, ''Ok, I will ask around again because you asked if he couldfind out wf/y my name had been
slandered professional!J. "Who was slandering her? She specifically asked if it were Nora Deidrich?
Jessica Hagen? ndrew Parsons? Someone else?

Tom Hockaday asked Ed McPherson w Becca Bertrand who said no one knew anything anyway.
Then she said speak to Jessica Hagen who he said already said she couldn't stand her anyway.

Ed McPherson said he didn't know but the,· all km·,, .You could be contacted because .you could all
contact them, but they could not contact you.

Pat ~ern.andez asked Kamala Harris how Pamela Chapman could be contacted, and she told them
Justine Rudock knew. She said, 'Just rattle their cages': So, Pat Fernandez told Roger Ka s who told
Becca Bertrand who told andra Orsloff who told Cathy Wicks who told ndrew Parsons. Pat
Fernandez was at the center of it all.

Carh, \Vicks and .\ndrc\\' Parsons set a path to ratrlc ,our cage. Then thn set a cour;;c with kathY
and Rick . \bbatc to make sure Pamda C:ha~rnP.!.1 km:\\ the\' reallr meant to <lestro:, you.

Then they spent about two weeks making sure you had no one important around you to support
you. Then they set about to wake you up first thing in the morning because ndrew Parson not to
disturb you first thing in the morning. At about 5:45 AM they set their alarms and discussed the plan
of attack. About 6 AM they set to awaken you and all of a sudden Alberto illodo asked them, 'Who
is doing this to Pamela Cho,pma11?"

Kathy Abbate asked naively and demurely as if she were an underserved blond too early in the
morning, 'Who areyou?"

He said confidently and extremely sure of himself which is a quantum level above confidence,
 "Alberto Villodo of the 011r Winds Socie£v. "The whole realm simultaneously gaped and winced. They
didn't quite know what to do next because they were sure ndtew Par oos and Cathy Wicks had no
idea who he was. Then Tameen aied said, ''I am from Chennaz~ India, who are you?" As sure as she
breathed, she thought they had no idea who she was-and they still do not. They then thought out
loud, which was really spoken, ''Ho!J 5-H-I-T. "Who were these two people with her.

Kayla bbate, the daughter, knew of Alberto Villodo, because he was a shaman-yet a man-of
such high importance. (Thry didn't realize he was so high because he also sold illegal drugs - but Pamela
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Chapman never knew that side of him until we all did in August of 2021.) l a thy bbate and Kayla bbate
were so shocked to hear this news, you could hear something from that house over there, except no
one really knew what they could hear so they just winced and waited. They were not however
uninspired -but they should have been.

  ndrew Parsons and Cathy Wicks didn't know a thing so they just proceeded anyway. That was
when the entire Akashic Record Public Commons unlocked all the private kashic Record Rooms.
All the doors and windows opened- but there were no windows anyway. Now there was only one
occasion left to make everything right again because if you know anything about Pamela Chapman
she is now writing everything down in bound books and will give everything to corporate lawyers,
and none will realize just how dangerous your behavior was until you get a subpoena and now since
your children always knew about your book and everything else, what would Pamela Chapman want
to say to them? Nothing. And, they had nothing to say to her either.

William Par ans: We knew everything anyway and no one had the class or grace to inform you, and
you were one big Shit Show of a mess. That was exactly where Andrew Par on. wanted you to be.

When you put your house on the market, they all knew you had to lease but when it didn't' sell and
you didn't care anxway no one could figure you out and no one wanted to ask you anyway where
and how and why you were living where you were.

So now, where is they book anyway?

It's in a US Library of Congress Certificate of Registration process.

But no one wants you to print, sell and distribute it. But is has already been sent out via mass email
distribution anyway. But you can always sell it as a film right?

You cannot. Because Reese Witherspoon says imon & chuster will get one big subpoena and no
one will ever want to read it anyway. No, that isn't how publishing works especially fiction. So now
  ancy Graham, what do you have to say?

Nancy         raham: Nothing. We don't comment on executive decisions in this space. lb1 01e 1hL·
CCl llt1:1clicti11n 111 lanp:u:1µ: c :-;hL ClffcTnl 11Ll111Ln1u, c,,n11:1u, \\ tth d:1lc · llllll , l.llll]''- \IJl1w,·,L·s :lllLi
AcknO\dcdgements of Receipt 111 1h1, , 11,1 n                  I

A toxic, strong, loud energy appeared. It had the signature and acknowledgement of Andrew
Parsons, Catl1) Wicks, Jana Jagoe, Ed McPher. on, Claire Nelson, Jessica Hagen, Muni am.mis.

Jessica Hagen: I didn't know how smart and sassy you were. Neither did Mimi ammis nor anyone
else for that matter. In fact, your stupid husband loves the new you a lot (but she is indifferent to
him-that's a permanent solution to every problem). He said you were always like this except he
didn't allow you to be and become who you really were. He wanted you at home to cook and serve
him. He said recently, ''I should have allowed her to work so she would want to retire ear!J."
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But Harry Gural said, "No she is an intellectual."

Molly de Ramel said, 'We intellectuals have to read and write every dqy to stqy sane, and so now thatyou are
JJ11iti11g every dqy in a notebook"

''Yes, but it is killing my hand. I prefer to type and compose on my own-of course." [Note: \'\'c \nite longhand to
preset-Y e the: ,niting in the LTent of ,1 digital fire. [

Jessica Hagen: I seem to remember how much you enjoyed going to classes but I could have cared
less what you said, and now I could care less who you really are because I am a Shit Show of a stupid
mess because no one likes me in the Public Common space (No, but I'll say so anyway). Now that
  nclrew Parsons and Cathy Wicks don't actually want to marry thee and thee and they have all but
destroyed you over wanting to get married anyway, Pamela Chapm~n, what do you think of Jessica
Hagen and Jim Varley and all the rest.

Now you can actually publish because no one likes you anyway and no one wants to read the book
anymore. It only takes them 1-5 times through before they decide they are done reading it anyway.

Jenna Buh . lager: What a missed opportunity because no one wants to publish you anyway. Let's
everyone say thank you for my free copy of a book it took you 3.5 years professionally speaking to
create and type. So, who wants to work full time for 3.5 years for free? No one. Who wants their
book to be illegally distributed by an agent of renown? No one.

Esmond Harmsworth IV, who are you anyway, because Pamela Chapman sent you a copy because
you and she knew people together, and she trusted you to at least give her professional advice.

 Esmond Harmsworth IV: I didn't say I'd publish it. I said, "I thought it wasn't dark enough, and thank
you, but no. Here is it back. I'm done and all through." So, it's a no go.

Roger Kass: Well, Thank God he said, "No, "because now I can do with it as I please and Mumsie
said, '1'11 bt!J it far a dime on the dollar when she is all but dead poor at!)lwqy."


9:06 PM

Jenna Bush Hager: We don't care what you do but you are now getting harassed everywhere you go
and no one has the decency to not laugh or smile or say what a Shit Show you are anyway.

Harry Gural: Jenna Bu h Hage.r what do you think?

Harry Gural: I never knew I was quiet.

Jenna Bush Hager: We don't hear you ever again.
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Harry Gural: I can always hear you anyway because now I am in a shamanic tank of my own doing
- A guest space of reflection.

Pamela Chapman: You are a reflection pool where everything you say and do is pronounced and
announced and has been since March 8 or thereabouts. So, this is some Shit Show of stupidity for all
of your whole family.


Elizabeth II 1926-2022

In times when nothing stood
But worsened, or grew strange,
There was one constant good:
She did not change.

Writer Philip Larkin




                                          Jul __ 23 2021
Went to bed at 10:30 PM.

All night long the 10+ - 30+ people energy game and Kayla Abbate joined them.
It was the IMC Shit Show at the center of it all.

Tracey Jonsson accepted responsibility for turning on the sexual organ expressions of Pamela
Chapman. She and others refused to turn off.
         racev J n  n is ora Deid.rich's little sister, her masturbation partner at Tom
       Hockaday's house.

Pamela Chapman: So once Pamela Chapman tried to put her head on the pillow, the noise became
so loud and obnoxious and the sexual assault turned up at 9AM the morning. It is still all the same
loud noise (10:30PM - 9AM) . When it cahned down slightly, it all went right back on.

When Pamela Chapman got up to go to the bathroom, which is all night long because whatever
they were stimulating on her body just stimulated her bladder instead. This is and was
nothing short of torture, aggravated assault, sexual assault, and sexual abuse.


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took/

Why are the shamans of the world not awake? Where is Lahore, Justine Rudock, or Alberto Villodo,
or Marcella Lobo?

No one would allow Gwvneth Paltrow to be in this state, nor would they allow Kamala Harris.
These are the shamans who would be doing that work. Why not protect me? Why are the shamans
not banning together to do something for me?

Everyone has stood back and said not to get involved.

This is one huge torture. It can happen to anyone anywhere. This is a lynch mob. _\nyonc in
the \Yorld can be a target at any time. This i~ being done by people J> nmda C hapma11 knows
within her own community, primarily through people in a dance organization whose board
of trustees she sat on for 3.5 years. Do they now run on torture, abuse, aggravated assault,
slander and manslaughter?

Tim Gaffney: Kamala Harris knows exactly how to stop this where she is. Why would she let anyone
anywhere in the world be subjected to this every day?

Kamala Harris: Because I can't stand her and her fucking book deal, so she has to stick it
up her ass.
       Why would the Vice President of the US of America want to destroy and torture one
       of her constituents especially over a stupid book deal for a $2 million loyalty to
       Happy van Beuren of Campbell Soup Co.?

Happy van Beuren: Kamala Harris knows to stop all of this and she does not because I already told
her I won't vote for her now or ever because she doesn't stand for freedom and justice for all like
she always says she does.

Pamela Chapman: This is like Peter 1' ehoe and Tom Hockaday' house, but it is tyranny and
torture all focused on one person- Pamela Chapman, who did nothing to deserve this.

Where are all the shamans and reciprocity guides who protect Kings and Queens around the world
and Hollywood celebrities?

Trudy Coxe/Jim Gaffney: What is in this f' book that no one wants anyone to read? I can't imagine
there is anything of any importance except they did say the five families of Rhode Island.

Andrew Parsons: I want her to acknowledge it's a real f' story.

Trudy Coxe/Jim Gaffney: She says it technically is neither a memoir nor a roman a clef. If Andrew
Parson wants everyone to believe it is a memoir than he looks like the biggest jerk and toadstool of
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them all. He should have just stood down because he looks worse than any character for doing this
directly to the mother of his children and his wife for over two decades. What is the matter with
writing books? She is not important enough to silence with all of this attention. She will never be
able to go anywhere with anyone ever again. No one wants to be with a person who is targeted like
this. No one wants to do business with her either.

        What do you want now, because no one anywhere will step up that can help her?

        She needs a huge circle of shamans and reciprocity guides and a book deal. Someone needs
        to contact her or she will contact all of them when she contacts the lawyers, if she is still
        physically alive from all of the abuse she has sustained.

Pamela Chapman: I ban· heart palpitations, my groin hurts from being manipulated, nw bladder is
mer stimulated. This is c:--:ccssiYc torture. 9:31 AM


Tracey Jons on: Stick it up your ass because you will be so f' rich, and we can't stand f' rich people.

Tracey Jonsson, I know you personally, and get the hell out if Newport. You rape and robe
communities everywhere you go. Her mother admitted this last night. No one ever leaves this
reahn until this is solved.

Everyone else returns to their communities and escapes this except for those in our greater
community.

Why are you doing this to yourselves?
We all got over ourselves a long time ago.

Local people via Island Moving Company are doing the most torture, and are experienced
in the sexual obedience drill most often in the early days of Peter Kehoe at Tom Hockaday's
house.

1racey Jon son: If only you'd started masturbating, you'd fell a lot better, Pamela Chapman.

Pamela hapman: No. Not actually, not in my body. Not now or ever. This is sexual assault
because I can actually feel it. It is affecting my bladder. You'll get a subpoena for sexual
assault in the first degree.

XX: No one is going anywhere any day of the week until this is resolved. No. Everyone else goes to
work where it is quiet, goes to the beach, goes out to lunch where everything quiets. They have
nothing to do with this.

This is really a very small group that you wanted us to believe is huge. It has a national &
international audience. It is only the people who were always here. Everyone else was told repeatedly
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to go home and get out of here and if they did they are protected. All the young children of the
community and world don't actually listen to this and neither do most of the 9 cities of Newport
except for those involved.

Tracey Jonsson: I had no idea. How many nights do you not sleep? Nobody cares anymore. No one
sleeps anymore. This is really bad for everyone's health and the economy.

Trudy Coxe/Jun Gaffney: Why would anyone come to the Breakers? Because it is quiet and they
aren't involved. They stay connected to their home turf network and stay the heck away from here.
Maybe this is because Island foving ompany has a week of nightly dance? They turn on the music
and no one hears a thing except those who are involved. Even Harry Gural can't hear a thing.

Han-y Gural: I hear it all, but I don't feel the energy only the sexual organs. Lust doesn't actually do
anything to my physiology so I'm good.

Harry Gural: Tracey Jon son you are so£' crude. You must actually hate your mother who claimed
you does something like this to every community she lives in. She rapes it until they kick her out.




Hilary Rodman Clinton: I will never approve what has happened and no one will ever not
understand what happened to Pamela Chapman. We owe Pamela Chapman protection and
money for her book. Simon and Schuster better pay her or else :ullivan and Crotm ell will get
them to over pay with legal settlements which could get tied up in court for years to come.

Pamela Dorman: This is now a legal matter of state importance so Kamala Harris knows how to
stop this but her loyalties are to herself, and Happy van Beuren who prevents her own cause of
freedom and justice for all. Pat F ernandez should be tried for treason because they stood with
I land Moving Company last night.

Pat Fernandez: I thought I was standing with l amala Harri who I actually still like.

Hilary Rodman Clinton: Are you kidding? No one thinks I amala Harris is fit to be Queen or
President of anything.

David O 'Leary: No one can help you because they are afraid this will happen to them. Also no one
expected you to become the symbol of the New Age, especially when you arrived with two shamans.
They abandoned you for their own needs. Then, Harry Gural arrived and said he was a Shen shaman
of the 1st degree, and that he was going to help you. So, where is the help Han-v Gural? You have
gone running every day as a little girl, and every night you run to betray Pamela Chapman. I\\ h1 ch jllq
lL a l h   111L;Jll, lil \Li ll , I<> l1Lt1;1 1 l11111,cli -   t h,11, \\ h. 11 h ,lj ' j'L l l , Ill   the ·1 \\'111 :--11ul l•J lllllL' \ j



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Emily Parsons: No he tries to play both sides simultaneously, but he doesn't win. He claims, ''It's the
onfy wqy to survive. "

Pamela Chapman: You call this life? Surviving? He is pathetic.

Emily Parson : He claims, ''I can still save myse!f, but notyou. "

Pamela Crui.pman: I'm fried.
9:51AM




Then at 7:28 PM ...

Happy an Beuren: If you, I amala Harri prevent the book, Barefoot i11 Heels from being published
by a Big 5. I will see to it you are President of the United States of America.

XX: Why is this book so important?

Happy van Beuren: Because Kamala Harris sold her soul to Lahore Nation (who we learn later is
Alberto Villodo), and no one knew how to retrieve her soul except Happy van Beuren who acted as
her mother here in this realm.

XX: How did she do that?

Happy van Beuren understood the whims and needs off amala Harris better than anyone else. Her
own children don't think this is the answer at all. The answer is that I amala Harris made Happy van
Beuten the biggest Shit Show on the face of the planet, and no one ever wanted this question
Kamala Harris except for Pamela Chapman. So now you know she is never afraid of asking anyone
for anything. So, she would have made a great major gift officer except Caroline DuP at thinks
 lappy van Beuren is really Kamala Harris.

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What is the problem with getting it actually published?




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She doesn't have the proper sponsorship in place -No agent-No publisher. Esmond Harmsworth
IV, you missed out big time, as did Kimberly Witherspoon. No one wants to do a film deal without
a book in place - so who will break the seal of this deal now?

Trudy Coxe/Tim Gaffney: No one wants to accept responsibility for whatever happened. You just
pony up to the table and do the deal.

Jim Gaffney: No one wants to have this kind of energy directed at them. They would rather be
sued. No one wanted to read Barefoot in Heels in the l't place, but they can't put it down and they
all read it more than once.

Trudy Coxe: I'd publish it myself, except I'm not that adept at world-wide publication.


William Parsons: Han:y Gural but you can't accept that you are a big fat loser jerk to my mother. I
will never speak to you ever again in any realm, and I can, and I will, forever mean exactly what I am
telling you right now. Ok?

Han:y Gural: I never got to tell your mother last night what Trudy Coxe herself said about the same
thing about me in Newport at many times except I never believed her. I thought she was just playing
my game. I didn't realize Trudv Coxe and your mother played the same game but that game is
different than mine.

           Trudy Coxe, Philip Bilden, Pamela Chapman play a similar game of diplomacy and
           reciprocity. So, does .. d Heffernan. They don' t play thievery games. Harry Gural you
           misread, and you don't know the right game to play. jNote: lli!I.-~I and ·1 ,11a Plnthnt I I pLn
the I ,1111.ila (,am~ ofThicn·n and 1';1111.-la l b.,ipin .111 L·t al pl:11 rhc game ofrcciprncm 1;11hc1 than thiner,
1111\\ t'\ n. most peopk c:1111101 pL11 both\\,\\ s or both sidn /Jf 1lic l'LJUati"n 'i <HJ llllJSt pl.11 the sidl' of the
L'L]Uatinn th,ll 1ou cc1u.1L ,llld Ll,1110 ,u1,tl h:1, m1s1.1kc·11 iJenrif1cat1011 I k                1,
                                                                                       ,l rcoprocit1 lll,ltl o( cnlightcnmt·nt
c1lL'l"f.!;'. l'.1111d.1 1 h.1p111111 t<lld 111111 Im ltl the first .:'-I hour, r,f hi, ,1rri\ al I


Hru:rv Gural: I want Pamela Chapman to know if there is no contract in place for her book, she will
sue. So, watch out i.tnon & chuster and everyone else because this woman means absolute
business every day of the week.

 ndrew Par ons: We will negotiate a settlement offer because there is no way I am losing my
medical license or my reputation as a medical doctor.

William Par on : We will negotiate together somewhere safe because I can't stand to see my
mother exploited day-after-day.

  milv Parsons: We will all make sure you sleep at night because I need my sleep also and you
remember how I am when I don't sleep?


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Jim Gaffney: Why doesn't this family have a normal_conversation like the others?

Trudy Coxe: Because Andrew Par ons doesn't allow it. We will make sure it happens because it is
the only way Cathy Wicks will stand down. If she stands down, so will several others who need to
understand they got in the middle of the wrong fight on the wrong day, i.e. Tracey Jon on, Tara
Gragg, Steve abo, Lauren DeFede , Emily B, Greg T. Tima, Jose, Peter Bramante, Shauna
McGuire, Charles Kehres, but not Colin who cannot stand what is happening to you and everyone
else. This is I. land Moving Company primarily.

Colin wanted to work with d McPherson and Pamela Chapman knew he would have changed jobs
but he is stuck for the movement. Please someone recruit him for a new position elsewhere.

Bethanv DiNapoli is trying to be the one to replace Peter Bramante. No. The person is Kate
Spinella, and she always was. She came for two interviews when they hired d McPherson and is a
bona fide fundraisers and former Executive Director, and her daughters danced with Miki Ohlsen
for an eternity.

J\iliki Ohl en: I'd rather have Kate Spinella than Bethany DiNapoli, but it is a board decision.

Not really. We just like to say that.

Paul McGreevey will make this all work out.

Nora Diedrich: So if Pamela Chapman said I ate Spinella is at I land Moving Company then Peter
Bramante left. Now, it is usan Longhenr) 's chance to arrive at the Newport Art Museum. She
already had two interviews in 2008 for the position Li a Goddard' took. Then we could not afford
her, but we can now. She was a bona fide fundraiser, and a former Executive Director for art
museums in New Mexico and Indiana. She wanted her son to grow up in Newport. Diana Bunting
remembers, so does Dlana Slocuin who always wanted Rusty Powell III to become the Newport Art
Museum Executive Director.

 quid.neck Island Land Tru t: I think that worked. No, it did not. He is still as he was. We think Ed
McPher o would rather be in real estate development so there might be a new open position,
Pamela Chaptnan.

E milv Parsons: My father doesn't understand land conservation anyway. I do, but he does not. My
mother understands it and Environmental Protection. If you don't want any of those positions what
position do you want?

  quidneck Island Land Trust: Maybe President/CEO of Ardmore Press or Ardmore Tourist
Association or sotnething completely different. Maybe we will have to wait and see but this energy
realm will have to close because Pamela Chapman cannot even stand up now, or sleep. So, until
then, we just hang onto every day, and waste our livers away.

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Trudy Coxe: No more wasting our lives away.

Jim Gaffney: I might be dying. If I were, I'd marry Trudy Coxe all over again anyway.
Trudy Coxe: Not that game again? We keep playing the same games over and over and all the
other communities have gone silent except for us. What does that say about us? Because we
have the Upper celestial realm?

We have Pamela Chapman, Andrew Par on , an Beuren Charitable Foundation, and all the other
troublemakers of Kamala Harris Nation State of Israel~

Nation State of Israel? It means the Gaza Strip, West Bank, and Golan Heights, which means we
are infiltrated by infidels and until we wash the slate clean, we are stuck here.



'We are going to sue Pamela ChapJJ1a11 for slanderfor what she is !)ping."

"You cannot. "

All she is doing is typing is the dialog previously hand-written down, and typing notes of
clarification for her own edification for legal and literary purposes .

.\ l:1llJ'a LmJ~c:~ is m aking notes of J>:rnwla .ha 11m1n '. nott:s of 2:5 7P l\ 1 Scptembn 2:2, 2021. Shl'
claims to be helping ro put the notated Yersion up on ~;illiµk· I lom<: l o<.:u inc n i-, su ch that PamJJ
Cha 1111111 cannot cop, right them or sdl rhcm.

See Peter Cataldo if necessary, Judge of US Government, Rights and Patents, Trademarks.
Intellectual Property .

. laura J .1n<l'i£1 . 62, (Her husband is Tom Cahill, MD, 76,) wants to screw Pamela Chapman badly
because she wants Pamela Chapman to sue her in legal court, especially since she walked around
her house and behind her eyes and conducted remote surveillance and breaking and
entering in her house for far too long, maybe 5 months every day, every which way. She said, '1
am so sick ef looking at the interiors ef her house. "

It's a copycat and jealousy issue. She said, "lf Pa111ela Chapman makes ma'!Y millions ef dollars for her book
deal or contract legal issues with S i111011 and S ch11.rte1~ then I am migh!J angry that I lost out on my own
       .
recognizance. "

\ l,!!.!I!.L!J11dso is jealous like everyone else, claiming Pamela hapman she does not deserve the
book deal or legal documents. Since the Metatron guides don't like Pamela Chapman, then neither
do the rest of us. We will screw with her just like all the guides do also. She wants to sell whatever
she is doing to te, e Punzak, NID's daughter.
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That would be really stupid. She would be the errand girl of the errand girl, and at 1 amala's Table
that would make her the Grand Girl (GG) Fool. That makes Maura Lind ey the whore of Gigi
Lahore. She is Pamela Chapman's whore or errand girl. 3:13 PM She is just bored with the entire
conversation Public Commons today and wanted Pamela Chapman to come out and play. Maura
Lindsey really wanted Han:y Gural to chase her around the Public Commons.




                                                        July 24 2021
                                                             8:01AM

They remote surveillance Pamela Chapman from both in front of her face and body, and &om
behind her eyes. They mimic her physical bodily movements, even ndrew Parsons.
JNote: \ml, he , rill \\·a, :1ggrc,,in:h mimick111µ, :rnd ,, :11chi11g hc1 through :11 k·a,1 ~cplcmbn . . \nd then ag:1i11
1hroughout the winter am! ,pring.211221

Why, is that abuse?

It's psychological and emotional abuse, harassment assault.




                                                      July 27 2021


Last night Jessica Hagen wanted her day in court, and wanted and insisted she go toe-to-toe with
Pamela Chapman.

Part of the inquiry, which Pamela Chapman refused to play, was to confess that she herself
slandered Pamela hapman with Ruth Taylor -ED of the ewport Hi torical Society, Nora
Diedrich - ED of the Newport rt Museum, Dominque lfandre- for ED of I land Moving
Company. and President of ewport String . And everyone else they could think of, including
stories with Eliza beth Ka.bane and Bill I ahane, which seemed unusual, but they listened anyway-
but Jessica Hagen said, "Pamela Chapman was a Shit Show of a disaster and no one
anywhere should ever hire Pamela Chapman. "

Then, Ruth Taylor -ED of the ewport Historical ociety. herself came for what seemed like at
least two hour and sounded drunk, which Pamela Chapman actually had to ask because her dialog
was just that kind of quality.
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Ruth Taylor admitted first that Pamela Chapman was just the worst kind of person ever and
she would never endorse a person like her to work in any nonprofit. It was presumed that
she had too much money and opportunity, and if she didn't start at the bottom like Ruth
Taylor did, she wasn't worthy of any position in philanthropy even though the President of her
Board of Trustees was Tom Goddard, Li a Goddard's husband, and Lisa Goddard was hired by
Pamela Chapman and her Search Committee which she chaired in 2008-2009. Her younger
daughter, Sarah Taylor went to work in development at the Rocky Hill School in East Greenwich,
RI following her graduation from Connecticut College. She is a graduate of that private high school.
Her older daughter Maya, whom Pamela interviewed for Wesleyan, and she was admitted, went to
work at as a French tutor and a something at the Brooklyn Museum of Art following her graduation
from Brown University. She mentioned that her daughter was making more per hour as a French
tutor in NYC that one could ever imagine She was either a French or art history in college and spent
one or two semesters in Paris.

Lisa Goddard has no prior experience other than being an alum of Miss Porter's School, and she is a
print making artist with a studio she co-owns with John Partridge's wife. He's an attorney in
Providence. She is a member of the Providence · rt Club.

Ruth Tavlot admitted she was not inclined to look favorably at Pamela Chapman when she first met
Pamela Chapman at Daniel Syndacker' retirement ceremonies because she complemented them
regarding Maya the daughter because she interviewed her for Wesleyan niver ity which she was
admitted to, but declined to attend Brown University.


Ruth Tay! r went on and on about how she doesn't like any nonprofit director in town except for
Cheryl Helms who came off a committee at the Redwood Library to be its Executive Director. She
was a lawyer who was a bored housewife at the time. Several trustees worked for several years to get
her fired. She eventually left.

Then. it all came out about Ruth Taylor's experience at IYRS which everyone knew a little about
especially Pamela Chapman, but she never knew the exact details. All Pamela Chapman knew was
that Denise Roberts was to blame for some revelation or accusation that went on in the courtroom,
that Ruth Taylor was hauled to as Executive Director, which she either resigned from nor was fired
from by lizabeth Mevers, founder herself with Johnny Mac's father. INotck-·1c1 I l.1°.i1 ,1llll h.ili.w.),
\Li e ha1·l bc,·11 "Cn c·11cl , " <J1Kc hL·i'oll hu 11 l'lldrn ,_' It) .J._111! I Li.t,,.u!. ,incl ,incl k -.1c,1 1.L.!.>'.l'D .rncl 1'111'1 l.£ I!.!! h ;11 l
h,c·n t"rtl'lll1' -l-11c·nclh , 11ic, hL·J ltm c· ·,1\ ___!ffil•.!)l I 11i :...J..!:!.." c'Z:. l\'F.~- lh,111, ,1 i"ll,c'.· ll'fm frwml , hi]' 1h111u;.ch mu ch
1i11cl, :ind 1l111111·hich JL,,,ic,!_J_l,1c>c·n lllYL-r ,1dmi1ll'd \t> sllci.1111 , 1 L"I hc-C"1c I


Ruth Taylor went on-and-on about somehow $200,000 - $300,000 was missing from the budget.
Donations were made, but never booked and Ruth Ta) lor admitted to purchasing expensive gifts for
donors including a boat. They always make models at IYRS but this implied she purchased big ticket
items for either herself or her donors.


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Elizabe b Meyers paid off the missing money and everything is under sealed contract except her
name, Ruth Taylor, was exercised in the local media and philanthropic community. She
went on to be interim director at RIHS and the Women's Resource Center, and then wrote grants as
a consultant at the RI Foundation.

They lived in an NRF house near the library and only within the last few years bought a house,
 antique 18th century house in/ near Cranston, RI. She admitted to being a commuter student in
 college in NYC- a Jewish woman near George Washington Bridge (The Golan Heights of NYC).
She admitted to being bi-sexual (she is not), and that her husband was a drunk when she was
pregnant with her daughter Maya. She claimed her father was a house painter. Her sister got
divorced but had no money-no. She claimed she refused to get divorced because that would be
both sacrilegious, and no woman should ever leave under any circumstances. She believes this -true.
She has a real bias toward women who leave their husbands-true. Yet, she is close friends with
Jessica. Hagen who left 3 husbands and divorce 3 times.

Jes ica Hagen has hired daughter, Sarah, as a nanny for 2 summers and Maya as a gallery sitter on
appointment only days -or when she was in a tight bind. She also gave Ruth Taylor and daughters
huge caches of old shoes, and other such throw away donations.

Ruth Taylor went on to admit she was in a really bad place after IRYS, and when she was an interim
at ewport Historical ocietv. She left when cott Leber was hired. He stayed for 1.5 years. Then
the president of the board hired her outright to replace Scott Leher who resigned trice, but never
twice.

Ruth Taylor told Pamela Chapman at one time she wasn't leaving for at least ten years. She claimed,
"I needed the position. I had something to prove to Newport, RI, and I will never be run out ef this nonprefit
community ever again."

Her current board of trustee president, Paul McG reevev (IMC Trea urer, and Kamala' Table) said
someone floated Pamela Chapman's name with Ruth Taylor. It was met with distain in the same way
that Pamela Chapman floated DonaldJagoe's name with 1iki hJ ·en, and found the same.

Li. a oddard and Pamela Chapman didn't speak of Donald Jagoe' name, because it, too, was met
with distain one day in a long meeting. So in the end, Jessica Hagen and Ruth Taylor had
nothing to say at all about Pamela Chapman, and that any woman who did not work their
way up from the bottom of the nonprofit world in Newport did not deserve any position
anywhere except for them. Pamela can name countless people-and many others-who just
waltzed off of boards and committees into executive seats, all strays and outsiders who all went on
to become Executive Directors, and all other things in between.

So, Jes ica Hagen then decided after Pamefa Chapman fell asleep -because _,lizabeth 1 ahane and
Bill Kahane were inquiring a lot about Jessica Hagen, and Bill Kahane said, "No one will support her.
She is ourfriend. "She and Bill bantered on a bit until early morning. Way too much information was
exchanged about what a lying piece of shit Jessica Hagen is and essentially was ...
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Jes ica Hagen's first husband got into the picture. He seems to be the only one who really knows her
well.

Pamela Chapman fell asleep. When she woke up about 7:30 (6-7:30PM) or so. Jessica Hagen was
waiting to go toe-to-toe with Pamela, and Pamela kept insisting she wasn't interested.

Kamala Harris herself said, 'Well, she can go toe-to-toe with you, but Jessica T-J agen didn't have •~t': and that
Pamela Cha,.Ptnan was not going to waste her time with someone like Jessii:a Hagen."

!Note: ::She ~,oocl in for ,kss1 ·,1 11;1 ~'-''~ and rook up all hc:r public air time.I


Then, Rod O' Hanley agrees to speak for _ _ _. So, did a bevy of others. Je sica Hagen wasn't
interested, but she kept playing a stupid game of so many lies:
             • 1st Husband: Married at St. Mary's of the Sea, a catholic cathedral of RI.
                            • A reception of some kind at Grey Craig and a restaurant. So many
                                questions about the reception, except it was said Happy van Beuren
                                paid for it all.
             • 2nd Husband: Ocean Cliff marriage and reception, paid for by husband #2.
             • 3rd Husband: Narragansett Towers-which she and the husband paid for.

It was asked how much did various people spend to give a "gift" to Jessica Hagen? But that was
considered irrelevant.

Jessica Hagen is such a liar. Bill Kahane and Elizabeth Kahane now see she is after the forth
husband and money. It is all about gaining social position and money.

3:17PM



Then, Pamela Chapman took a short nap and after she awoke and did some chores around the
house, it was revealed how Pamela Chapman -because they were all playing some thievery game
with her, that she wasn't playing that ...

  nne F . Hamilton (Hamilton Familv Trust-Campbell Soup Co) asked in March for a pdf copy of
the book and got one from Roger Ka s. She read the whole book in front of Pamela Chapman -
this she is certain of based on the quality of the comments. It was nothing but harassment, fraud,
slander, and others of Pamela Chapman because she couldn't stop the fraud and harassment, she
had to stay in l amala's Table and listen to the whole conversation, because you couldn't be realized
from Kamala's Table until I amala Harris agreed it was time to be released. Only four people had
permission to ever leave: Pamela Chapman, Happy van Beuren, ancy Pelosi, fichael Fernandez.
  nn F. Hamilton is Jessica Hagen' idol. She knows this from 10 years ago. Pamela Chapman
actually told nn F. Hamilton this, and nn F. Hamilton seemed stumped.

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Then, Pamela Chapman remembered when Ann . Hamilton and the mother-in-law Dodo
Hamilton (Happy's sister) insisted on an upgrade of the Newport lli torical ociety's Antique how.
Then, Pat Fernandez and Pamela Chapma.o were sitting next to each other at the board room table
with Ano F. Hamilton, who brought in the Boys & irls Club to split the proceeds of the event as
newly envisioned and underwritten by on F. Hamilton. Then Ann F. Hamilton brought in her best
friend to run the show and has since for years. It was Miss Sailor Valentine herself, Diana Bittle.

So somehow, Ann ~. Hamilton has done the IYRS Gala with Kate Guhleman (Matt's - her
husband's previous mistress -well after all the mothers got together to discuss how on earth those
kids of theirs were going to conduct themselves in Newport society, married and all, yet having this
"affair".)

Somehow, nn F. Hamilton- Ruth Taylor-Jessica Hagen are one big united Shit Show. And, all
are harassing and slandering Pa1nela Chapman all over town. So, it is not just the van Beur n
  haritable Trust, it is also the Hamilton Fanulv Foundation because nn F. Hamilton and Dorie
Benson have also been reading and spreading the book all over Newport, RI. The Ben n family of
Newport is an old family of stone cutters and important artists. So, it is all entwined, entangled and
embedded together.

3:25PM

"} {/Ill .,o hi~ {!!Id( i111pot11111/       !h,1/} ,l/11 ohli1i11 11)ml/{/;t/('!/I (Of)' of H,m_l,ml Ill l lrrl.,j//.ll lik1' )OIi/' i'.\-h11.1h,111d. ,111d
                                       tr ro11 il/c' (}/Ir/ /(}k.1' ii ht,l!IIS1' l ,i111 i111d J't111 n il/. ·• It is a work that is ''not my cup ef
r1111 ,Ill' .~oi1{~ lo .,1/ 1JJ/l/'rt1 1                                                          1



tea': Ann . Hamilton said, but ''lh,·11· /II('/'(' ,\OIi/i' i/('Jl('f' ,111d/illt/l)' !ill!'S. Jj/t.ll f>r/,1,\ ii 11/011~ lo i//!Olh1·1: ··so,
nmY ") 011 ,i111 '; J11i11I !ht hook''


How can support women and children of the Boys & Girls Club of ewport when you behave like
this? She is always the chair of the Newport (Antique) Show. She is also a long-standing co-chair of
hospital galas, and the PSNC galas, and IYRS galas.

It is all some big conspiracy, and you stand behind the felonies of . ndrew Parsons, M.D.

3:31PM



3:47PM

  n.n F. Hamilton: Anyone we gave this book to has to stop, or we will f' kill you, you see. We
are getting our own attorney. We will never say another thing to you ever.

All the felonies attached to the men are now attached to her ...



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P.S. Archie van Beuren r. paid off the $100,000 mis-expenditure from McBean's windows grant to
the NHS. It got misspent by Dan yndacker, the former ED of the NHS, and had to be re-paid
back to McBean because the windows were not actually repaired. That was a 11 th hour major gift. It
would have had to be paid back to McBean because the money did not go where they claimed it
would go. The clock was running down. The board member who influenced Archie to give the
donation died shortly thereafter. The major gifts in town come from either McBean, van Beuren, or
Prince. There are others, but these are the three that the non-profit world depends on year-after-
year.

According to Unknown Sources: "This is the biggest court case of slander, harassment,
abuse, and manslaughter in modern Newport, RI history."

Gail Alofsin (:Newport Hospital Foundation Board): I don't ever want to seek your fucking face
again.

Lisette Prince: I am so grateful my whole family isn't involved in any of this.

So is McBean Charitable Trust.

Dan Syndacker: Ruth Taylor was processing donor dollars in whatever way she wanted. She didn't
write them down so she could do with the money anyway she wanted, including giving gifts to
herself and her children. Ruth Taylor created a small trust fund of her own, and deposited money in
an account to pay for tuition at a private high school.

Ruth Taylor: I never deposited the money in my own account. I paid Rocky Hill School directly
from donor accounts.

'No, the office would have known this, except the woman in the office, Ltnroi11e, isn't a liar, and the monry went
mis.ring.

'No, it didn't. "

Improper accounting at NHS and NAM meant no one knew where the money was, or where it
went. This is why van Beuren Charitable Trust created Finance as Destif!).

'No, it did not. "Too many organizations where paying yesterday's bill on tomorrow's dollar.

''I never meant to extort monry. I just wanted to pqy my daughter's bills."

But, they were at Thompson Middle School (public).

Today's cocktail ice tea is scotch and soda with a twist of lime. It is anything you want it to be.


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Ruth Taylor: My kids are going to kill me because I never stole a dollar and just misappropriated it
under different categories, and I forgot to write down appropriate donations. [Note: 1\"o unc cYcr
                 11._ as ;i D cn·loptncnr Director). No one could or should. She does it all herself as penance
,n,rk s at rhc ___
for what she did at IYRS as Executive Director because no one knows where the money really went.

  oily Williams: I have never heard this story.

You came here to Newport, so don't be alarmed this is classic Newport - Ruth Taylor stuff, and you
don't have any idea what this town is all about, Molly William . If you don't get any of this, don't
worry. We will repeat it several times day and night until everyone gets something of it.

Ruth Taylor: I didn't steal the money for my family. I just put it away. Then, I didn't find it again.

Maya Taylor: Where did it go then? I work in Boston and Brooklyn. I can't imagine not knowing
where the money went. The same happened to l ar1 Willers.

No, Donald Jagoe, Pamela Chapman, Dern e R berts and George Furbish know what happened
there. No way Jose. It is the same Shit Show Story.

l ad Willers: Thank you very much Pamela Cllil.pman because we didn't exactly hit it off but you
now understand me better than myself. Donald Jagoe explained it all to me on sorcery television last
night.

Don Jagoe: If we only understood then, what we understood now, we could have helped Karl
Willers better.

He agrees.

That's a smart understanding.

Ruth Taylor: Wants to exonerate herself and say I never stole the money it just went missing.
$200,000 - $300,000.

Molly Williams: Where could it have gone. I work in school counseling at IYRS. I can't imagine
where you put it.

Ruth Taylor: Well, your position is new under Jay Cooghan.

 folly Williams: We all agree. It has New York City money, a good board, and are surpassing
revenue each year for the scale of first class and choice every year for many years.

Ruth Taylor: The money went to overhead. No. It went for gifts to donors and the self.


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What kind of gifts? Small boats? Small perfume. No. Small tchotchkes? Expenses of overhead? No,
it did not. It went for salary to the Executive Director and one other.

Elizabeth Meyers, founder with Johnny Mac's father. It went to an executive assistant, named
Lorraine who went with her to NHS.

No, it went to an accountant of low class. Yes, it did. She paid off an accountant. It was fraudulent
accounting.

She knew this. Fraudulent accounting.

'Oh,yes it was."

Who received the money?

'The father ofJohm!J Mac."

''Yes it did. "

Why?

''Because he founded IYRS and Elizybeth M~yers was too bury with the board to notice everything they needed. "

No.

"It has to be blackmail?"

'No, he took the money, reimbursement ef self-expense. It became ajoke, and futth T q;dor didn't do a,rything about
it at the time. "

He's dead now, but E lizabeth feyer' isn't, and she knew it, but they took Ruth Taylor to court and
blamed the whole Shit Show on her.

 PaJJJela Chap111a11, do ro11 f'('(/l!r Jl't!/7! lo hr• <'.YJio.,1·d likr· !li/1/ f?y van Beuren Charitable T1'llst,   e1port Hospital
Foundation, Campbell Soup and the Redwood?"
                     J.         .l




'Wry not?"
'They will destro_yy ou."

No, my [Aunts] already did that, so I get it here, and that whole Shit Show of Akashic Record reahn
did have that too, and there was no money or sex in it. So, what do you make of that?

'They will destroy you further. "
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They can't. I'm an enlightened clear channel human being.

4:27PM

Lynda Adams: Why would being enlightened matter to you Pamela Chapman?

Donald Jagoe: They don't affect her being anymore. She has ascended so they can't bring her down
emotionally or hormonally. They can just isolate her, but she has been so isolated for 10 years.

Elizabeth Meyers: This isn't actually in the court records. What is?

'Just that she admitted to misappropriation efmoney and it went mis.ri11g. "

Paul k reeve~, President of the Board of Trustees, ewport Historical Society: Let's discuss this
sometime in the open because the board will never trust your accounting and your fundraising in the
future.

''But, I raised over $7 million for an addition and endowment."

PauJ kGreevey: It didn't matter because you will retire soon, ok?

Ruth Taylor: Ok, 1or 2 years.

''No, one year because no one will trustyou, .A.1111 H.amilto11 orfes.rica Hagen, after the book deal is done and all the
media gets hold or wind ef the whole story. "

But, if Ruth Taylor had told the courts and the board what happened to the money, she would have
been fired.

Harry Gural: Pamela hapman, we are cut from the same cloth and we experienced something
similar, but different. l don't hnn: :i b(Jok. just a pusition in the hallways of Congress, and J got to()
clusc, anJ the, tried t(J teach me ;1 lesson.

Yours was a book based on some of your experiences, but it touched a nerve with Newport
Hospital Foundation Board, Lifespan Health are y terns, and van Beuren Charitable Trnst
fraudulently, and they want to censor, silence, or condemn you for that. Domestic violence isn't the
point. It is med ica l-legal 111surancc fraud and all of the rest.

Membership in the private Akashic Record Room of the Redwood Library which included Book
Committee members. They all read and re-read, and discussed and then tried to edit Bar'!foot in J-Jce/s,
night and day. (See the membership list in the beginning of the document.)

There were others including the following.
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 orcery television screen #3: Tresor                       ntiques with Maura Lindsev and Leslie Theobald.

, orcery Television screen #5: Tara Plochocki, her mother, her father, her sister, Natalie Plochocki
who is a uniform policeman in Washington, D.C., Gren ille and Sandra Craig, Carol Currie, Nora
Diedtich, the entire Tom Hockaday's house which looks to be about SO people today including
Kayla Abbate, Kylie McCullough, Kristin MacManu , and 30 other people + Andrew Par on and
Cathy Wicks, + 50 other people, Anesthesia ssociates of MA, doctor and nurses at ewporr
Hospital including the neighbor, Gail Alofsin's sister-in-law and her brother, Portsmouth bbey
School via Patti Gibb n via nesthesia Associates of MA, the Abbate familv (5), the Wicks family.

I<amala's Table and so many touches.

Between 2:00,\I\I --1: 15.-\ M they recited, ·'/ J11i!/ 11c1•cr t'Of J'. rh1plim!r, or m,rl 1111)' ,1111111//!01-i\HI 111ork ?I c11n
atllhor al c✓IIJ' Ii/lit' 110/11 or i11 !he_Ji1!111r. ,.


Including:
Rusty Powell III
Bobby McDermott

Island Moving Company
Peter
Tara
Tracey Jonsson
Dancers
Shauna McGuire
Charles Keres
Jana Hicks Jagoe

The entire Craig familv including his brother and sisters of both Sandra and Grenville.

The entire central casting of Mark Halpern of the LA Basin. Carrie C:rossl_lll (,ilpm read her sectiom
<>ur oi order. She didn 'r alwa, s reaJ prnpcrh-.


Entire casting of the Public Common space every night for 4-5 months from March 8, through
now (July 24, 2022).

It is all abuse, harassment and slander. None of these people had any sense of responsibility or
moral character to tell Pamela Chapman or themselves, they were doing criminal illegal things.

It was the van Beuren and Hamilton Families, Kamala Hanis, and her goons including Lahore
(Alberto Villodo) and his little twits.


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Trudy Coxe: Not this time. Pamd:1 :h: 1m:11\ will hm'e to beat the whole board. :\JI J-Iarr): (lup)
has to do is play an incfo·iclual game of whatcYcr game he thinks he plays.

Pamela Chapman: I woke up and heard my daughter, Emily, say, 'No one can work with these people a'!Y
more in this space, not now not ever. "They all are playing the stupid Jessica Hagen game now. She is
impossible to dialog with here. No one is telling the truth.

They played a fra ud game of I _\ l\ I J>n1m.: la ]mp man in the middle of the night while she slept. I call
you, and ask for money, at least $10,000 to cover my printing costs of $300,000 -$400,000 to cover
the debt of Bar~hot in Heels.

Trudy Coxe: They don't have a thing on you because no one knows how to really fundraise in this
town, and you do.

Jana Hicks Jagoe: I started to play and realized if I made that call I would be just as bad as the
others, just like D onald Jagoe always has been telling me. I didn't play today or any day moving
forward. I really learned my lesson.

Donald Jagoe: No, because I started to make a call to Jana Hick Jagoe herself. When she realized it
was me, she started to ball her head off because I knew she'd say yes, because she didn't know how
to say no to an ask for money in Newport philanthropy circles.

D orienne F arzan: The only way to stop the game is with van Beureo, McBean, Prince - Lisette
Prince. The only way forward to cover the debt in Newport when debt can't be paid in the
nonprofits and schools, is for them to go to the Big 3 of family trusts. They write the check. So, the
game 1s over.

  ly sa Gad.reau, Redw d Librarv: As one of the biggest fraudulent people-because whenever
someone makes the call, they identify themselves as Pamefa bapman, author, owner, publisher of
Bt11ffool i11 H eels. However, she was asleep and everyone new that. We were all imitating her.

There were so many witnesses to this game.

        Car lyn DuPont:
        William Parson : Don't give up your Proprietor's share at the Redwood Librarv. It makes
        them crazy that you have share #245.

If\ nu :1rc both an author :rnd a shareholder, \ ou h(Jld all the pmn:r on the hoard of trustees,
becau:,,c that\ is wh:1LJ!::!T: ::-;Jocum\ father ah\a:,s s:1id. J k \\as a lirer;tn· "rc:1dcr" in ~Y( ..

What about the woman who recently was nominated to the board? She wrote a nonfiction book or
two, and worked for Vogue magazine as an art critic?


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Her father owned the rug store where Talbot's used to be. She went to Salve Regina University, not
a place like Harvard University, and her husband-his 3rd wife- helped or taught her how to write
and publish. She is a known author (but not of fiction).

Trudy Coxe: Why do fiction writers hold all the power?

Because they know how to write fiction like no one else can. Anyone can write anything, especially
nonfiction, but fictional narration of storytelling has an element that s beyond mere craft. The idea
that anyone can write fiction is seductive, but few can actually achieve it a literary level. Literary
fiction portrays an inner journey set against an outward journey. The ability is a besting game hat few
if any authors actually play. But the book thieves best the authors back with grand larceny and grand
theft. They said, 'We bestyou every dqy in a game offraud. "

 ''No one will ever publish Barefoot i11 T- eels becauseyou embarrass all the rest ry your excellent storytelling of a story
thatyou now own in every dimension in every possible wqy of a person owning their own story."

!Note~ lt i, 1calm1,1 ofliClional ,1urlHn,h1p ,rnd 1J<JllJlroCi1 fumlr,1i,inµ. ~ togethn the duo 11l-,1b,,,lutc ]'l>\\l'l. ,111d ,;o
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All of Island foving Company wanted to play the I AM Pamela Chqpma11 Ff.llzdroi.ring Game as Pamela
Chapman to cause everyone to know you can't sue anyone for fraud because you were doing
it yourself in this space, after all. But, it was all them, imitating her. How much did they as you
actually raise? All money goes through PayPal.

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' \ 0\\, if the,· thought P.um:l.1 \HTC an up and coming Cl :RI-: in fundrnising, 1rnn-be they thought she would ha\-c

clone rhc bulk of her \\"Ol'k here, ;iml if she did rht"Y, could catch her on a tcchnicalit_1 (\\'hat possible kind of
tcclrnicalh·;,) Or, if she pl;lllned to sue a lot of people for tl11.:ir actions here_ then she couldn't ,,·ork 111 philanthropy
bemuse she\ be ,1 fornd. ~he ,nrnlcl be ming those ,,·lw ,, ere now donating the monies for her book's publication,
espcci.ilh· .LL:mp, , :111 l'ktll'Ctl . \ll the monies rni,cd ,,-en t for the printing and rlistributi(lt1 of her book. I



2:02 9-11-2011. Timoth}' Hollister, esq. said, 'When the conversation came out about BcthC11lY Di apoli and
Peter Brama11tc fundrr.ri.sing together in this space, then he realized she was being f?ypocritical about her own activities
and conversations in the Akashic Record realm. She ful!J expected that a'!Y person who she and Peter had solicited
would acknowledge that thry had a previous conversation and were confirming a commitment pledge of a certain
amount of monry to the IMC capital campaign. Now later on, in the Akashic Reco,d realm, BethcllLY D · a,Ploi and
Peter Bra111ante slandered, harassed, abused, and directed sorcery technologies at Pt11J1ela Chapman such that BcthatLY
has been quoted elsewhere here sqying, she would never ever validate Pamela Chapma11 or tell the truth here, or hold
real time real world conversations in front ofPamela Chapman here such that as lies it is alljanta[J and therefore
unaccountable. She would never have to be accountable to her own conversations or to a'!Y dialog or action that was
criminal because it was all ajanta[Y, For Pamela Cht1,bmrm, Betha,!)' would s11ggest in a court if law, Pamela was
making this all up akin to a dreamscape or a creative nam1ti11e offiction. The Thieuery Ri11g and Bethany Di Ta,po/i
wanted Pamela to think she herse!f was crazy. "

  "All these Thievcty Ring Workgroup people and others, are now worried about being held criminal!J accountable in a
federal circuit court. Thry fear a large financial settlement and a prison sentence. Yet, not one if them is 1vi//ing to step
forward andfinancial!J settle upfront to keep their names off if a'!Y court documents and the press that would indicate
 thry have been found guilry of multiple crimes. "

 '7)ame!a Cha,PV1a11 has been extraordinari!J generous to make some ef.fers to people if thry financial!J pre-settle to kept
themselves out ofprison, their names off the court documents, and out of the press." The offers began in May 2021
and no one stepped forward. She reminded them a few days ago and so did Timothv Hollister that if
they do not step forward right away-ASAP, the offer would no longer be valid. Once the case is filed
in federal court, we will no longer pre-settle. These people include: ndrew Parsons MD, 59, Tom
Hockaday, 65 and Bill Martin, 64 Tracey Moore, 64,Jea.n Gorham, 87, andra Craig. 71 and
Gren ille Craig. 80 Roger Kass and Anchea v an Beuren, Donald and (ana Iick. Jagoe,75, .. lizabeth
F ahane, 61, Bill Kahaoe, 75, and Han:y F ahane. 20. Five of these involve real estate, but not all of
them. Most indicated they do not wish to step forward because they believe this will make them
look like a stodge, and it will then validate that we were all real here in real time-and we did some
terrible things. They are willing to go to federal prison instead of admitting they were real in real
time, something we all agreed to multiple times beginning last May 19, 2021. Kamala Harris had her
own instructions to Kamala's Table that said, 'We never everpresume to acknowledge that we would ever have
to be accountable for our actions and dialog, so we won't be." And, she also said repeatedly, 'lfyou get caught, I
disavow knowingyou and the mission we set forth to accomplish. "

"Tunothv Hollister esq. is not going to make any more offers to people to pre-settle and neither will
Pamela hapman. If you all prefer to go to federal prison instead, we will gladly prepare the proper
documentation. If you were ready to acknowledge a donor's offer in this space for IM C's capital

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campaign as real in real time, then how do you then tell Pamela Chapman this dialog and experience
was all fantasy that she made up in her own head? Paradoxically, they also then said, that her work
of fiction was all true and they would prove to her and the world that a creatively conceived dialog
and setting of fiction is truth. That all that work of fiction was real in real time at one time. They
were bound and determined to prove to the world her work of fiction was really a nonfiction
memoir. They demanded it be real in real time here, there, and everywhere. This kind of duplicity,
lying and manipulation of truth and experience will land you in a court of law as an unreliable
witness for your own defense. This is exactly the kind of situation we were all witnessing for so long
here in this space that we could not get a handle on. We did not understand what the truth of the
situation really was, and how to gain an understanding to proceed moving forward. Timothy
Hollister esq. no longer has anything more to say on any of these matters because it is clear to him
and to PameL-t Chaptnan that these people will manipulate anything on any topic to force her into a
compliance of slander, harassment, abuse, and manslaughter. 2:17PM"

Pamela Chapman: Alberto Villodo is being sent to the other side of the kashic Record realm to
remove him from this space as he has been the sole perpetrator of everything awful that has
happened to Pamela hapman. The entire Thievery Ring- or those deemed necessary by Jean
Dixon- will go their also. They will longer be able to speak into the realm.

Today as she is typing-to just before-Alberto Villodo insisted that she admit to the fact that she
and he were masturbating together last March 2021 when they had a key turn for kundalini. There is
no person alive today who has as much wisdom regarding this topic as she and Harry Gural.
Meaghan Merkle and Harrv Wind or do also, but they are the only ones Pamela and Harry can find.
It is apparent to Pamela Chapman that the entire Q'ero Nation Wisdom Keeper status initiation rite
is consistent with Kundalini Yoga masturbation circles such as abby Bernstein has at a monthly
subscription price, or any shamanic masturbation practice rites that farcella Lobo and Alberto
Villodo sponsor as part of advanced student training.

If Pamela Chapman were to make a list of all the groups of yoga ( arah Davidson Wes '92 knows of
one) and shaman tribes who advocate that once their students advance in their training, it would be
a comprehensive list of cultural indoctrination practices into advanced energy modalities and
presumed spiritual path initiations that involves masturbation, especially for women and potentially
kundalini energy for men. The culture of all of these groups appears to indoctrinate women into a
belief system that says if you masturbate enough, you will raise your kundalini energy and you will
attain a spiritual enlightenment in the third eye. This is absolutely incorrect.

"As a Twin Soul in a last life time, she understands the misinformation that borders on or is sexual
abuse and harassment. They are activities sponsored by either men who seek power over women,
such as uru ingh in Kundalini Yoga, or women in the Akashic Record realm who seek power
over together women as either sorceresses or Caliphate Nation leaders such as Kamala Harris. One
can either best another and self-select into the practice or they can be pulled in almost as an
abduction into Level I of The Game such as Harry Gural. Pamela Chapman could type several pages
on this topic alone, and she will not here at this moment. The important point is what started as a
power tool over others understood at a high level of the elite few now becomes wide spread activity
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by second and third generation captains that do not understand the truth of the situation and as
such the activity of abuse is destined to continue as part of a presumed intelligence that is ignorant
of the real facts of the matter. It is a perpetuated culture demeaning and abusive to women and men
alike but mostly women."

"Blog posts and online information regarding kundalini is often missing, but they all say, it is as a
snake coiled at the base of the spine that once awoken rises up to the third eye to awaken an inititate
into a spiritual state of enlightenment. Rein tte Fournier and Tom Spear's Tenth Gate Yoga studio
taught kundalini yoga and raja yoga. It was presumed that if one kept one's arms up for 22 and 33
minutes and one chanted in Sanskrit, eventually their kundalini would rise. If they failed to achieve
this, then they were not breathing properly-or vigorously enough-or not chanting in proper
rhythm, or they didn't keep their arms up enough."

"One must consider that at a place like Tom Hockaday's house with 300- 500 people passing
through, where some masturbated in the hope of rising their kundalini at some point, recognizing
the more a woman masturbated, the less likely her hydro-electric currents could facilitate kundalini
practice then and into the future. More is more here. We do not overlook it also was an initiation
into a group that would curate out a bespoke group of people who would become new Thievery
Ring for Ways and Means. They were at level I and Level II of The Game. It was a new experience
here in Newport, RI amongst the middle-class and working people of the city. It took in people of
every age group and most demographics. With P ter I ehoe present in the house, it was merely a
culture of sexual abuse and harassment. It also cultivated slander and manslaughter due to Andrew
J)a.r on MD reading aloud Pamela's stolen book and Kristine Mad\fanus reading aloud banking
software that was real in real time." 2:29PM

  lberto Villodo stands down completely because he now recognizes he has been completely out-
shined by Pamela Chap nan in this space. He tried to pull the wool over their eyes too many times,
including taking away her 3rd eye sight, her reading, writing and thinking, He is solely to blame. He is
also to blame for much of the abuse levied by the Thievery Ring Workgroup. He only says "But, I
had to because I must demonstrate my superior power in this realm over all people. "He never liked Guru Singh
or abby Bern tein, but they did nothing in comparison to what Alberto illodo has done. It was
so many lies, deceptions and criminal actions that he has no other option but to settle for multiple
millions of dollars. He probably has less than 6.5 years left to his life, and if he really does have
assets of $300 million, he is no longer in need of them because his wife, Marcella Lobo is as guilty as
he is in this space, and he has no biological children. farcella Lobo's daughter is taken care of by
her father, a drug dealer. Alberto illodo always said he'd leave everything to Pamela Chapman and
her children moving forward. 2:33PM

Tim Holli t r esq. said, "None of those words that Pamela Cbapma11j11st wrote (The preceding 7 paragraphs)
1'egardi11 A lberto Villodo were his because if he is Pamela Chapman's attornry in federal court, he is now a material
witness to all of this dialog." Harry Gural is also here and is a key material witness. He believes
everything Pamela hapman has just typed. No one, and we mean no one, understands kundalini
energy in a monogamous relationship that is based on many lifetimes as husband and wife, and he
and Pamela Chapman and ieagan Markle and Harry Windsor. He and Pamela Chapman have been
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married 7 times before and have shared kundalini energy in past lifetimes. Kundalini in relationship
intimacy is different than all the others in this Thi.every Ring and Newport, RI space. Everyone has
been heckling them all night and this morning about what they think they do together, but they do
not understand. Their experiences as a 1.ruevery Ring with kundalini is not theirs as a couple here.
They -Pamela and Harry demonstrated absolute indifference to these other people, and yet these
other people are hounding them right and left to say they know exactly that they are doing and that
all they do is masturbate. It is just not true. Furthermore, this dialog that today over 1,700 pages
demonstrates many of these Thievery Ring people harassed Pamela Chapman about masturbating
with them and attempted to blackmail and force her into masturbation practice. She never did.

Pamela Chapman has all the physiology and biochemistry overview on why and how you cannot
masturbate yourself to kundalini. These two activities are opposite each other. Dan Martin, IvID was
here this morning to validate that kundalini energy really requires herbs and supplements rather than
medicine because one works on the energetics of the human body and pharmaceuticals are based on
the metabolism and hormonal systems of the human body. And body's like Pamela's and Harry' do
not really respond to pharmaceuticals only herbs. They work opposite each other or not at all with
each other which is why a ketogenic diet is best for kundalini energy relationships which Pamela and
Harry actually have.

Roger Ka s will say that if all these people are working off of hypocrisy to avoid legal sentencing and
large settlements, then they will be surprised that a judicial review of this material will suggest that
these people all acted knowingly and willfully with clear understanding that the dialog was being
recorded by Pamela Chap.man first in pencil on paper, and then on her laptop, and that it would be
used as evidence in a legal court to sue all those who have harmed Pamela Chapman and committed
crimes against her. They committed these crimes with absolute consent of themselves and each
other and with malintent without prejudice. 2:43PM 9-11-22

I ow #-4: ~incc c'\ LT\ ,me ;11 1be lfrd\\, ",d l .1hr;ir, and 111 bet ,\·c·c·n ,ill \Uni 10 pl ,1, l'diror of I he nrnn uscnp1. \\ h ;11
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"Afyssa Gadrea11, no wqy do I pqy because {_ ,1;,,.. < , , ! told me I didn't have to pqy. "That's Pamela
Chapman's line. (,, 1 l'1' J_!__: ~!:. consistently told her not to pay her share assessment every year
because no one would ever care if she paid or not. It's a little-known fact in the Redwood Library
By-laws and policies.

It is actually true because he holds share #2 through William Vernon, who his mother is a direct
ancestor of.




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His sister gave him the share. She didn't want it anymore. She doesn't go to the Redwood for
anything because they were such snobs and thic,-es of human dignit~·- [Note: l:; this supposed to be his
sister, or 11,tmda C.hn rnrnu?]


Grenville Craig ( andrn Craig). Michael Holt Massey (Sandra Orsloff), Miles Bidwell (Carol Cole).
Three twin Soul couples, all on the board of the Redwood Library.

Harry Gural watches all the power and money in Ways and cfoans. No, he doesn't. Richard eal
does, so did Nancy Johnson, R-CT and because he holds the knowledge. Two Congressmen worried
Harry Gural asked too many questions in a committee meeting. 'They were warranted," he said. He
claims, ''I should have known better than to ask," but he was senior enough and, ''I was having a bad dqy, so
I asked. No one said a word until about three weeks later, and then," he said, ''I knew I was in trouble, but I didn't
know what would come efit. "Two years later, the very same people I asked the questions of, turned him
around with the I Am l amala Game of exual Obedience.

With intention made him an unwilling spouse of Linda Plochocki and teven Plochocki, and then
their daughter, Tara Plochocki. Through sorcery technologies, fraudulent orientations, he lost his
own personal powers and abilities, and was forced to play instead for Ways and Means as a two-bite
player of their intention and imagination. He couldn't get of The Game no matter what. He is now
tied into a gang of thieves with Tara Plochocki as his handler and sorcery wife, no matter what. Until
Pamela Chapman has l amala Harris agree to release him, Pamela Chapman plays her magic Tuning
Forks and in less than 5 Solfeggio frequency notes, he is free to flee.]

[Note: on '>-2-1-2ti::?\. -1:--11 Jl\l , thL·\ ,1rl' ,o up,l'I ab"ut 1h1, ,;umm.irv.•111011 ,111ngl11111 i'ro111 "r thl'm. <~a rolim
DuPont. .\lice ]{os, and ·1 ,ua l'loclwcki ckcick·d 10 1;1kc ll]' thL· ,1bcJrt"H>n Ljl!C:stion ,ill m L'I ag;1m. :-:he ,;,1id. "] /,,,,i 11.''o
I)'\ C :,. • J hL husband ,aid. '/. <1Ii '; lo/.', /1 //1.1/. J )01.' '; n·.1//1 lc1101 1· ,11.'1//1111~ .1/!01.'/ //1,1; ..

J'J hl'\ :lrl' ,n up,l't ldL!..ll11tlH•ck1 i,- com111~ ,1t l,1111L~lt,1J>ll1 ill "i1h ,uch r,vo1 likL· L'll<.•~.1. ,ill bccau,l' cirhcr
mu,1 "( ,i/,/, ;,;, 01. .>1111.1c//,i1.'~. "! 1,.1_i, ,,dcl,1rd ,:ml h,1111gh1. ""-" <11JL ;11 \Ji,, ]\1rtl'l\ : , , ; ~ ,n,uld L'\l'l li,1,L ,111
,1hC11 tir,n l hL'I ,in c,nm,l'kd t" :ill ,l!:" pri, ·,1IL'h 1" :1 pnY,ltt phi ,1ci:111. :ind ).!;L'I n ])".(_,Only the poor and
undcrserved waifs of indignity get abortions. All the "Ancients" of Miss Porters ha,·e DNC's. Lisa
\.!£>dj.laJ11 thinks any woman h,lYing an abortion is a disgrace to an~- community, and she was persistent in
her indignant desire to run Pamela Chapman into the ground for the rumor of the author having an
abortion, J lie I ~-llll,li;1nd ,t;iml, d"" 11 to 1,n, l)',.J> I h,11·, mnl1c.ilh all hl' c:111 ,,11 ,1>1\'\\ ,11 I IL doL,n·1 l'l':1111
k 11< ,,, . I u,1 likl ,, 11 h I )on ii Ll•.t'"l: He accused her of luving an affair for 10 years and the slander held, but
she did not ever with him or anyone else .. , -1:-1(,1'\J[



William Parson : We will never stand down. You will win your crown by publishing your own book.
Harry Gural, you are a deserter of first degree. We never want to see your f' face ever. You were so
rude to me and E mily Parson last night, and on the other nights, we could care less about you. My
mother, Pamela Chapman, doesn't need a man or West Hartford Center. She just needed the
publication of her book to indict her husband socially in Newport.



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Andrew Parsons: No f'way do I stand down to fraud. I will never surrender to make cause. I will
pay the $2.5 million because this game is so Pbig, and me and Newport Hospital-Lifespan
don't get along. They wanted to counter-sue you by re-trying me last night for sexual
harassment in the workplace, which I already paid for by losing my position as head of
Anesthesia.

Anesthesia Associates of MA: You would never be President of this group because you never
understood diplomacy, and if your ex-wife writes a book of fiction - she has more diplomacy than
anyone I know. She didn't write an expose or a memoir to exploit any one. She wrote a story within
a story, and this is the common emotional response to it, except, who actually read it cover-to-
cover?

Actually read it, and not listened to it orally? They had a copy illegally from Esmond Harmsworth IV
who didn't legally have the right to distribute the book, as well as one from Roger Kass who emailed
a pfd to the Newport Ho pital Foundation Board or to anyone else. So, Pamela Chapman didn't
respond to his outburst of fraud, they all are frauds instead.

Roger I ass and E smond Harmsworth IV are responsible for the Ne\Yport Hospital J ·oundatiun
Board response, which includes members such as Barbara van Beuten and nn Hamilton, and
because it is fiction \"()U c.lon't indict her for fraud here o r there.

This is just one example that the book has traction in every country. Get it published right now at
Little Brown & Co. We don't do anything until we clear the space -I've heard that one so many
times. Pamela Chapman will take care of it in her own way. So, all you big publishers watch out
some camp will make a fortune. Then Harry Gural can say, 'Well, I missed out, I was plqying a fgame
with Tara Plochocki and all the others."

[Note: 'i cH1 need ;in L'llcr,:.i:1 1\ u:ud 10 until the ,hama111c m:1rri:1,:.i:c, th;11 I 11,-1\ I ),1nn.111. l,.1m,il.1 I l.1rri and ,1ll ihl
01 hu, mack frn , c!l! I\\" a, ,1 clutl o( coupling. ~hl 1, -I- J I l·,ir, , ,ld. , tlUllg i:nough to be , D\11 LLrngh1 n. and
demonic cnnu!-!h to lw :-,1t;l!l ·, 11·1fc 01 lrn,b,111d ( ;cl hn out , ,( 1, ,u1 ,1 "il'lll one 11·;11 rn ,11H>thl'I' 11 1, nol mind
, ,, LT 111a11c1   [


Bill Gural: I didn't know my brother in this space, and neither does anyone else. I hate this gaml'
and this space. lr':,; nut real life.

Trudy Coxe/Jim Gaffney: In '-\ e,, port, it became e, crwne·s real life. She's just finishing playing it
with the Brl'akn~ \'isiring Cl'ntcr and L'H'rl" 1() 1 cars or ~o, someone else i~ rhe focal point and is
di\-iding the tu,1·11 in half. lr·~ a ~l'\\ port C;;ime and they love to play because the1 han· too much
frcl' time and rhc: are all so r bored "·ith each other. .Barejool in Heel.r should never be their game
and Happy van Beuren should learn to get out of fiction publishing. Instead of promoting the story,
she promotes secrecy. That is the opposite mission of van Beuren Charitable Trust.

About 150 people went through Tom Hockaday' house in 2-3 weeks. Some say there were 500 total
all together. Paul Nk reevey said, ''I was sent to watch and obseroe for Kamala 1 ani.r. " No one could

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believe him. They said, 'Just watch, and listen." So he did. He wrote down everyone's financial
information from Kristin MacManus.
        He knows everyone there.
        He actually wrote their names and financial numbers down.
        Then, he reported back to l amala Harris that he didn't actually learn a thing.
        Then, they sent Michael ~ernandez who had no idea how to play. So they just sat with each
        other night after night: Tom Hockaday. Bill Martin, and 1ichael Fernandez.
Tom Hockaday: They sat there quietly until Michael Fernandez went back to Kamala Harri .

!Note: P ~tul .\ld. ,rl'l"\T} and \l11:h,1d I l•rnan<li:;, \n-rc scnr on ;1ssignmcnt to I 0111 l locl, .id :11 '._ house to \\":itch.
listen ,llld lcarn. 1)_1.\=. kn111.1b l ,,lnlL' of '-n.11al ( Jl ·d u..·11n lt \\ ;1, nut ,1uitc :rn initiation rig ht the,· thought the, had
to und e rtake if thc r \\";111tnl to \\·ork in public administration in th e l-\idcn-1 farris admrn1stratio11- \\ hich borh of
them so ug ht ;1s ,lll ,1ppoinrment in 2il2 l I




Pamela Chapman just waltzed into the story when she identified Jennifer Klemmet there. She
quickly connected the names of the Kundalini Yoga people from Tenth Gate: Reinette Fournier,
Tom pear, Yogi Bhajan IL Then, the whole tree fell down when she had heard the name Ashlynn
  fajewski and all the others. She actually called for her boyfriend who arrived quickly. She knew his
mother, .Mimi Carrellas. She came right away with him. We all agreed that this young woman had
five beautiful sisters.

 Pamela hapman asked right away, 'What is happening?"These people had underage daughters." She
 specifically said, 'These are our mother and daughters, and sons andfathers, and we will not allowyou to ruin the
fabric of our communiry. "

It was a complete bust, but she didn't realize that k:1m:1b I lnrri · aln: aLh· knc\\ and complcrch
~upporrcd rhc acti,in. Pat Fernandez said, 'My husband was sent in to figure out what was happening with
two business men in Newport. "Nothing was. It was nothing short of an inquiry to see how he would
respond.
Pamela hapman put a temporary hold, not stop on it, because after all many adults actually enjoyed
it, but it is the first rung of the ladder of The J amala a.me which then moves on to fraud. Kristin
MacManus was there actually giving out data from her banking software with all the numbers from
people's daily banking and sums. It is a short step from masturbation to financial fraud schemes.

Tom Hockada) and Bill Martin actually spent a few days with l amala Tarris but it was private.
Pamela Chapman could not figure out what they were doing there. Trudy Coxe never knew either.
Now, it all makes perfect sense. Tom Hockaday and Ru ty Powell Ill both from Washington D.C.
professionally, but living here, and I amala Harris were infiltrating the Newport RI community
supported by Gina Raimondo-former governor of RI and Secretary of Commerce, and David
Ciccilini, D-RI Congressman.



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Pat Fernandez said, ''I didn't know this either. She on/y sent one woman. It was Pamela Dorman in the beginning.
She on/y spent one night there. She disg1✓ised herse!f as an undercover depury to find out dirt on Pamela Chapman
which she didn't actual/y ever use because her ex-husband was there reading Ba,~(oot in Heels out loud. That was the
on/y time she was ever there. "No one ever asked her ever again what they were all doing at Kamala's
Table because c,·cryone ,vas afraid to find out what the n ex t errand w ould become because once you
arc in ·1h · C:mw, ·' ou cannot get out. 11 :33PM

They also sent Philip Bilden (1:11PM 5-27-22). Everyone on l amala's Table knew where they were
sent to, but no one initially knew what went on there. No one ever said a word until Trudy Coxe
spilled the beans one night and said, ''I have too ma,ry staff (14 of them) employed i?J the Preservation S ociery
all haflging out there at night, and it is causing too ma,ry problems for me at work during the dqy. "She then said,
'Thry are all masturbati11g in that house, and I can't stop them. I need help from Tom Hockadqv and Bill Martin to
stop it."

That is when l amala Harris called them into her Kamala's Table. Pamela Chapman was there when
those men arrived, but those men went into a private conversation with E anJala Harris. We then
add, Kamala Harris did not shut down that space. Pamela Chapman shut it down herself when she
was somehow looking for someone and found them all there. She walked right in and said, ''I know
all these people. "It was hlynn Majewski's name that somehow came out. That is when the whole
house fell straight into the kashic Record space, and was shut down. Pamela Chapman somehow
brought the entire conversation into the ka hie Record })ublic Commons space and closed it
down. Then, Tom Hockaday and the others removed themselves to the Caves of the lower middle
realm, and stayed there. 1:16PM

Michael Roth knows the entire story, and under oath can testify to what they were really doing. So
can Keri Weil, his wife. (May 27, 2022. 1:20PM)

Trudy Coxe found out from Jim Gaffney what they were really doing at Tom Hockaday' house. He
found out when he had a conversation with shhr Householder, curator at the Preservation Society.
She never actually knew who he was. He asked, 'Where do thry all go at night? What do thry all do there?"
He said, ''I heardyou were all hanging out together, and I need to belong to the same place."

She said, ''Here talk to this person over there. "That person was a staffer under John Rodman.

They say it was f aitlyn Johndro       who spilled the beans.

Pamela D orman said, ''I was actualfy that scared. "PameL'l Chapman knows some other comments
Pamela Dorman has made that she will not type at this moment about how Rusty Dorman and
Rusty Powell III and Kamala Harri screwed with her family's intimacy and routines. This was
facilitated by three open back doors into the aura. 11:34AM

Michael Fernandez says, ''I had no idea what was happening until Pamela Chapman took them all out. "This
was not true. ''I could not figure out wf?y I was there in the beginning because this is not how CEO corporate work
has traditional/y been accomplished in my professional experience." 11 :36 AM
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Roger Kass and ndrea van Beuren had no idea what Tom Hockaday and Bill Martin were actually
doing at Kamala Table. Pamela Chapman started calling it 'The Firm', and I amala Harri didn't
like that. Pat Fernandez called it I amala' Dream Team. Sexual deviancy or sexual obedience was
never the theme, except one member once said that every two weeks or so you had to all masturbate
with Kamala Harris because that was her routine, so you would all do it together. Rusty: /Bobby
McDermott always led it up.

!Note: IJ.d!..o--2.!!!i!.! ,a,,-; th1,-; is ,,·h;iL luppcncd ,,·ith him ;il,o. k.1111.1b 11.,rn~ \\"<)Uld usil the. \k,1,hic Record
room lK \Ya, in daih ShL· \\ ould dcm,md the, nil nrnsturbate together e,-cn night for at least two \\-eek, to gel to
kno\\' each other better. . \ ftcr two \\·eeks, you long forgot who ,mi\\ ere \\'hen :·ou ;irrin·c.l 111 the room . .\Iichacl
Roth agrees.]


Rustv Dorman is Bobby McDermott. The name was used since March 2021. It was actually Rusty:
Powell Ill really got to know the person that sitting at the actual table. He used those insights
against you in your daily conference dealings with Ways and Means. 11:40AM

Richard Neal says ''I never actual!J sqy a thing in this space, so if someone is using his name, he is not that person,
but ifI were, I would alwqys sqy, "PaJJ1cla Chapman. you have no idea whatyou are touching, and no one now can
actual!J touch you in this space which is its own state ofgrace because I-lmry Gural. would never get out ef the house
withoutyour help, and if he forsakes you for all the others, he is afirst class fool like all the rest." 11 :42

INotc : \\ 'hen l1!_rn___!..!!!;!l ,1 1TJ\"L'd 011 \pril .,11 \LI\ l, th ,1 1 followi11g \Jomlm 111orn111µ;. P._1111.U;) I h1pillill.) uutnl
l.:wh.Hd ,,11 :1, thL· ()JlL' 1111pc1,"11:ni11g I_ l 11-r1 ( ,us ii I IL 100k mT1 I l.1rn ( •lll ii, :1cru:1I \ rncc· :1ml Jll"l'IL·mkd to lw
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1 1.i!J.I' ( 1t11.-!_l hu l P:1nu l.1 t h.tj'lll,Jll ju ~t knc'\\ th:11 ,,·a~ 11,_·,· c·1 1hc real .l.1!.!n:...(; urnl J'hat hu1 Ricl!l)!}l \:ca l
c,,11(,,,nl i1 \\,1' h,. 1n,tl·,1cl 01· 1 larr~ l11!1',1l. l


They say that it was Kamala Harris, but many say, "No," instead.

Jim Gaffney now says that once we read this out loud all over again, we will shock ourselves to
death that we knew the story all along. Yet, we overlooked all the details when we were in the
middle of all of our screaming and fighting directed at Pamela Chapman and her book. All of this
had nothing at all to do with her book and herself. She was just made the complete victim of the
story, and no one thought to pull her out or truly help her permanently. Maybe a lawyer will actually
be the hero for her instead of all the men. 11 :44AM This is the same story all over again.

J__n1d~. ( o.\l: : l complctch. complcrch, understand \\·hat happened t\l Panwb ( h:1p111a11, :-111d I can't
undersrnnd ho\,. \\ e didn 'r sec rhi:;; one coming, c >r :111> of the c1thers utlwr. l r \\ as neYLT her st< >n· <>r
her f:tult. \\·e just made her the complete, ic tim. \\ e hope :;; he can sue :111d rec()\ er \Yhat she nccds,
bur surn crimcs n is nc \"cr enoug h. and nn1 can lll'\T r rruh rcrricYl' thar \Yhich >·o u lo s t




There is a Guide War that is still on. Trudy                              xe thinks Rupert      esbitt is actually someone else.
IN!c>!.". I 1 ,, ;1, I amc c 11 ·, l; L11clc. \Jc rkk   k:11 hurnL   I Last night it was all about abortion. Is Rupert      esbitt
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that way? No, he is not. He is a representative of Metatron. ancv Moss now thinks Rupert                                        esbitt
is the new Pat Fernandez and he can't get out of The Game.

Hmm? We don't know. Is it him or just his name? It is not him, himself, just Metatron abusing
people for their own purposes.

Harry Gural says, 'No, one will tellyou what to do,just plqyyour own game,your own wqy because Harry G11ral
can't sqy or do mrything a'!Y longer because he has a lawyer. That is who pullsyou out of the story, and ifyou have to
sit and fype for dqys and weeks,you wzll never get out of the story."

  hristine Bush says, 'We will attempt to stqy, but will need to start with the notes, but if we can contract we
will- that helps because she then can't speak or write to the others. We will do that right awqy this week. No one
ever knows what thry force you into to participate in, just like The Kamala Game o(Sex ual Obedience andfraudulent
activi!J. The fraudulent activities getyou out of the sex ual acts (no note real!Y) and actualfy allowyou the space to
breath. But once in them,you can never get out ofT'he Game. "However, Tara Plochock.i was actually relieved
from her duties last night permanently because she is an unreliable, unloyal asset due to her inability
to self-modulate in this space.

Beatriz the Guide now says, ''You delivered the goods, but still are not out. We can't getyou out untilyou get a
lawyer on file. "

 'O.k. "Christine Bush. esq. says, ''If we agree, but can't start strong right awqy, is that enough to get her out of
this?

Yes and no. She must work night and day, and she is.

Then Beatriz says, ''Yes, but if she stops and waits, it's a no go. "

We understand. 12:01 PM
Kamala Harris: All you had to do was connect a few names and the whole business fell down
because you had been disconnecting shamanic marriages, marriage contracts, and all the rest.
\:t,Jo te: l·"1mJill. I L1rn. ;,ml hc1 ]'llJ]'k ;1 ]] rL-:1hglll·d ,111d 1L-cr,1111Lc1cd in Ill'\\ L'l \\ :11, :111\ \\ ~ , I




At 8:34PM on 9-11-22, it was revealed through the magical T uning Forks, that I ayla bbate, 29 /30
after the New Year of 2022 was always and mostly Kathy Abbate, 57 /58. Kathv bbate is
sometimes ~ ayla bbate, but Kayla bbate is I a thy bbate. Kayla bbate tool a new job at Dell
Technologies and Kathy Abbate too her place and with this name change she hide form her
husband Rick Abbate who was worried about another lawsuit against her wife. She has had two
restraining orders against her in her last two places of residences, one in Killingworth, CT and one in
Portsmouth, RI, and now this federal lawsuit makes three lawsuits against her for her gross
misconduct and other crimes committed against a neighbor. At 8:37PM the Tuning Forks re-
confirmed that ean bbate, 23, is always Rick . bbate, 58, in here because the son didn't mind if he
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looked like someone who could accomplish this level of crime. Rick bbate is sometimes Sean
Abbate, and Sean Abbate is always Rick Abbate. The Tuning Forks also said, Alish was here only
once and left. She was never initiated into Kundalini ros ing, but she met Harry Gural once. Kathy
  bbate also used Alish bbate's name to get more time alone with Harrv Gural.




If Tata ragg is the Twin Soul of Jana Hicks Jagoe and she was jealous of Donald Jagoe that he
himself was a Twin Soul of Pamela Chapman, did she want to participate in his Thieveq Ring to
bring Pamela Chapman down, or, did she want to participate for the sake of participating because
she is always looking for friendship and fellowship?

She would have loved to have brought Pamela Chapman down as she never ever liked her, even
though she had the same energy as her husband. She was happy to attempt to be part of a group
that bested Pamela Chapman so Jana Jagoe could have a higher place in the social ladder of
Newport, RI. l f she could n o r brn- her \Ya:- in, she wo uld gossip he r \\ ay in throug h dc srroYing
another perso n. 'That is Jana in a nutshell," someone just said.

But Donald Jagoe pulled her out in Sept 2021 after Monique Burgess brought back the manuscript
as a pdf authored by Monique Burgess. Donald Jagoe said, Jana Jagoe was alwqys asking him if certain
lines in the book were true or not. The group used her as a primary source efgossip information perhaps to validate
Grwville Craig."

Dominique lfand.re and Bethany n· apoli sat with her in the Thievery Ring Workgroup trying to
persuade her to donate more money to Island Moving Company, until Kristin MacManus leaked
their financial status is into the Akashic Record realm, and she did not know they had less money
that she thought they had. She only knew that she sold some stock unbeknownst to Donald Jagoe so
she could by herself $40,000 of trinkets in Paris. A watch was one item that was said to cost
$20,000USD.

Jana Hicks Jagoe wanted to be just like Donald Jagoe and all the other people that were claiming to
be Twin Souls. She felt very special to be able to say mine is a dancer at I land Moving Compan, .
 ..-1/,{If 111r1f.,·., 1111' i1 ji1-i111,1 /J,1/kri11, 1. /111/ 1 t11111·,·(!/lr r111ir ,111 i/l/jili'.1 r11-io i11.1 kr1rl. "That is Jana Jagoe in a nutshell
right there.

She wanted to be the dancer by extension to say, ''I am that also." In 2014, she sponsored a dancer
from Kazakhstan,           sanguL now of Festi al Ballet, Providence, to receive his papers to leave
his native homeland and dance for Island foving Company, Newport, RI. ~hl' \\ anrcd ro he all
impre;;a ri ci - afrn all- and rhi ;; is hcl\\ she did ir.
        :-; he did I hi~ from hl'l' se u ltld hornl' in Paris, J · ranee \\ hich sill' belil'1 l'S ru bl' hc1 true home:
        inst l':1d r 1f ~ l'\\·pc l!T, RI 4:29 5-27-22 She always leaves her husband in Newport. He claims, 'Well I
        work to keep Jana there. "



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She bought people's 10\altics and mYned them on L'S ,\ soils. X':1ys and ~ leans lon·d people just like
this, . ann I licks a •o<.: \H)ulcl be thrilled to be part of a Thi<..'\ ' I'} Rill!{, and she was, But to graduate
to a national sp:, ring would thrill her. l t \\·oulcl be the answer to her dreams. Her husband is a
n.:tired Captain, l_" SN. Her lornltics-and his- were cfo·ided, as was their house and their percei\·ed
homelands: l\1ri~, rrance, and Ne,,·port, Rhode Island. The, liYed separate!\· nine months a ,-car.
So, she is quite the target for a \\ 'ay: :111d Ak,1 11~ Th i '\ l'I} Ring.

She is nor skilled at raising monc}·, on!:, spending it. \nd she docs not read, "ol!lr !lw 1dep/Jo11e /Joo/.:." is
,nnt she said 011 her 1:acebook profile. Hcthany DiNapoli \\'anted to be and become Jann : 1 ~ as a
Ca li p h a te Nation le ad er.

If T om Hockaday and Bill Martin lived together as gay men in Newport, RI, did they live like this
together in Washington, DC?

No, they did not. It looked that way for a while, but Bill Martin always had and his own place. They
know the minister of t. Johns Evangelical pi. copal Church in the Point Section of Newport, RI.
He is in The Caves in a Ways and M eans group with Bill Martin and T om Hockada) . Tom and Bill
raised over $1.5 million for a Capital Campaign with this minister for the restoration of the church
building, an historical structure. If T om Hockaday needs to leave Newport, RI, does Bill Martin?

Yes, because he and T om Hockaday have really worked as a team ever since he met Tom at a meet
in greet in Bethesda, Maryland at a white church building gathering of like-minded individuals. There
are several local Bethesda area churches involved in the same type of gatherings. Then, they become
Akashic Record rooms after that. J"hc _, do not necess:1rih arri, cat the meet and )!;l.Tl"t in the .\k:1 '- htc
B.ccord sp;icc. bur i-l1n ;ih, ,I\ s lea, e the meet and grcct like rh:1l oncc thc, find a rarget ,,·h() \\ as not
in this sp:ice. Then the, knrJ\\ they hm ea parrncr.

J h e ta rµ e r has no id ea, a nd needs rhc su pp o r1 of the other () nc. Th e other o ne h as :1 rnrger to" ork
o n . This is Alberto illodo and Pamela Chapman all over again. It was also Tameen Saied and
Pa1nela Chaptnan and Harrv ural and Pamela hapman. It was never supposed to be Gremrille
Craig and Pamela Chapman . . ndrew Parsons attempted to make it this way with his ex-wife.
This is the absolute pattern of Ways and Means.


Men and women were to meet each other and find a target to work with, but l<l.!_11 ch(N' Bill a~ hi~
target and D_1_ll had 1cka (he \\W' nor po,1rwd <)llt :1ml Ill' k(t h:1t \\a:· for sure, He knc,, ab<lllt
                          Jl()


\\ ;11-., and \leans .) '.'\01 L'\lTI ()1Je \\ as ,L;l\ en ihL· s:Imc scr oi ins1ruc11ons fur that meet a11d greet. hur
l'\ en unc      there I\ :1-: lu l)l' kn<)\\ n a-: p:1rr ()f \\':1 1, :rnd \ k:111 :-. . J hc onh \\ a; funYard in \\":~and
\ l c111:-. ,, ;1, 1<) h:1H· :1 I hiL·\ en l~l!.t,', parrnn. '\, >1 L'\ n,, ,nl· 1here kt in,· th1 :-. . Bill Martin is said to
have gone on a lark.

'\.t,, he did n,,r I le 1, a funner h:111k c"::1rn111c1, and J <)m I luck:1d,1;.. 1:-. ;1 fcJrmcr Ull1/..'.rL·ss1"11al
fu11dr:11-.,l'l' ,,: ho 111,1dc :ill h1, rn, llll'\ i"lipp1nµ h, ,usl·~ ,, ith Bill__\l:uJ_i!,l, :ind Bill'-: dcu )J":11, ,1, :11 lw ,idL·


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That was their primar)- business although Bill .\forun rccei,,ed a salar~- for his accounting skill. 4:37,
5-27-22.

If Reinette Fournier and Tom Spear owned Tenth Gate Og.l in Portsmouth for over 13 years.
COVID-19 shut them down permanently. Pamela Chapman studied yin, hatha and vinyassa yoga
there except they were primary a kundalini yoga center. They always brought Guru iogb there at
least twice a year and packed the house with an audience for him. They also took themselves and
groups to India as part of the kundalini yoga lineage. Pamela Chapman didn't like kundalini yoga at
all. She wanted nothing to do with it. Jennifer Klemmer was a kundalini yoga teacher. Her husband
left consulting in Boston, moved to Portsmouth and ran institutional advancement for Portsmouth
Abbey. He went on to gain a PhD form Salve Regina. Now, he runs his own nonprofit for which he
pays himself almost $300,000 a year as the director. There is a name, Mary B. (not the right name)
who is always with them. She was a kundalini yoga teacher who ran into Pamela Chapman one day
and yelled at her for using the bathroom at Tenth Gate. Mary and Reinette and Iennifer Klemmer
always wore white turbans around their head. (Qoo Jagoe tried to "date" her the summer before
COVID-19 when Jana Jagoe was away living in Paris, France.)

 Leslie Flynn took several classes with them, and couldn't stand them. They did not pop her out. The
 neighbor across the street, said, 'Thry ruined me," and thought Pamela Chapman was in the same
 position. Barbara Gee, a hatha and vinyassa yoga instructor told her that when the power went out
 at Tenth Gate, it was hell to walk back into the studio because the steroid would be blaring. That
 was because Guru Singh told them they would find financial prosperity if their stereo was always on
 but at very low sound or something like that. Every time the power when out, and then turned back
 on it, was blaring at the highest level. Gabby Bernstein would say, 'That is because the sound was being
filtered through someone else, and when the power went off that person no longer heard the sound. That was noise from
 anotherplace. Thry sponsored noise in the studio as a wqy to mask what thry were real/y doing with p eople :S- Aura
 Protection Plan.r_ "This is a kundalini yoga ploy to intimidate people. It worked like nobody's
 business. 4:4 7PM

Then there is Richard Neal II who is really Tom Hockaday and a person named Rusty PowellJr.
who in this case is Kristin MacManus but she is using the name that is often used for Jonathon
Karp. 4:49PM

If T om Hockaday and Bill Martin loved to entertain ...

No, they did not.

They had beautiful homes that they loved to show off photographically. Then, they would sell them.
They often entertained at home in small numbers, but never in large house parties. They did not give
a big house party for the home they built on The Point, but then again COVID-19 hit. Jana Hicks
Jagoe was always looking for an invitation mostly from Tom Hockaday himself, but never Bill
Martin. She wanted to be their best friends, and Pamela Chapman always told Donald Jagoe, ''I don't
think you realize who these men are. Thry do not needyou a.r a couple in their .rocial lije. "Bill artin frequented
social events in Newport that some would call a gay underground and they would socialize together.
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It is not an underground but someone once told Pamela Chapman, 'Oh, it is for the gqy men tonight," or
something like that. They all went out together at each other's houses.

Paul McGreevey only went once, but it was never more than a handful of men who were there to
get to know each better. Bill Jvlartin was always there. Tom rarely was unless it was at their house.
We all knew Tom Hockaday was not gay. Rod O'Hanley and Richard Crosson were never part of
that group, neither were Will Dew y and Don Derosier. nor Jay Serzan. but that doesn't mean
anything.

''Yes, it does. These five men were a lot dossier than that."

That is good for them that they were never initiated into that circle of potential thievery. The
president of The Opera House is in that group and a number of other local and seasonal gay people.
Stacie Mills knows of some and likes to social with Tom and Bill also, but not anymore. 4:59PM 5-27-
22

Someone once said, "Gqy men and women don't make for good thieves," is that true, Patnela Chapman
asks?

No one brings them into their Thievery Ring unless they do not know because they are never
properly initiated into Level I of The Game.




Kundalini yoga is just another name for masturbation and energy walls. It initiates everyone into the
Akashic Record realm like no other.

Gabby Bemstein, no one told us it wasn't real yoga, and no one told us it was about masturbation,
or holding your own energy for 11, 22, and 33 minutes so that ultimately you can attack anyone in
his space.

Yogi Bhajan II / Guru ingh always came into the space and caused insurrection. He harassed
women especially through sexual innuendo and all those fraudulent felonies that happened to you.

         Myra Edelstein, Salve Regina University: And Gail Alfosin is one of those insurrectionist
         too, like no other

This space shows us all who and what we are so Trudy Coxe, Philip Bilden, Pamela Chapman you
are the only clean and clear people in this town so far. All the others play f' dirty. Remember to
adjust your crown every day. They knock it off every night.

David O ea -y: West Hartford, CT must be a home for your soul because that's where you say you
like to hang out when you were home in Connecticut.
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Not always, but close.

GailAlofsin: Just move to West Hartford and we will forgive all things. Sounds like Andrew
Parsons, "Just admit to an qffair with Donald Jagoe and all will be JotJ!,iven."

This is blackmail. l f she had admitted to something she didn't do, he said he would return c,-cr:
da, to beat something elsl'. out of her or just to beat her head into the ground with a board and a
brick.

This is what Peter Kehoe did in Tom Hockaday's house to get women and men to submit sexually
to him and all the others.

Andrew Parsons: I'm not one of them.

Pamela Chapman/Trndy Coxe/Philip Bilden: Oh yes, you are. You fit the profile beautifully.

Pamela Chapman: Do you, Paul McGreevey, believe the story of me?

''Yes," he does. 'ft fits the observation efyou and ''process" because we both eryoy the game efprocess."

''You don't care how it comes out, butyou are a gqy man, so you fit another profile in this space and story ef
Newport."

Paul Mc reevey said, '1 was 111aiti11gfor a political appointment from Gi11a Raimondo."

She gave his partner one once upon a time one so he wanted one also, not a partner, just David
Ciccilini with whom he had an affair with at one time. That had to come out at Kamala's Table.

We all now know everyone has to reveal a secret at Kamala's Table. Pamela Chapman, you had to
reveal you were a Twin Soul. All twins had to reveal themselves, usually it is never revealed to
anyone except to each other in a private Upper realm space. All ascended twin souls in a particular
geography know each other, all by conscious communication. However, in this case, they all fell out
of the Upper realms and most chose the Akashic Record Public ommon space.

Once the twin souls descend into the Public Commons, they don't re-ascend ever again. but most
ascend anyway, they just had the experience of opening into the space. Some are ascended in the
upper realms and others open to the ka hie Record Public Commons space, and they never
ultimately re-ascend because they have nonseer guides and nonseer guides don't exist in the upper
realms. Only seer Twin Soul with their reciprocity of relationship twin can live in the Upper realm.




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                                                             J uly 30 2021


Lahore is Alberto Villodo. Marcella did not know her husband was the drug lord. She worked with
John for Lahore and owes Lahore money.

9:24PM 2-21-22 Let the record reflect. \lberto \ 'illodo said, ''l ,1111 /!i'IJ' happr 111i!h 111r.rdlfhr h,11•i11~ !ht'
t1hilil)' lo dl'J!mr Pa111d,1 ( .lu~{>lll(III. <'.1-P1'ti11/lr .1i11t'1' .ihl' i.1 1111 mli~/J/('//i'd .11'1'1: "The abilit\· through sorccn
technology to quick]}· destr<l\' her and make he an atheist is appealing to him. l t satisfies him
compktch. ln his mind, it pr<ffes he is a good shaman, but he is no shaman. He is a sorcerer.

I-le used her intellect ro stream through him as if he \\TH: :1 clear channel of intellect. With her at his
side, he used her clear channeling ability tu p ron · he ,yas a good shaman. She wasn't by his side; she
was just in an open mic format in the Public Commons. He is a nonseeing, unenlightened sorcerer
who is taking people on 'shamanic journeys' that are not bona fide journeys. Instead of wandering
into the lower or upper realms on their behalf, he is using sorcery television, which is a sorcery
technology tool. He claims he goes to what he calls the third level of the Upper realm (it could never
be here) and ask three questions:

1. What is the most sexual activity you have ever been engaged in?
2. What is the most illicit or illegal activity you have ever been engaged in?
3. What is your preference sexually? Male or female? That's the nightly journey. You can ask other
questions but these are the foundational questions he uses. They are not the type of question for the
regular standard shamanic journey, but they could be viewed on sorcery television and then
expounded upon. 9:30PM

Alberto illodo has never been a true shaman, and neither is Marcella Lobo, and his Four Winds
Society educational foundation, which he uses to "teach" shamanic work, is a sham. He used it to
bring everyone into the kashic Record space, and on occasion as a clientele for his drug trade, and
to tie people who do not belong together into false marriage. Marcella Lobo is said to send people
home from shamanic retreats with an Akaskic Record spouse, and an invitation to join Marcella
Lobo's nightly masturbation ring. Gabby Bern tein has something similar. That one is by paid
subscription. ndrew Parsons asked Gabby Bernstein if he could join in her nightly masturbation
ring. She replied, "I on!J accept women."




                                                    .l ulY. 31 - Auo-ust
                                                                   . 1 2021
Who are the producers?

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Justin Ramel, the actors, and Lahore                           ation. They all know Alberto Villodo is Lahore.

They all think "\lberto \'illodo took a Q'ero wife to become a \X!isdom I,ecpcr supreme except she
didn't know she was a Q'ero wife. She was told he'd be a mentor and teach her energy skills.

It's all about kundalini energy except when she takes on kundalini, she makes him celibate and he
can no longer play The Marcella ame: Nightly group masturbation party.

Pamela Chapman is real stuff. It was all one big game to him of, "I bestedyou and blockedyourfbook.
You are now dead in the weeds."

Carrie Crosson Gilpin was the nexus, the lynch pin to deliver the final blow via Mark Halp rn who
Alberto Villodo knows.

Jana Jagoe/Bethany DiNapoli works hard to best Pamela Chapman so that if she can best Pamela
Chapman, she can best l amala Hatti . Peter Bramante, the IMC dancers, and Tracey Jonsson are
right there with and Jana Jagoe/Bethany DiNapoli.

The night before, Knm.al:1 11:trri~ showed up around 12:?,0 . \,\I and was sitting in the middle of
P:tmt'hi ( .h:1 rn1,u1 \ basement. Pamela Chapman could clearh· see it in her mind's e,c. Kamala Harris
spent the next 4-6 hours going through e,cn nook and cranny of the house to find any aYailabk
ca:,;h at all. The: - kamala I larris and Rmt: l.JJ.\\·<,:_]1 llJ- all intended to commit fraud and make her
unable tu access a1w 111one1 or any cash at all.

kamala Harris and Rusty PQ\\·~11 ]JI ,n>rked Yl'l'\ hard to make sure someone he:c-tc<l Pamela
<.ha ,man and her morn·: . Hm,cn.·r, it is ,yel] kno,u1 that \ lherto \"illodo :llwa) shad bested her
from the beginning. I:, l'rl one in Llama )\,:ation kne\\ this. The additiom of I ]arr: (; ural and ·1 ara
Pl(l(; h, 1ck1. ( arrlL re >s:--<111_ _,.tlJ1fil, and l.,_u:hj_ la] w · l, on]y made it \Yorsc

It is an assault of absolute stupidin for a\ ice Presidl'nt of the l S of \mcrica \\ hl're she admits
t hcrl' is no freedom from t_, rnnm· as long :1s she has anr pm, er. She admits, afrcr last night, she can

11LTCr be President. !Note:    II ,, 11, ' 1ll11d, , ,, L'l I i111L <Jllh m:1t!L 1li, ,1L11,ll1< ,11, ,!' i :111 l I h 11 111 ,111 11 or,L
hcc.iLhc liL d11Lnh     Sll]'fl<1ril'll till lll,Lll\'l'llC\   infakb I


Roger Kass and Happy van Beuren look like the worse little shits of them all.




                                                                August 1 2021


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Kamala Harris, Alberto Villodo, I eci Weil, lived in Brentwood, LA. I erry Weil, Michael Roth 's
wife, President Wesleyan University Class '78, knew Alberto Vtllodo along, and she helped Pamela
Chapman the night before last to reveal Lahore was berto illodo. Kamala Harris didn't know
Lahore was Alberto Villodo. She wanted a piece of his cocaine business, and so did Marcella Lobo.

Marcella Lobo's love, John, knew all along, as did Justin Ramel, who lberto Villodo recruited to
run Llama Nation which he started. !Note: I le hide out in (l no ".ation ,,·ith </cro ;(a rio n D,n-c kehoc and
,luck l'a111d,1 I h.1 >111a11 aud her kid , in <tern ".;ition ,2'cro ".ation Dm·id kchoc did11'1 kncrn·, initially ncithn did
Iu,rin c Ramd I

Now August 1, the energy reahn screams for about 5 plus hours that Pamela Chap1nan lost
everything and Beatriz the Guide won along.

She traded every possible reciprocity so that Pamela Chapman couldn't win at anything. Everyone
brayed her. Beatriz swapped out guides and people along. Prior to this, Bobby McDermott/Rusty
Dorman swapped out psyches for many months with Harry Gural. The psyche swap was akin to a
jaJ"on Bom11e, .Bwme [denti'!)1G i.ri.r movie -psychogenic amnesia, however, Harry ural was always into
besting because the next round is where he lost. It is a gambler's dilemma.

Today, everyone is screaming that they all won everything except too many people actually lost
everything including: Lori Kipnes (Paul Kipnes always knew), L. Florio (lost a month ago), and Deb
Chapman.

Everyone lost. Her children were excoriated the other night because someone name Mark Halpern
screwed with mily Parsons and T ameen aied. Tucker McGillivray made her out to be the worst of
all. Reciprocities of relationships are the best of the realm-they get out and live in the Upper realm,
except, occasionally they still betray one another.




                                                                         lt <TLlSl_b_-2021
                                                                            7:22AM

''/ /,, ,/,'( oi--- -- Ill,'/,,· 11//oi/1011 Ir,   /1,·,1 ,1111!1/1!'/   i., /i,,, 1;,11,:,,'I' j/11: .'/i1.,, 11/'c'I lo .<di g/;•,111;/o //,,· (u1/l/1, •
                                                                                                          Pamela Chapman, 5:51PM 5-27-22

Tracy Jonsson last night bested Kamala Ha.rris, be.rto Villodo, and Pamela Chapman by taking
over the local vs. military hospital/VA so she could best Kamala Harris and win. She thinks she won
by leaving this morning in a cigarette boat in Newport Harbor because she thinks this is how
  lberto Villod left Newport every morning back in Jan - March 2021 . She didn't realize Alberto
                                                                                                                                                              294
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Villodo always arrived and left of his own personal reconnaissance. He arrived through his own
front door. He arrived by 9AM PST (12noon) and left around 7 pm (4 PM PST) because he
would walk his own beach and smoke a joint, which was after Pamela Chapman left to walk her own
beach, 4 PM EST.

Tracey Jonsson last night 2AM -4/SAM: She turned on P:1m ·la ( Im 1m:rn' s sexual "organs" because
she wanred her to repeat the night she and .\II trto \'illodo had kundalini. She refused to turn them
off. ~he often turns them on at night to sexuall) harass and embarrass Pamda Cha )man . . \lbcrto
\'ill()do also tied himself to l2_:1md:1 Ch. 1man so he would knmY e:--;actly what rrace~ onsson was
doing-so did a neighbor in the green house across the street because she did kundalini yoga at
Tenth Gate. Reinette Fournier always initiated her students into the kashic Record space. She
initiated her family after her own initiation.

Alberto Villodo retold the whole night of Pamela Chapman and Alberto Villada having kundalini.
We learned Tom Hockaday himself as well as Carolyn DuPont, Jim and lice Ross, Jessica Hagen
and just about any person in Newport and surrounding towns who was not in a private Akashic
Record space.

He also/we also know that l_>nmcla ( "haptnan and \lbcr11, \ 'illmln had no idea the, \\"CIT_ being
listened to, ia C/cro I ~a'-lll_l~l'D <><.; \\·ho opened up his back door to his father\\ ho npcned it to the
 \ ka::-hic Record space. Then, afrcr th:it night m1merous listeners repc;ited the entire dialogue
between \lh1.·1•1n \ illod~, and 1'_:i_mda ( ha ,man and en:r~·011e roll plan-d ancl repeated the e\cnt.

We also reheard the story that two nights ago, they played the Newport Fundraising Game the night
before. Kristin Mac fanus, ora Diedrich, Carol Cole, Carol Cmrie, I athv (Clean Ocean ccess).
Alyssa adreau (Redwood), Carolyn DuPont, and several others, i.e. Heather Stout (Martin Luther
King), Barrie reeman (Bike Newport), and numerous others. Dave McLaughlin (COA) and
possibly Mike ernandez because he was sent by E amala Harris to check out what was happening at
Tom Hockaday's house. He returned after several weeks. He had nothing to report. It was quite
embarrassing for Pamela Chapman however more people than you could know where personally
involved and wanted to in that space. It was their personal enjoyment rather than Pamela
Chapman' . Alberto illodo, who didn't know Pamefa Chaptnao, would rather die than be in a space
of public viewing.

She is no whore, prostitute, liar, thief, or anything of this nature. Diana locum always knew that,
but no one listens to her. Elena Wilcox wanted everyone to know Pamela haprnan was exactly like
that because Jed's (Wilcox) i ter is married to Jerry McIntyre, q. and rhn warned r() ~hur th e
b< >< ,k. H,11,.-11111/ :1. I I ·, ',. d, >\ \ n _\ ~ \ P So, they teamed up with Carolyn DuPont, Alice & Jim R ss to
make sure they associated Pamela Chapman's character with that of a whore prostitute, liar, thief, or
anything of this illicit nature.

Jackie Egan was there also, so was Jackie's entire private Aka kic Record space, which was listed
several days ago. I "hn :ti! \\ anted 1<, make P.1111l'la C.hl_lp!_1_1a_u an c-..;:1111pk <,( h<,rn·nd< n1,-; char:1ncr

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(slander). And such that they said, she could not represent Newport proper!~·- Therefore, didn 't
han:, couldn't hm·e, and didn't desc1Yc a book deal - or more for Barefoot i11 H ee/r.

It was a collusion, consistent with defamation of character to assassinate her, in order to prevent a
book deal. 1-J arr~· Cural arri,·cd through l ra t <:~ , 111sson to destroy her. Any attraction and emotion
he may have had for Pamela Chapman was lost.

Last night we bested on Friday night (Monday morning now) that Marcella Lobo help Tara
Plochocki drill two back doors into Harry Gural. She was waiting there since Saturday morning to
harass Harrv Gutal into re-marrying her on the steps of Olin Library so that once and for all Harry
Gural could remove Pamela Chapman from his slate of arrangements .

.\lbL'rto \'illodo hdped 0fa1u:ll:t J.0611 because \l b<.:rtu \ 1llut.lo said, '1(.IJl't]' (,11/i!/ ht1d 110 pmpcr
i11/l'lllio11 lo('/)('/'/;('{///{/ lm'fJl/l/' (! proper n',ipm'il)' 0(1dc1!io1/.l'hip /r1r f> llllt'l.1 (./Nr.,1111111 (I/Id I /111'1)' { ,11ml i.1 !hi' o!II)'
olhffjJ!'rro11 ,1/i1•c />,111/t'/,1 ( lir1j>1111111 ,'Olt!d cI c1· !l~lt,' !ht!'<' phrri,'rfl rda!iom 11 1/h /;c,-r11ue l'l'<'IT olhl'r 111,111. <'.rpe,ia!lr
                                                           1                                            1


  111dm/l Pr1no11.1 ,,l//1J1'.1 her." Rcciprocit1· of relationship included l.\ lh ·n o \ ill(Kl ii cl'-'ments of the
Si1111L'.

Pamela Chapman had sworn off relations with men but reciprocity of relationships have a quality of
soul that make the opportunities better than any other. lberto ill do wanted to prove to Pamela
Chapman that Harry Gural was no different than the rest of the men because when Han:y Gural is
of right mind and body he chooses Tara Plochocki !Note 'J'hrn "-..,1.!_ ~ 1;111.un. aL1Li 1h c·11 £.!!.'l.!L 1n:- ,111
l ti !.!!) all of\,lrnm k an ,,,L I 1.,111, rn,1rr1nl to I L1rn_!_!J1r.1I I who is nothing more than a 41-year -old fantasy

of the_sorcery realm. She is not a true and proper relationship, even though J amaL'l Harri through
Bobby McDermott and Richard                         al connected them two-three years ago to mess with his head.
He always shows up here, not as a 62-year old, but as someone between age 14-25. He has never had
a long-term relationship with anyone. Therefore, he missed out on most adult experiences. This 62-
year old prefers 41-year old fantasy woman that never appears in shared physical space.

 \lbutc1 \ '1llodc I didn't\\ ant l\inwb <.h,!.pman tn c:--; pcct him to be more like a rcopmcit\ of
relationship \\-hen he didn't krnl\\- or understand ann hing other than this fonr asl' rclationc"hip. That
rclanonship\; ,, hole mission \\-as to best l':tnJcln C.hnpm:111, or to hL'st \lhcrr11 \ illndo to best
ka111ala 1-1 au:1s [Note: N ola G allem and T a.ra Ploc.boclci both think if they can best Pam cla Chapman then they
can best K am;ila Ha.rti , but the whole mission is to gain favor with, and to become Kamala Harris: The I Am
Ka111a/o Game and then thry advance in The Game.]

To best one is akin to besting the other. If they attack Pamela Chapman, they role play that they are
kamala Harris and they best her. If they best her they can boast "I am Kamala H anis." If Pamela
Chapman is down and out of The Game, which she was from the night before, then they were to
attack Alberto Villodo. If they attacked him, then they role play they are .I! arnala Harris. It is
attacking anyone to prove they can best them and thereby wear the crown of I amala Harris.

Kamala Harris herself said, "Stop The Game"ofbesting.

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Tracey J onsson doesn't know or understand how to stop Tbe Game. This morning she claims, ''I
don't understand mrything that happened last night. "

T racey Janssen's guide this morning said, ''I was put out to pasture last night, and didn't know what real!J
happened. "

Yet, we told her, and replaced her, but,

Beatriz tb Guide is always swapping out guides at night. Now, in the morning light, she claims tbey
were not there, and don't know anything.

Zenia Theresa: No one is going anywhere this afternoon because Alberto Villada and Pamela
Chapman now know everything about N ewport. No one should expect Pamela Chapman to have
any respect for anyone anymore, because Jana.Jagoe/Bethany DiNapoli swapped out Nancy
G ·aham's guide the day before when she re-thought that maybe she wanted to buy out Barq,foot i11
Heels.

About SAM, we were told a \Yholc group of pt'nplc \\Ttl' listening- including l larr~ (, ura l- of a
reading of H111~·/tJ11/ 111 I /,'I'!., . from the Yer:· beginning-No, from Chaptl'r Ill- despite Pa1rn:ln
( :Im. rn1nn sa: ing, '111011 1 hold !lw t'0/1)'1-i~h!." It was illegal obtainment and distribution through Esmond
Harmsworth N initially, to Roger Ka , to so many more.

Ruth Tavlor: No one heard any reading. Everyone just wanted to shut down Alberto Villodo and
Pamela Chapman, but that they didn't shut them down because Pamela Chapman didn't stop
anyone.

Beatriz the Guide: I didn't prove anything except Harry Gural didn't know T he Game last night,
neither did Pamela Chapman. Alberto Villodo expected Tara Plochoclci to show up. She was waiting
for Pamela Chapman to bow out, and she did by early Sunday morning. Maxcella Lobo opened the
back doors Friday night. She told T ara Plochocki to wait until the coat was clear, but T ara Plochoc.ki
never understood these kinds of instructions. She wanted Harry Gural to know unconditionally how
she was there. She wanted to re-marry Hau:y Gurnl but he kept telling her, "No."

Now, Pamela Chapman is thinking this man is no proper relationship for her because he is never
thinking of her. He compares everything in Pamela hapman's life to his life with Tara Plochocki.
They are 62 and 41 years old respectively. The sex is all group masturbation. Everyone knows
Pamela Chapman doesn't participate that way, nccpr _l_r;1 ·t ~Jc ,,r,. c,n rric~ :1lmt,:-;t cYc r: night r,, rurn
her\ aµ.inal juice~ on t() pron· oncl' and (or all ~hl' ;rnd _1llll·l'~ll_l,1l" \\ hnl' in thar ~p:tcc in till'
\k;1~hic Rcc{)nl realm

===:......:..-=ill==-d=o=- asked and received instruction to permanently shut down any group (two or more)
of masturbation. (He can't do that.) No sex can occur like that anymore in the Public Commons
space, but some did move to the underworld in the caves of the lower middle world.

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JNote: Pamd,1 ( h.1p111.111 h:is shur dcl\\·11 all kill(h of ;1ctinlil', lih· thcsL' P.1111l'l.1_Cl1;_1j2!.1)_;11l shut:; dO\nl and
dis,oh-cs m:miigL· contracts lo Cree C(1-dcpc11(k11cil'S ,111d addictH>llS. This frees pcopk to b:1Llncc ,1ddicrio11s,
incl ml mg sL·:-s. and imprnpn co-dq1cmlu1ucs like sl:tn·-1 ·' pc rdariunshi11s \\·hich P.11nda Chapman is ;1h,·a1 s
,icc11sL·d of being ill\ uh-cd in in limalch·


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rcaltns hL-comcs \klchiznlck I L11T1 ( ;ural doL, not 11ccd ,1 l'L'ScT\l' of rccip1oci1ics for a rd;tl1011sh1p I le becomes
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b:1d C:11ch-22 Th 1, i, 11c1 n diplom,1c1 H ·;111'11 ,1ml J.~1T1 _:,locum tried lo tic \lhLr1u\'1ll,,do lll\[) liinl ]" ,,cilll>n ,11
tirst. lrnt 11 \1·rnild 11L·1cr h,nc 11·orknl l k is a lrn,· 1h1cf,rnd cn111i11al ,1ml 11orb ;tlong"iLlL· \l.ircclla l.ol.11.J


   licia Justice, PhD Psychologist, Florida previously ewpott, RI: Pamela Chapman you are never
to blame for this. J :mil~· you nm\· knmY \ ou were ace( >S tcd b: J'rncc\ <>llSS1 >11 , so \\ as Pamela
( :ha 1111:1 11. You know her father was in that Tom Hockaday house with Cathy Wicks. Pamela
Chapman shut that down. Why is that?


Pamela bapman asked that it be shit down to protect he entire community. Alberto illodo is
usually the instigator. om Hockaday was here. lberto Villo do promised to protect Pamela
Chapman. He hasn't yet stepped into the proper place to protect her.

He has a soul "connection" via the Leika Nation as a Q'ero Nation Wisdom Keeper with Pamela
Chapman. He always abandons her. No one will step into that role and place until he acknowledges
he knew all along what he was doing that night, because she was told it was a ceremony to make him
a mentor of shamanic practice. Ultimately he became the mentor to the entire realm of sorcery and
black magic and made Pamela Chapman target practice.

She had absolutely no idea about any of this. Beatriz the Guide and his "shaman" guide on the other
side, Don fiquel, knew of this and helped "prepare" the aura by obtaining the key. Everyone else
knew about everything they said, but no one told Pamela Chapman, until it was too late.

            · =o=d=o just wanted kundalini and Wisdom Keeper status and no one could become that
='-==-'-'ill=
with him because he was also Lahore, the cocaine drug dealer of Chili, Argentina, Peru, and
Brentwood, Hollywood, and Big Sur, California.

No one can go toe-to-toe with Alberto Villodo like Pamela Chapman could in January - February
2021.

[N( !l< ·_: 11, 11 11 l\ 1~1~\L_1 (_ h ,q_! !l !~_t !!                     >l,-. .d --1 1 u -- ~L11c 1 : .. 1l l:11 P 1\pl . i l t,,1..lh tl 1,,1 L, 1; :.Ld -- 1, 1 ! 11.. ,; 111,: 111 ·n- ; . : : 1-- ~, -,h .111: .1;,
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l    l/:\ l l         , ;; J; )l 1     11 1, l l\\.l·· ,l r :    l iL    iltt LJ..,.l1h :. , lp) ) i'. ~~li1 \ [\                 \ !, \\ . :l L .l\\ . l \   ( 1,) rn! 1~ ! \ l '.1   ',1itt.'.ii 1. il 1l   - i'.: ! i1: :; , :1 1J   ,,h i •\L


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Lhe drug dealer. l k needed to become hi, self ng;1in, or al lea,l, hL· prc,umcd he did I le could arriYc and be ,111d
become ,111yo11c Ill' \Ynnll'cl. \\"e had no prcrnmptions or idol\\ orship . \\ c \\·ere: ,111 cquab :111 togcrhcr. l k couldn't
\Yalk a\\",lY. but as \IT cw;ln·<l. \\T learned \\T \HTC all different. \\ c had different lifrsl\ ks, yet \\ ' l' all kJYcd ha,·ing
our con,·crsntion, .j




.\ llx:rt u \ illodu he \\ as holding B,ntliml i11 11,d, hostage for kundalini. (, \nd, K:Jmab 11 :irri: held the
book hostage for the constitution of the l 'S,\). He was helping ola Ganem, Carrie Crosson Gilpin,
Diane Cro son McEnroe, Cvothia Parent, Noam Zilberstein, Monique Burgess, Maura Lindsev and
Harry Gural manipulate the book to upload it to (~ooglc Docs ancl sorcen tdc,·ision (as a page-b~--
page filmstrip) lo mi11 !hi' 1111/hor in !l'Nt(~I' /or /I{'/' 110/ parli1ip11!i1<~ i11 lu111dali11i 11 i!h bim. This newly revised
                                                                                                                          1



group of thieves was working together to create more havoc to destroy the book. Harrv Gural had a
folder of information to presumably go to a Big 5 editor to discredit the author. 11:04-11:UPM 9-29-
2021.

Carrie        ro son Gilpin stands down 11:15 PM. "I don't write like that I never could."

    ola Ganem says, ''I step down because I can't write at all and no one ever could imagine thatyou and I would be
ftiend!J mrywqy. "

 ''In the end, we just wanted to destr(!J you," because I am Cynthia Parent and, ''You didn't write this wqy at age
19. You quick!J learned everythingyou ever needed, or didn't have before, and now we wanted to destr(!Jyou. Now, we
step down and step out ef the race efBarefool in Heels because it wzll be publishedjust asyou wanted. We can't write
like you can, butyou can't do things that we all do. It is a balance ef inopportunity. " (Pomona College '82)

Molly de Ramel agrees. ''It is afalse sense ef intelligence that people like . ola Ganem can hear a paragraph in
this public space and memorize it complete!J andful!J, and type it out, or dictate it. It is a dangerous talent, and
harmful to others. It leads to all kinds ef illegal opportunities. Yet, she is so full ef herse(ffor having quick!J identijied
the skill and since A lberto V if/odo loves herfor this skill "

Alberto Villada: I didn't say love just like, o.k.?

Judge P ter Cataldo says, ''Pa,nela Chapl)Jall and ola Ganem have different skills. Yet, o/a Ga11em is
 competing with her, and Pamela Chapman you are not competing with mryone for arrything. These people all are
jealous, and want to dcstrqy)IOU andyour book because thry are jealous ef the ability to write a manuscript and sell it
for millions ef dollars. It is every writer's dream ef authorship. So,jew actualbi do it."

/lt" ,i hl·,1111,L'. g;11nL I() ]1H)\ l llll'\ hr...1(>11_:~ 111 JJi~s.2.· 11.   \l,1)_ "/ / ,.//. 11, •/   ()/   I ,'/ 11 ; /,,;111_d! ;,,   ,, 11. 1':   /\   /.1,.·.:.'..: ,/ 1; /

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That's the lynchpin. Alberto Villodo constantly bands people together in groups of his own
choosing. When they disband, he continuously re-bands them with the thought they belong
together. It is his own judgement that does this, even when the relationships should never be
together.
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Harry Gural is never going to ever remember what he said here, so Pamela Chapman is typing. Ok
Carrie Crosson Gilpin?

Carrie ross n Gilpin: Yes, but I am typing also, so if she and I have slightly different manuscripts,
I will have mine and she will always have hers. Ok, Harry Gural?

Harry Gural: Yes, but there is a huge difference in what Pamela Chapman is doing, than you are
 arrie Crosson Gilpin. Do I need to spell it out to you Carrie Crosson Gilpin?

Carrie ro . on Gilpin: Yes, because I am a dumb shit of inopportunity. Pamela Chapman makes
typo's. Carrie Crosson Gilpin does not. I am a perfect typist.

Does Carrie Crosson Gilpin play the piano?
Yes. Pamela Chapman does not. So, Carrie Crosson                 ilpin has keyboard skills from a young age.

  illodo himself: I never imagined that you could best me Pamela Chapman, but you did, and I
completely get what happened. I am now responsible legally for my actions. I will pay handsomely
because I just signed a new book deal with im.on & chuster, or maybe I just want to because in the
end-just like you said- gangsters all make a lot of money, and people like you never get the same
deal as Roger Ail s, but I will -and, you will not.

  renvillc Craig: What is the point Villodo?

  lberto ill do: The point is I want to be remembered for being the big man on campus and I was
especially in Llama ation territory, and in Peru, Argentina, or Chili- never, but in Brentwood. I
scraped up enough of my savings to become a multimillionaire. (His parents had money.) That is all
anyone ever wanted to do in Brentwood, California.

Big Sur people think he is being a little odd.

"No," he is not      nnette Burke would say.

''Oh,yes he is, because the on/y wqy he gets to keep his house, or mrything big like that is to be upfront and honest."

No, his house belongs to both the our Winds ociety nonprofit foundation, and Ed, who is in the
drug trade with him.

Are Carrie Crosson Gilpin and           ola Ganem protecting him by typing?

'Thry do not understand that I am my own man-u-script in this transcript."



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